      Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 1 of 91 Page ID #:315
S/I

       i    NICHOLAS PHIPPS WHITE
       2
            ceo@thehollywoodlanddevelopmentcompany.com                   a~~~ ~~~ ~3
            324 South Beverly Drive, Suite 489                                   P~ ~~ 2 l
       3    Beverly Hills, California 90212                             [     ~ ~, ~- CQUP i
       4    Phone:(415)539-6760                                             ~ {J9 ,~a'=f~,!rF
            Facsimile:(310)203-0302                                       ~~
       s
            Pro Per for Plaintiff                                                  ~ -~
       6

                                    UNITED STATED DISTRICT COURT

       s                           CENTRAL DISTRICT OF CALIFORNIA

       9

      10
             NICHOLAS PHIPPS WHITE,a citizen of                   CASE NO.: 2:22-CV-04557-
      1~     California;                                          GW(MAAx)
      12
                      Plaintiff.                                 (VERIFIED)FIRST
      13                                                          AMENDED COMPLAINT
                      VS.
      14
                                                                  Complaint Filed: July 2, 2022
      15   ANYWHERE REAL ESTATE,INC.,                             Judge: Hon. George H. Wu
      16
           BANK OF AMERICA CORPORATION,                           Ctrm: 9D,9`~ Floor
           AND FIDELITY NATIONAL
      l~   FINANCIAL,INC.
      18

      19              Defendants.
      20

      21

      22

      23   A.   THE PARTIES
      24        1.     The Plaintiff, NICHQLAS PHIPPS WHITE,(referred. to as "Plaintiff
      25   WHITE")is a U.S. citizen born in Yale-New Haven Hospital. in Yale, New Haven, CT
      26   born on February 14, 1969. Since August 2017, Plaintiff WHITE is a California citizen
      2~   permanently residing in California with his wife, 52-year old Mirga Phipps White
      28   MBA,Plaintiff WHITE's attorney-in-fact, married- since July 21, 2010.


                                                     l
                                   (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 2 of 91 Page ID #:316



    1          2.    Plaintiff WHITE is the Chairman and CEO of California based The
         Hollywood Land Development Company, LLC. Plaintiff WHITE is the 100 percent
    i
         owner of The Hollywood Land Development Company,LLC incorporated and place of
         business in California (California Secretary of State No. 201521610145)in California.
    ,~
               3.    Plaintiff WHITE is the 100% owner ofthe Sovereign Towers project
    r
         consisting of Sovereign Towers I and II. Sovereign Tower I was to feature an 800-room
         Marriott dual-branded Ritz-Carlton, St. Regis luxury hotel sold to the Kingdom of
         Saudi Arabia Public Investment Fund. Plaintiff WHITE's father, Laurence Phipps
         White, Yale-educated AIA architect, serves as The Sovereign Towers Managing
io
         Director and has been a decades long customer of Merrill Lynch.
i~
              4.      Plaintiff WHITE is a Bank of America corporation customer, who opened
12
         his personal and business accounts for himself and The Hollywood Land Development
1=
         Company, LLC (California Secretary of State)on January 22,2019 at the Bank of
~~
         America location on 9454 Wilshire Blvd, Beverly Hills, CA 90212 with a U.S. passpor
15
         and California driver's license, attached in Exhibit "1." Plaintiff WHITE'S wife Mirga
~h
         Phipps White served as a signer on the account.
l~
18
              5.     Plaintiff WHITE is the great-great grandson of U.S. Senator Lawrence C.

19
         Phipps of Denver, Colorado, former Treasurer of Carnegie Steel and. also the architect

20       ofthe creation of the U.S. Steel. Additionally, The Merrill Lynch headquarters was
zi       housed in the U.S. Steel Building.
22            6.     Plaintiff WHITE'S father, Lawrence Phipps White a Merrill Lynch
~ ~~     customer, attended Yale University with Bank of America Global Chairman U.S.
z~       Senator John Kerry, who was born in Denver, Colorado and remained acquaintances in
2        Washington D.C., until former Senator Kerry's departure in fall of 2019 upon the
26       discovery of Plaintiff WHITE'S global Merrill Lynch tax-free business account. This
2~       global tax-free business account prevents the IRS from having any jurisdiction and it
28       was illicitly opened on June 7, 2019 with forged Merrill Lynch Trust documents that


                                                    2
                              (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 3 of 91 Page ID #:317



 i   were illicitly executed at Girardi Law Offices with forged signatures by Girardi and. a
 z   fabricated "Erika White" posing as the wife of Chairn~an and CEO Nicholas Phipps
 3   White of The Hollywood Land Development Company, LLC.
 4        7.     Defendants in this case, BANK OF AMERICA CORPORATION;
 5
     ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL FINANCIAL,INC.
 E (referred to as "Defendants BANK OF AMERICA CORPORATION;
                                                            ANYWHERE
     REAL ESTATE,INC. and FIDELITY NATIONAL FINANCIAL,ING.")following:
 s
 9
     DEFENDANT                           DEFENDANT                 DEFENDANT
io                                       OWNED BY                  PERSONNEL
ii   BANK OF AMERICA                     Berkshire Hathaway        Chairman/CEO Brian T.
     CORPORATION                         NYSE: BRK A               Moynihan Esq.; former
12
     NYSE: BAC                           HQ: Omaha, Nebraska       Bank of America
13   Previously Bank of Italy            Owner: Warren Buffett     Global Chairman John
     HQ: Charlotte, North Carolina       2022 Revenues: $302B      F. Kerry, Merrill Lynch
14
     2022 Revenues: $94.95B              Employees:36,000          CEO Andrew Sieg
15   Employees:217,000                   Incorporated: DE          Private Bank President
     Brands: Bank of America NA,         Brands: Kraft-Heinz       Katy Knox
16
     Merrill Lynch, Private Bank
i~   ANYWHERE REAL ESTATE, Apollo Global                           CEO: Ryan M.
is   INC. NYSE: HOUS (Formerly          Management                 Schneider, former Vice
     REALOGY HOLDINGS)                  NYSE: APO                  President Tim Foley,
19
     HQ: Madison, New Jersey            HQ: New York, NY           Former Coldwell
Zo   2021 Revenues: $7.21 B             Former CEO Leon            Banker CEO Ryan
     Employees: 9,665, Brands:          Black, CEO Mark            Gorman, West Coast
21
     Coldwell Banker, West Coast        Rowan                      Escrow
22   Escrow, Sotheby's International, 2022 Revenues: 10.9B         President Patrick Frasier
     Century 21                         Employees: 2,540
23
     FIDELITY NATIONAL                  The Vanguard Group,        CEO: Raymond R.
24   FINANCIAL NYSE: FNF                Inc.(private)              Quirk, President
25
     HQ: Jacksonville, FL               HQ: Malvern, PA            Michael J. Nolan
     2022 Revenues: $11.SSB             2020 Revenue: $6.93B       Justin Scott
26   Employees: 21,759                  Employees:18,800           Albert Wasiff
2~   Brands: Fidelity National Title
                                     Table 1: The Defendants
28



                                                3
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 4 of 91 Page ID #:318



 i   B.    JURISDICTION AND VENUE
 z         8.     The parties, Plaintiff WHITE and Defendants BANK OF AMERICA
 3   CORPORATION, ANYWHERE REAL ESTATE,1NC. and FIDELITY NATIONAL
 4   FINANCIAL, INC. are all citizens of different states and have an amount in
 5
     controversy greater than $75,000. Plaintiff WHITE was born on February 14, 1969 in
 6
     New Haven, CT. Plaintiff WH1TE and his wife Mirga Phipps White MBA,are both
 7
     permanent citizens of the State of California since 2017. The Court has subject matter
 8
     jurisdiction over this matter because Plaintiff has verified complete diversity of
 9
     citizenship, a corporation is considered to be a citizen of both its state of incorporation
to
     and its principal place of business:
ii
is
          Plaintiff WHITE,CITIZEN OF CALIFORNIA
13
          DEFENDANTS           CITIZENSHIP                    AMOUNT IN
iq                                                            CONTROVERSY
      BANK OF AMERICA            NORTH CAROLINA               $27,459,774,612
15
      CORPORATION                DELAWARE*
16    ANYWHERE REAL              NEW JERSEY                   $118,343,3434 (Spelling
i~    ESTATE,INC.                DELAWARE*                    Manor)
                                                              $55,000,000 71 Beverl Park
18
      FIDELITY             FLORIDA                            $55,000,000(Chateau Dubrow)
19    NATIONAL,INC.        DELAWARE*
               Table 2: Diversity of Citizenship (*State of Incorporation)
ao
21        9.      In fact, a federal court can have subject matter jurisdiction on the basis of
2z   diversity jurisdiction under 28 U.S.C. ~ 1332 when a plaintiff alleges claims that:(1)
23   are between citizens of different states, and (2) have an amount in controversy greater
29   than $75,000. See 28 U.S.C. ~ 1332(a).
25         1 Q.   Moreover, for diversity purposes, a person is a "citizen" of the state in
26
     which he is domiciled of which Plaintiff WHITE is in California. See Kantor v.
z~
     Wellesley Galleries Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). A person is domiciled
28
     in a location "where he or she has established a `fixed habitation or abode in a


                                                  4
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 5 of 91 Page ID #:319



 i    particular place, and [intends] to remain there permanently or indefinitely.' "Lew v.
 a    Moss, 797 F.2d 747, 749-50"(9th Cir. 1986),(quoting Owens v. Huntling,"115 F.2d
 3    160, 162"(9th Cir. 1940).
 4   C.    GENERAL ALLEGATIONS
 5
            1 1.   Beginning at least as early as in or around Apri12018 and continuing
 6
     through at least in or around February 17, 2023, defendants BANK OF AMERICA
     CORPORATION,ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL
 s
     FINANCIAL,INC., together with others known and unknown, knowingly and with
 9
     intent to defraud, participated in, devised, and executed a scheme to defraud Plaintiff to
io
     whom Defendant BANK OF AMERICA CORPORATION had agreed. to provide
it
     banking services, of which BANK OF AMERICA CORPORATION had a duty to
12
     disclose the fraud to Plaintiff WHITE.
13
           12.     The fraudulent scheme against Plaintiff WHITE, was code named "Project
14
     Phoenix" by the Defendants BANK OF AMERICA,ANYWHERE REAL ESTATE,
15
     INC. and FIDELITY NATIONAL FINANCIAL,INC. Whereby,54-year old Plaintiff
16
     WHITE was said to have diagnosed "prostate cancer" and had died, with his remains
~~
is   cremated after being on hospice at "The Palace", a senior retirement home(1151 West

19
     6th St. Los Angeles, CA)a block away from the now defunct Girardi Keese law firm.

Zo         13.     Plaintiff WHITE met with now disbarred and Italian born Thomas V.

ai   "Tom" Girardi, which records show arrived in Los Angeles in 1954. Interviews for
22   attorneys took place the week of March 26, 2018,to include Gibson, Dunn & Crutcher
23   LLP Los Angeles, CA 90067 and Girardi Keese law firm located at 1126 Wilshire
24   Boulevard, Los Angeles, CA 90017. However, Pro Se Plaintiff WHITE, has not seen
25   Thomas V. Girardi in California for close to five years since May 14, 2018. During the
26   three meetings in 2018 Girardi exhibited. a suspect shaking right arm and could not
2~   confirm the particulars of his alleged birth place of Denver, Colorado. Plaintiff WHITE
28




                                                 5
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 6 of 91 Page ID #:320



 i   never hired Girardi, Gibson, Dunn and Kutcher, or any other firm, for resolving the
 ~~ U.S. Tort Claim and remained Pro Se.
 3         14.   Defendant BANK OF AMERICA CORPORATION continues to spread
 4   disinformation that the Plaintiff is not only deceased but that Tom CJirardi was an
 5
     attorney and has attorney-client privilege or claim to Plaintiff WHITE'S funds, despite
 6
     letters from Girardi contradicting this, attached Exhibit "10."
     Date of In-person Meetings with                 Notes
 8   Thomas V. Girardi, Girardi Keese
 9
     March 28, 2018, I OAM PT                   Introductory meeting with 83-year old
                                               Thomas V. Girardi and 72-year old
to                                             secretary Shirleen Fujimoto. Tom Girardi
ii                                             confirmed that he had strong relationships
                                               in Washington, DC in-place with former
12
                                               Saudi Ambassador to the United States,
13                                             Prince Turki who Virginia Resident
                                               Jamal Khashoggi worked for at the
14
                                                Washington, D.C. embassy whose
15                                             remains have not been found.
     A ril 16, 2018,10:45 AM PT                Follow-u meetin with Tom Girardi.
16
     Ma 14, 201 S, 3:00 PM PT                  Final meetin with Girardi.
i~                      Table 3: All Meetings in California with Girardi
is
         15.     Furthern~ore, Plaintiff WHITE'S contract fiords consisting of currency and
19
     gold were laundered by Defendants BANK OF AMERICA CORPORATION,
Zo
     ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL FINANCIAL, INC..
21
     into the California Wildfire Fund, stock buy backs, real estate, luxury vehicles, in
z2
     addition, to Merrill Lynch VISA debit cards.
23

29
         16.     The Defendants' scheme operated, in the following manner:

25                   DEFENDANTS'PROJECT PHOENIX SCHEME
     STEP 1: Impersonate Customer and his wife       Bank of America approved
26
     with forged opening account documents(no        opening of global tax-free Merrill
2~   business or personal relations in Coral Gables, Lynch account in Coral Gables,
     Florida or Detroit, Michigan.                   with forged Merrill Lynch Trust
zs
     Work with an attorney with more than 200        documents and forged power of
     California Bar com laints s annin 40 ears       attorne si ned b a Nicholas

                                                 6
                           (VERIFIED) FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 7 of 91 Page ID #:321



 i   Tom Girardi, to falsify birth, death and marriage White and a manufactured Erika
 2
     documents, trust documents, forge power-of         White at now defunct Girardi
     attorneys and falsely pose as the Victims         offices in Los Angeles.
 3   attorney/attorney-in-fact. Girardi had long term  Fraudulent Trust documents
 q   relationships in place with Bank of America's      prepared by Girardi's legal
     owner, fellow Pasadena resident Charlie Munger, associate estate attorney Richard
 5
     attorney Bank of America Chairman~CEO Brian Walden, formerly Burris,
 6   T. Moynihan, and Bank of America Global           Schoenberg, Walden LLP of Los
     Chairman former U.S. Senator John Kerry.           Angeles, CA. As reported to AG
                                                       Garland, Girardi associate
 8                                                     attorney Don Burris in December
 9
                                                       2019 and in January 2021 with
                                                       the assistance of former FBI
to                                                     agent Babak Broumand continued
~~                                                     to intimidate and threaten
                                                       Plaintiff WHITE and his wife,
12
                                                       Mirga if a complaint to the
13                                                     California Bar on the fraudulent
                                                       trust at Defendant Bank of
19
                                                       America was sent. Bank of
15                                                     America $25B stock buyback
16
                                                       with Plaintiff's funds, see
                                                       attached Exhibit "2."
i~   STEP 2: Intentionally Change Customers            Bank of America intentionally
is   Identifying KYC(know your Customer) Data          accepts: fraudulent Italian
     with fraudulent ID and Marriage Certificate, and passport from Italian consulate in
19   fraudulent Los Angeles address 1200 S. Grand      San Francisco of a Nicholas
ao   Ave, Apt 550, Los Angeles, CA 90015.              "Britt" White" with an incorrect
     Berkshire Hathaway Vice Chairman attorney and birth date of September 21, 1987.
21
     fellow Pasadena resident friend of Girardi's,     "Britt" the Celtic origin of"fire."
22   Charlie Munger advertises Erika White in The      Fraudulent Marriage Certificate
     Daily Joarrnal attach "Exhibit 3" who resigned    of a Nicholas Britt White and
23
     on March 28, 2022 after the Girardi Grand Jury    Erika Pope White per Exhibit
24   was impaneled in March 2022.                      "3." Accept fraudulent address
Zs                                                     for Nicholas White issue Bank of
                                                       America N.A. credit cards.
26
                                                       Change customers citizenship to
2~                                                     Italian, birth date and parent's
                                                       names to a "David Britt White"
2e
                                                       and "Linda Chavez Olivier" see
                                                       attached Exhibit "3."


                         (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 8 of 91 Page ID #:322



     STEP THREE: Obtain Fraudulent Death               Bank of America accepts an
 2
     Certificate/Letters of Probate from Girardi       unrecorded death certificate and
     substitute Judge associates. Use Plaintiff's fundsLetters of Administration with an
 3   to pay Dr. Torosyan to sign a Bank of America     Erika Girard who as the
 4   related property. On or about July 5, 2022, Dr.   Administrator of the account.
     Torosyan admits taking payment to pay off         Then, falsify medical records at
 5
     medical school loans. A complaint was filed by    Oakland, CA based Kaiser
 6   the Plaintiff to the Medical Board of California, Permanente for a Nicholas White,
     attached as Exhibit "3."                          Kaiser Medical record number:
                                                      23244396, last appointment on
 s                                                     May 16, 2019 with urology
 9
                                                      specialist fraudulently indicating
                                                      cancer.
io                      Table 4: Defendants' Scheme to Defraud
ii
12
     Embezzlement of Plaintiffs Funds
13
        17.    In or about May 2020 Plaintiff WHITE,serving as Pro Se, negotiated a
iq
     settlement of the U.S. Tort Claims# 164222575, 164222576, 164222577 with the U.S.
15
     government provided to Defendant BANK OF AMERICA CORPORATION in
16
     addition to Plaintiff WHITE'S and his wife's last will and testament. The U.S.
i~
     government was represented by former attorney Thomas V. Girardi. The terms ofthe
is
     settlement provided that Plaintiff would be paid $27,829,774,612.
~9
         18.     Between in or about June 2018 and. in or about February 2023, as a result
2a
     of this scheme to defraud, the Defendants BANK OF AMERICA allowed money and
21
     property belonging to Plaintiff in the excess of$27,829,774,612 to be embezzled and
22
     stolen by DEFENDANTS BANK OF AMERICA CORPORATION.
23
         19.     Defendants used the Plaintiff WHITE'S funds for:(a)$25,000,000,000
24

25
     purchase by Defendant BANK OF AMERICA CORPORATION for stock buy-back

26
     with Plaintiff WHITE'S currency;(b)$2,745,977,416 billion transfer offraudulent

2~   attorney's fees to Tom Girardi at Camden Capital Partners of Los Angeles, CA;(c)at

28   least three real estate transactions, that were disguised as anonymous purchases(d)35+
     Merrill Lynch VISA Debit Cards from Plaintiff NICHOLAS PHIPPS WHITE'S

                                                s
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 9 of 91 Page ID #:323



 i   Merrill Lynch account #649-13284;(e)luxury vehicle for Defendants associates Tom
 2   and Erika Girardi;(fj transfer offraudulent "management fees" to Carlyle Group
 3   related Archer Systems/Investments; and,(g)theft oftwo sets of Plaintiff WHITE'S
 4   Sovereign Towers U.S. Gold Bullion to foreign buyers and. Defendant BANK OF
 5
     AMERICA CORPORATION.
 6
         CURRENCY
          20.    On February 26, 2021 Defendant BANK OF AMERICA CORPORATION
 s
     accepts signed. Plaintiff WHITE's U.S. Treasury Tort Claim Check from Treasury
 9
     employee Shirley E. Gathers in the amount of$27,459,774,612, endorsed by Erika N.
to
     Girardi posing as an Erika White and serving as the Administrator(Probate) into
~i
     Nicholas Phipps White's Merrill Lyncb account #649-13284.
iz
          21.    On or about March 1, 2021, Defendant BANK OF AMERICA
13
     CORPORATION wired approximately 10%($2,745,977,461) of Plaintiff WHITE'S
iq
     U.S. Treasury Tort Claim Check for fraudulent "attorney's fees and costs" for Tom
15
     Girardi, the U.S. government's attorney for Tort Claims# 164222575, 164222576,
16
     16422577 to Camden Capital Partners, LLC of Los Angeles, CA,owned by Girardi's
i~
18
     friend, Jason Sugarman, whose Controller was the missing accountant Heidi Planck.

19
     January 11,2023 the SEC had obtained a Final Judgment against Sugarman, who was

Zo   charged in the $43 million Tribal Bond Scheme.

21        22.    On or around April 2021, Defendant BANK OF AMERICA
22   CORPORATION embezzles $14,000,000,000 from Plaintiff WHITE'S account,
23   disguised as a part of a $25B Bank of America stock buy-back plan, see Exhibit "2."
24        23.    On or around October 20,2021, Defendant BANK OF AIVIERTCA
25   CORPORATION embezzles the remaining $11,000,000,000 ofPlaintiff WHITE'S
26   U.S. Treasury check disguised part of a $25B Bank of America stock buy-back plan.
2~   Furthermore, Plaintiff WHITE successfully completes "proofof life" for his Merrill
28   Lynch account #649-13284 at approximately 1:30 PM on October 20, 2021 with Bank


                                           9
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 10 of 91 Page ID #:324



         of America VP of Operations Susie De La Cruz. Additionally, Camden Capital
         Partners Controller Heidi Planck is reported missing by her family. Subsequently,
         Defendant ANYWHERE REAL ESTATE,INC. in New Jersey retains wrongful death
    a    attorney and later changes their name from Realogy in June 2022.
              24.    On or around November 15,2021, Defendant BANK OF AMERICA
         CORPORATION'S legal representative from Berkshire Hathaway, Shelby Rootenberg
         Esquire provides Plaintiff WHITE the Defendant BANK OF AMERICA
    8
         CORPORATION'S Officers and Directors(O&D} Insurance of Marsh GLT Specialty.
    9
         Thereafter, Defendant BANK OF AMERICA CORPORATION'S Chairman and CEO
to
         Attorney Brian T. Moynihan Esquire blocks Plaintiff WHITE'S e-mail messages, after
~~
         more than 104 email requests from the Plaintiff for the return of his funds.
12
              25.    On or around November 18, 2021, Defendant BANK OF AMERICA
~~
         CORPORATION'S Merrill Lynch confirms to customer Plaintiff WHITE that his
~a
         Merrill Lynch account no. 649-13284, which was originally opened in Coral Gables,
1,
         Florida, had been moved without his permission to Merrill Lynch Auburn Hills,

~~      (Detroit) Michigan area. Merrill Lynch also confirmed that Plaintiff's Merrill Lynch

is       account no. 649-13284 has Tom Girardi's social security XXX-XX-5134 attached to it.

19
             REAL ESTATE

Zo            26.    On or about the following dates, Defendants BANK OF AMERICA
al      CORPORATION,ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL
22      FINANCIAL,INC., aided and abetted each other, for the purpose of executing the
23      above-described "Project Phoenix" scheme to defraud, transmit, and initiate the
~~      transmission by means of wire communication in interstate commerce to buy main
z       residence and beach properties for Tom and Erika Girardi. Properties also included: a
26      $1,03Q,000 property in April 14, 2022 for Girardi's secretary Shirleen Fujimoto in
2~      Oahu, Hawaii after the March 2022 Grand Jury convened, family members of cast
28      members of the Real Housewives franchises, such as a property for a Hilton family


                                                    io
                              (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 11 of 91 Page ID #:325



     member in $8.4M Malibu, California in June 14, 2021 purchased from deceased
 2   Universal Chairman Tom Pollock Estate, a $1,070,750 property in Bradford, New
 3   Hampshire in December 13, 2019, a $4,350,000 property across the Italian Consulate iil
 4   San Francisco in November 8, 2019, and a $460,770 property in Plainfield, Indiana in
 5
     March 30,2022 for the Defendants to continue to hide and conceal Plaintiff WHITE'S
 6
     U.S. Gold Bullion from the United States Department of Justice, as part of the May
     2020 Tort Claim Settlement with the Plaintiff.
 s
           27.    In fact, Defendants BANK OF AMERICA CORPORATION,
 9
     ANYWHERE REAL ESTATE,INC,FIDELITY NATIONAL FINANCIAL ensured
io
     transactions were disguised as purchase by an "anonymous buyer" in most cases, with
ii
     at least eight known properties across the United States to include: the Spelling Manor
12
     in California, July 2019, and even after the Federal Grand Jury in 2022 in California,
13
     Defendants continued to aid and abet Tom and Erika Girardi.
14
          28.    On May 27,2022,the Defendants received multiple demand letters from
15
     Plaintiff starting in May 2022-July 1, 2022, including the Third Amended Complaint
16
     filed on April 15 2022, in regards to Nicholas Phipps White vs. Bank of America
17

18
     N.A./Merrill Lynch, were sent to Defendant ANYWHERE REAL ESTATE,INC.

19
     Based on numerous calls to West Coast Escrow President Mr. Patrick Frasier, who was

20   aware that fraud occurred on the subject title for the "Spelling Manor" 594 South.
21   Mapleton Drive, Los Angeles, CA 90024 see attached Exhibit "2", and that the matter
22   was being corrected, without any need for litigation in addition to the California
23   Department of Real Estate being notified regarding the matter via the complaints on the
29   Anywhere Real Estate owned Coldwell Banker agents, to include Jade Mitls regarding
25   the fraud an July 2, 2019.
26        29.    On May 27, 2022, a call was returned to Plaintiff WHITE from Minny Ng,
2~   the Escrow Officer, designated in the Fraudulent Grant Deed recorded on July 2, 2019,
28   Plaintiff WHITE's wife Mirga's birthday, July 2, 1970. Ms. Ng's initials appear in the


                                            ii
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 12 of 91 Page ID #:326



       left side under Escrow No.: 4510219-01826-MN. Ms. Ng was aware that Plaintiff
       WHITE was the owner of the property, and in fact as the Escrow Officer for the July 2,
  3    2019 fraudulent transaction, would. be amenable if Plaintiff WHITE and former
       Virginia Attorney General Jim Gilmore would draft a corrected Grant Deed and Fi(e at
       the Recorder's Office, Los Angeles, County, California.
             30.   On June 3, 2022, rather.Defendant ANYWHERE REAL ESTATE,INC.,
       be amenable to return the keys by Alan Roach the fraudulent Property Manager of
       Spelling Manor and Clinton Development Inc. officer. Mr. Roach refused to conduct a
       transfer of keys and remote from Property Manager, and furthermore as the agent of
  r,
       record of a fraudulent LLC. Instead, on June 9, 2022, an American publicly traded
~1
       Realogy Holdings Corp, completed an abrupt name change to Anywhere Real Estate
lz
       Inc. after making an announcement in May 2022.
1j

            31.    On Tuesday, June 21,2022 Plaintiff WHITE spoke to the President of
~~
       West Coast Escrow, Mr. Patrick Frasier, who confirmed he had received the related
1 :,
,,     emails for the demand that the subject "Grant Deed" for property be corrected and that
       Mr. Frasier had designated West Coast Escrow, Regional Manager of Los Angeles and
~~
18
       Ventura County, Mr. Chris LeBreton to work with Ms. Minny Ng the Escrow Officer-

19
       for the July 2,2019 transaction.

ao          32.    On June 23, 2022, Plaintiff WHITE spoke to Mr. Frasier again, who
21     confirmed that the Grant Deed was in the works of being corrected, and that the
22     recording of the Deed could be done within his company because he was on his way to
23     Anywhere Real Estate Headquarters in New Jersey via Newark, NJ airport.
24          33.    On July 1, 2022 Plaintiff WHITE speaks to Defendant ANYWHERE
25     REAL ESTATE,INC'S Mr. Frasier, who confirms the corrected Grant Deed for the
ZE     Spelling Manor has been corrected, prepared, and is ready, but he is awaiting corporate
2~     headquarters release to Plaintiff WHITE.
28




                                                  12
                            (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 13 of 91 Page ID #:327



 i         34.   On July 2, 2022, Plaintiff WHITE filed a Civil Complaint against
 2   Defendant ANYWHERE REAL ESTATE,INC.(Case No.2:22-CV-04557-GW-MAA)
 3   for one count of fraud. Subsequently, on July 14, 2022, the Plaintiffissued a press
 4   release on Law.com citing Berkshire Hathaway's Charlie Munger of Munger, Tolles
 5
     and Olson being currently under investigation with the CA State bar.
 6
          35.    On or about July 6, 2022, Defendant BANK OF AMERICA
     CORPORATION located at 100 North Larchmont Boulevard, Los Angeles, CA 90004,
 s
     where the fraud occurred starting on or about July 5, 2020 at that Bank of America
 9
     branch by Erika Girardi is closed down immediately with a reported opening date of
io
     September 22,2022. Additionally, the new U.S. Attorney for the Central District of
ii
     California Honorable U.S. Attorney 1VIr. E. Martin Estrada was sworn in on or about
12
     September 19, 2022.
13
          36.    Plaintiff WHITE On or about September 28,2022 served the Defendant
i~
     ANYWHERE REAL ESTATE,INC. with Central District of California Case No. 2:22-
15
     CV-04557-GW-MAA Nicholas Phipps White vs. Anywhere Real Estate, Inc. after the
16

i~   departure of Anywhere Real Estate Vice President Tim Foley was announced.

18
          37.    On October 20,2022 at around 4:03 PM PT,Defendants BANK OF

19
     AMERICA CORPORATION and FIDELITY NATIONAL FINANCIAL,INC. again

20   used Plaintiff WHITE'S funds from his Merrill Lynch account to pay for vacation
ai   property "Chateau Dubrow" in Newport Beach and then again with Defendant
Zz   ANYWHERE REAL ESTATE,INC. on February 17, 2023 for 71 Beverly Park,
23   Beverly Hills, CA for a main residence for disgraced attorney Tom Girardi and
24   associate's use, disguised as purchased by US No. 8 LLC, A California Limited
25   Liability Company, see attached Exhibit "5."
26        38.    In a related transaction, on February 19, 2023, Plaintiff WHITE'S Merrill
2~   Lynch funds were again disguised for 71 Beverly Park as purchased by US No. 3 LLC,
28   A California Limited Liability Company, attached as Exhibit "6" with the Defendants


                                               13
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 14 of 91 Page ID #:328



 1   ANYWHERE REAL ESTATE, INC. and FIDELITY NATIONAL FINANCIAL,
 a   INC., similar to the Spelling Manor transaction and others.
 3        39.    Plaintiff WHITE is the rightful owner of the following properties disguised I
 9   by the Defendants as "anonymous buyer" with the Plaintiff WHITE funds at Defendant
 S
     BANK OF AMERICA CORPORATION per the following:
 6
     DATE       REAL ESTATE TRANSACTION                      DEFENDANTS)/WHO
                                                              BENEFITTED
 s   7/2/19      Spelling Manor*: Wire Transfer of           BANK OF AMERICA
                 approximately $119,750,000 from Bank        CORPORATION,
 9
                 of America Corporation, Plaintiff's         ANYWHERE REAL
10               Merrill Lynch account #649-13284, in        ESTATE,INC., FIDELITY
                 Los Angeles, California, through the        NATIONAL FINANCIAL,
ii
                Fedwire system to the Escrow Account,        INC./Erika Girardi, Tom
12              in Los Angeles, California,"Spelling         Girardi and their friends and
                Manor" located at 594 South Mapleton         family. *Disguised as a
13
                Dr. Los Angeles, CA 90024, A.P.N.            "birthday" gift from Plaintiff
19              4359-013-032594.                             WHITE'S wife, whose actual
15                                                           birthda is Jul 2, 1970
     10/20/22 Chateau Dubrow*: Wire Transfer of              BANK OF AMERICA
16
              approximately $55,000,000 from Bank            CORPORATION,FIDELITY
i~            of America Corporation, Plaintiff's            NATIONAL FINANCIAL,
              Merrill Lynch account #649-13284,              INC./Erika Girardi, Tom
is
              through the Fedwire system to the              Girardi and their friends and
19            Escrow Account, in Los Angeles,                family. *House purchased at
Zo
              California,"Chateau Dubrow" located at         the one year "proof of life"
              2 Coral Ridge, Newport Beach, CA               mark of Plaintiff WHITE and
21            92657, A.P.N. 489-181-06. Fidelity             missing accountant Heidi
22
                National Title Order No.: 00362034-          Planck from Camden Capital.
                994(Title Officer: Albert Wassif, Fidelity   *signed by owner Bank of
23              National Title, 5000 Van Nuys Blvd,          America customer Terry
24              Suite 500, Sherman Oaks, CA,91403)           Dubrow on September 28,
                "anonymous buyer" and sellers                2022, the day Defendant
25
                represented by Josh Altman of Douglas        ANYWHERE REAL
26              Elliman, Beverly Hills, CA                   ESTATE,INC. was served.
27

28




                                           14
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 15 of 91 Page ID #:329



     2/17/23    71 Beverly Park*: Wire Transfer of         BANK OF AMERICA
 2              approximately $55,000,000 from Bank        CORPORATION,
                of America Corporation, Plaintiff's        ANYWHERE REAL
 3
                Merrill Lynch account #649-13284,"71 ESTATE,INC., FIDELITY
 q              Beverly Park" located at 71 Beverly Park NATIONAL FINANCIAL,
 5              Drive, Beverly Hills, CA 90210, A.P.N. INC./Erika Girardi Tom
                4386-013-020. Fidelity National Title      Girardi and their friends and
 6
                Order No.: 00368341-994AW (Title           family.
                Officer: Albert Wassif, Fidelity National *signed by owner and Bank of
 s              Title, 5000 Van Nuys Blvd, Suite 500,      America customer Mark
                Sherman Oaks, CA 91403)and                 Wahlburg on February 15,
 9
                Anywhere Real Estate Inc.'s Escrow No: 2023 the two-year anniversary
io              4510223-00293-BB, Bryan Binns              of Marriott International
ii              Escrow Officer. Anonymous Buyer            CEO's Arne Sorenson passing.
                represented by former Coldwell Banker
12
                broker Ginger Glass of Compass and
13              seller Compass' Carl Gambino.
Zq                              Table 5: Real Estate Transactions
15       CREDIT CARDS
16        40.    On or about the following dates, within the Central District of California,
17
     and elsewhere, Defendant BANK OF AMERICA CORPORATION,ANYWHERE
is   REAL ESTATE,1NC. and FIDELITY NATIONAL FINANCIAL,INC., aiding and.
19
     abetting each other, for the purpose of executing the above-described scheme to
20
     defraud Plaintiff WHITE in the following credit card transactions:
ai
          41.    On or around August 27, 2021, at approximately 11:49 AM PT Bank of
22
     America Financial Center Operations Manager, Bank of America "wllistleblower" Suzy
23
     De La CI-uz, at 100 North Larchmont Blvd, Los Angeles, CA 90004 confirnled that
29
     Plaintiff WHITE'S Merrill Lynch account no. 649-132$4 title as Palm Beach County
25
     Sheriff's Office for the Benefit of Nicholas Phipps White contains more than 35 Merrill
26
     VISA debit cards. Additionally, Bank of America Corporation was the founder and
z~
     previous owner of VISA Corporation, headquartered in San Francisco, CA,as was
28
     Bank of Italy which merged with Bank of America.

                                               is
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 16 of 91 Page ID #:330



          42.    On around September 1, 2021 Defendant BANK OF AMERICA
 2   CORPORATION'S designated fraudulent administrator Erika Girardi posing as
 3   Plaintiff WH1TE'S wife and widow is photographed. in Los Angeles, CA using one of
 4   the 35 plus Merrill Lynch cards of the Plaintiff's related to his Merrill Lynch account
 5
     #649-13284 as shown in Exhibit "7".
          43.    Closure of Bank of America, N.A VISA credit card opened for "Nicholas
     Britt White." The Civil Case Coversheet dated June 3, 2022, Superior Court of
 s
     California, County of Los Angeles, Case No. 22NWLC 13380, Bank of America N.A.
 9
     vs. Nicholas Britt White for $3,989.00 as shown in Exhibit "7"
io
          44.    Closure of Bank of America, N.A VISA credit cards opened for Nicholas
i~
     Britt White. Civil Case Coversheet dated June 3, 2022, Superior Court of California,
12
     County of Los Angeles, Case No. 22NWLC 13261, Bank. of America N.A. vs. Nicholas
13
     Britt White for $?,592.15 as shown in Exhibit "7."
14
      DATE OF                       DESCRIPTION                         DEFENDANT(S)
15
      DEPOSIT/TRANSFER                                                  INVOLVED/WHO
16                                                                      BENEFITTED
i~    August 27, 2021 -present      On or around August 27,             BANK OF
18                                  Plaintiff WHITE'S Merrill           AMERICA
                                    Lynch account no. 649-13284         CORPORATION
19
                                    title as Palm Beach County          and more than 35
Zo                                  Sherif'f's Office for the Benefit   friends and. family
                                    of Nicholas Phipps White            of Tom and Erika
21
                                    contains more than 35 VISA          Girardi.
22                                  debit cards.
23   June 2, 2022                   Closure of Bank of America,      BANK OF
29                                  N.A VISA credit card opened for AMERICA
                                    Nicholas Britt White. Civil Case CORPORATION
25
                                    Coversheet dated June 3, 2022,
                                    Superior Court of California,    Tom Girardi's
26
                                    County of Los Angeles, Case      stepson and Erika
2~
                                    No. 22NWLC13380, Bank of         Girardi's son, Tom
2s                                  America N.A. vs. Nicholas Britt Zizzo
                                    White for $3,989.00

                                                t~
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 17 of 91 Page ID #:331



 1    June 2, 2022                Closure of Bank of America,       BANK OF
 2                                N.A VISA credit cards opened      AMERICA
                                  for Nicholas Britt White. Civil   CORPORATION
 3                                Case Coversheet dated June 3,
                                  2022, Superior Court of           Tom Girardi's
 4
                                  California, County of Los         stepson and Erika
 5
                                  Angeles, Case No.                 Girardi's son, Tom
 6                                22NWLC 13261, Bank of             Zizzo
                                  America N.A. vs. Nicholas Britt
                                  White for $2,592.15
 s
                                       Table 5: Credit Cards
 9
          LUXURY VEHICLES
io
li        45.   On or about July 1, 2019 wire Transfer of approximately $4,000 from Bari

12   of America Corporation Plaintiffs Merrill Lynch account #649-13284, in Los Angeles,
13   California, to Russell Westbrook Alfa Romeo Maserati of Van Nuys, California for a
14   2019 Alfa Romeo Giulia motor vehicle, Vehicle Identification No.
15   ZARFAMAN4K7606474 sold, leased to an "Erika White" by Sales Manager,
16   Ai-~nenian-born Vahag Zhalnkochyan. Superior Court of State of California, County of
i~   Los Angeles(Van Nuys District) Case No. 22VECV01173, attached as Exhibit ``S."
is              Date             Transaction with Plaintiff's  DEFENDANT(S)
19                                         Funds              INVOLVED/WHO
20                                                              BENEFITTED
     On or about June 7,    2019 Alfa Romeo*: Wire          BANK OF AMERICA
21   2019*Defendant Bank of Transfer of approximately       CORPORATION/Erika
22   America Corporation    $4,000 from Bank of America Girardi posing as
     ceased making payments Corporation Plaintiff's Merrill Plaintiff WHITE'S
23
     once Plaintiff White   Lynch account #649-13284, in wife. *Disguised as a
29   filed Miami-Dade       Los Angeles, California, to     "birthday" gift from
25   County Case No. 2021- Russell Westbrook Alfa           Plaintiff WHITE'S
     013813-CA-OI against   Romeo Maserati of Van Nuys, wife, whose actual
26
     Bank of America        California fora 2019 Alfa       birthday is July 2, 1970.
z~   N.A./Merrill Lynch on  Romeo Giulia motor vehicle.
28         7,
     June 2021
                                 Table 6: Luxury Vehicles

                                              t~
                         (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 18 of 91 Page ID #:332



          GOLD BULLION/BARS:
 2
          46.    On or about the following dates, Defendant BANK OF AMERICA
 3
     CORPORATION, ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL
 9
     FINANCIAL,1NC., aiding and abetting each other, for the purpose of executing the     ~,
 5
     above-described scheme code-named "Project Phoenix" to defraud Plaintiff WH[TE of
 6
     his U.S. Gold Bullion, which was part of his contract funds from the sale of the
     Marriott-branded "Sovereign Towers" project. The Defendants did not return the
 8

 9   Plaintiff WHITE'S gold to the U.S. government per the Stipulation For Coi»promise

io   Settlement and Release Agreement with the U.S. government:

~~           Date             Transaction with Plaintiffs Funds        DEFENDANT(S)
                                                                      INVOLVED/WHO
12
                                                                        BENEFITTED
13   On or about October      1,848 U.S. Gold Sovereign Towers II     BANK OF
19   2019                    Bullion Bars kept concealed from         AMERICA
                             Plaintiff WHITE by Defendant             CORPORATION,
15
                             BANK OF AMERICA                          ANYWHERE
16
                             CORPORATION and their owners             REAL ESTATE.
i~                           BERKSHIRE HATHAWAY owners                INC.
                             of Kraft- Heinz Food, 1301 Heinz
18
                             Drive, Fremont, Ohio 43420
19
                             transported on October 31, 2020, see
Zo                           Exhibit "7." Plaintiff WHITE'S
                             Sovereign Tower lI U.S. Gold Bullion
21
                             recovered On February 8, 2023
22                           reported to U.S. AG Garland and U.S.
23                           Attorney John Lausch being located
                             in 5426 Lavender Drive, Plainfield,
24
                             Indiana 46168
25   On or about June        1,848 U.S. Gold "Sovereign Towers        BANK OF
26   2019                    I" Bullion Bars kept concealed from      AMERICA
2~
                             Plaintiff WHITE by Defendant             CORPORATION
                             BANK OF AMERICA                          Tom and Erika
Za                           CORPORATION sold to Russian              Girardi and their
                             Lukoil oligarch after visit to U.S. in   associates.

                                               ix
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 19 of 91 Page ID #:333



 i                           March 2019. Bank of America aided
 2                           and abetted by Bank of America
                             Landver family of Los Angeles, see
 3
                             Exhibit "7." Plaintiff WHITE'S U.S.
 4                           Gold Bullion recovered by the U.S.
 5                           Department of Justice on or about
                             August 8,2022. On or about August
 6
                             8, 2022 Carlyle Group CEO Kewson
                             Lee steps down.
 s                          Table 7: U.S. Gold Bullion/Gold Bars
 9
           MISCELLANEOUS FEES:
io
~~         Attorneys' Fees and Costs
12
           47.    As part of the Defendants' plan to defraud Plaintiff` WHITE code-named
13
     "Project Phoenix" Defendant, BANK OF AMERICA CORPORATION, after illicitly
14
      depositing Plaintiff WHITE'S U.S. Treasury check in the amount of $27,459,774,612
15
     endorsed by Erika Girardi posing as the Plaintiff widow on or about February 26, 2021.
16
           48.   Defendant BANK OF AMERICA CORPORATION thereafter on or about
~~
      March 1, 2021 under the false pretense of"attorneys' fees and costs for Tom Girardi"
18
     wha never served as Plaintiff WHITE'S attorney. wired approximately 10%percent
19
     ($2,745,977,461) of Plaintiff WHITE'S U.S. Treasury check to Tom Girardi associate
Zo
     Camden Capital Partners, LLC. Camden Capita( Partners is located at 1880 Cenh~ry
zi
     Park East, Suite 950, Los Angeles, CA 90067.
22
           49.   Defendant BANK OF AMERICA CORPORATION continues to spread.
23

29
     disinformation that the Plaintiffi is not only deceased but that Tom Girardi was an

25
     attorney and has attorney-client privilege ar claim to Plaintiff WHITE'S funds, despite

26   letters from Girardi contradicting this, shown. in Exhibit "10."

27

28




                                                 19
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 20 of 91 Page ID #:334



 1          "Management Fees"
 2
             50.   Defend~int BANK OF AMERICA CORPORATION at 555 California
 3
       Street, also known as the Bank Tower, a 52-story skyscraper in San Francisco's
 4
       Financial District intentionally without the Plaintiff WHITE knowledge, with falsified
 5
       Merrill Lynch Trust Documents and power of attorney from on or about May 17,2019,
 6
       forged by Toin Girardi and his secretary Shirleen Fujimoto, allowed Washington, D.C.
       Carlyle Group's Founder William E. Conway, Jr. related Devon Investments/Archer
 s '
       Systems disguised as "web presence" media fit-~n across 16 states as shown ]11 EX~llblt
 9

io     "10" to illicitly annually extract a 2% "management fee" from Plaintiff WHITE'S

ii     Men•ill Lynch account #649-13284.

12           51.   On or about the following dates, Defendant BANK OF AMERICA

13     CORPORATION,for the purpose of executing the above-described scheme to defraud,
19     transmitted and caused. to be transmitted by means of wire communication in interstate
15     commerce some of the following fees:
16         Date         Transaction with Plaintiffs Funds        DEFENDANT(S)
i~                                                              INVOLVED/WHO
                                                                   BENEFITED
is
         On or    Defendant BANK OF AMERICA                  BANK OF AMERICA
19       about    CORPORATION wires approximately 10% CORPORATION/Erika
         March 1, ($2,745,977,461) of Plaintiff WHITE'S U.S. and Tom Girardi and their
ao
         2021     Treasury Tort Claim Check for fraudulent   friends and family.
ai                "attorneys fees" for Tom Girardi, the U.S.
22
                  government's attorney for Tort Claims#
                   164222575, 164222576, 16422577 to
23
                  Camden Capital Partners of Los Angeles,
29                CA whose Controller is Heidi Planck.
25       June 7,    2%percent management fees from Plaintiff       BANK OF AMERICA
         2019 —     WHITE'S Merrill Lynch account.                 CORPORATION/Carlyle
26
         May                                                       Group Related Archer
2~       2020                                                      Systems/Devon
2s                                                                 Investments.
                                  Table 8: Attorneys'/Management Fees

                                             Zo
                            (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 21 of 91 Page ID #:335



 i         52.    The Honorable Judge Wu subsequently granted four continuances starting
 2   in October 2022 through February 2023 for the parties to resolve this grave and serious
 3   matter in Miami-Dade County, Florida, per the Bank of America/Merrill Lynch Case
 q   No. 2021-013813-CA-O 1 with the Honorable Judge Orshan who had replaced former
 5
     Judge Mark Blumstein. Judge Blumstein was recently reprimanded by The Florida
 6
     Supreme Court for unethical behavior and was not re-elected by his peers. Plaintiff
     WHITE submitted under seal a Stipulation Agreement to Defendant BANK OF
 s
     AMERICA CORPORATION within the insurance limits of their Marsh Inc. policy
 9
     limit of$25B and Lloyd's of London $1B for the more than 35+ Merrill Lynch. debit
to
     cards. The Stipulation Agreement included the latest amount owed of$550,881,512.21
~i
     to the more than 687 Victims of Girardi Bankruptcy with pick-up with Plaintiff WHITI
12
     and former Virginia Governor/Attorney General Jim Gilmore. Defendant BANK OF
13
     AMERICA CORPORATION'S Counsel of Liebler, Gonzalez and Portuondo P.A. as n
14
     February 21,2023 did not sign and resolve the matter for their client despite the
15
     conditions met to include an Abstract of Judgment issued for the fraudulent Bank of
16
     America N.A. cards, shown in E~ibit "7." Additionally, one Bank of America
~~
is   Counsels' attorneys on the case was removed due to her conflict with Apollo Global

19
     Management founder Josh Hams. Moreover, Defendant BANK OF AMERICA

ao   CORPORATION'S Counsel did not substitute their attorney ofrecord, who was on

ai   medical leave.
22        53.    On or about February 1, 2023 disbarred attorney Thomas V. Girardi with
23   social security number XXX-XX-5134 is federally indicted CR No. 2:23-cr-00047-
29   JFW in the U.S. District Court for the Central District of California for five counts of
25   wire fraud after a March 2022 Grand Jury. On March 22, 2022, Plaintiff WHITE had
26   reported.to the Honorable U.S. Attorney General Merrick Garland that his U.S.
2~   Treasury check from February 26,2022 misappropriated at the Defendant BANK OF
28   AMERICA CORPORATION,shown in Exhibit "11." Court records show that Italian


                                                21
                           (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 22 of 91 Page ID #:336



    1    citizen Thomas V. Girardi was allegedly unable to locate his passport or other travel
         documents which had been requested by the Court to be surrendered.
    ~~         54.    As a direct and proximate result of the Defendants BANK OF AMERICA
    a    CORPORATION,ANYWHERE REAL ESTATE,INC. and FIDELITY NATIONAL
         FINANCIAL,INC. misconduct and negligence to conform to a certain standard of
         conduct that resulted in injury and loss to Plaintiff WHITE.

    a
         PRAYER FOR RELIEF
    9

to            WHEREFORE,Plaintiff WHITE,as individual, being the real party of interest,

~ 1.     prays for the following relief.

~1           (a)      Judgment for damages from Defendant BANK OF AMERICA
13             CORPORATION,in the amount of $27,459,343,612. Closure ofthe Merrill
l~             Lynch account #649-13284 titled Palm Beach County Sheriff's• Office for
1              Nicholas Phipps White and closure of all related Nicholas Phipps White related
1 ~,
               and Nicholas Britt White accounts at Bank of America. Corporation.
~~
is           (b)      Judgment for punitive damages from Defendant ANYWHERE REAL
19
               ESTATE,INC., in the amount of$1,572,750,000. Judgment ordering Anywhere
Zo
               Real Estate, Inc. to correct the grant deed from July l 9,2019 $119,750,000 APN:
21
               4359-013-032(590 South Mapleton Drive, Los Angeles, CA 90024)from the
22
               street address "594 South Mapleton LLC"to "Nicholas Phipps White, individual,
~3
               married, recorded in the County ofLos Angeles, CA within five(5) business
G -~
               days. Additional Judgment ordering Anywhere Real Estate, Inc. to correct the
z~
               grant deed from February 17,2023 $55,000,000 APN:438b-013-020(71 Beverly
aE
               Park, Beverly Hills, CA 90210 from U.S. No. 3 LLC to "Nicholas Phipps White"
2~
               individual, married, recorded in the County of Los Angeles, CA within five(5)
28

               business days.

                                                   ii
                                (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 23 of 91 Page ID #:337



          (c)       Judgment for punitive damages from Defendant FIDELITY
           NATIONAL FINANCIAL,INC. in the amount of$495,000,000. Judgment
           ordering Fidelity National Financial, Inc. to correct the grant deed from October
           20,2022,$55,000,000 APN: 489-181-06(2 Coral Ridge, Newport Beach, CA)
           from "U.S. No. 8 LLC" to "Nicholas Phipps White" individual, married, recorded
           in the County of Orange, CA within five(5)business days.


    a
         (d)     Interest income.
    9

10
         (e)     An award of interest; and such other and further relief that the Court deems
~~
           reasonable and just.
Zz
~~
        DATED: March 23, 2023                    DEMAND FOR JURY TR1AL
19

15
                                                 Respectfully submitted,
16                                               /s/ Nicholas Phipps White
~~                                               NICHOLAS PHIPPS WHITE,PRO SE
                                                 324 South Beverly Drive, Suite 489
is                                               Beverly Hills, CA 90212
i9
zn
~1




~q

~ ~_


7

~7

i~




                                               23
                          (VERIFIED)FIRST AMENDED COMPLAINT
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 24 of 91 Page ID #:338




                              EXHIBIT 1
                                                                                                           t - tt~'G 1 1.11
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 25 of 91 Page ID #:339V

                                                                                  Coordinates: 40°42'35"N 74°00'39°W
  WIKIPEDIt~.


  One Liberty Plaz_--
                   a
  Une Liberty Ylaza, far►nerly the U.S.
  Steel Building, is a skyscraper in the                                 One Liberty Plaza
  Financial District of Lower Manhattan in
  New York City. It is situated on a block
  bounded by Broadway, Liberty Street, Church
  Street, and Cortland Street, on the sites of
  the former Singer Building and City Investing
  Building.

   The building was designed in the
  International Style by Skidmore, Owings &
  Merrill and completed in 1973. It is X43 ~
  (226 m) tall and has 54 floors. At
  2.3 million sq ft (2io,ovo m2), each floor
  offers almost i acre (0.4o ha) of office space,                      One liberty Plaza in 2011
  making it one of the largest af'fice buildings in                     ~                    ~......
  New York by usable interior space. Its facade                                                1.fTTlE 17A~.Y
  is black, consisting of a structural steel frame. ~
                                                                                                           ~.ow~
  South of the building isLuccotti Park, f~                 NT~R
                                                                                   raasecs
  formerly called Liberty Plaza Fark.                                             ~ ,~I YC)I~
                                                                       @A7TERY PARK c d               TWtS BRID
                                                                                     :.;a                   , r, .
                                                                       ,~         FINANCf~AI
 Qne     Liberty    Plaza    was    originally                                     autRtefi
 cammissianed by U.S. Steel, and also housed                       ~
 the headquarters of Merrill Lynch. A variety                                                               a~r,~
 of tenants occupy the space, from large law
 firms to public and not-for-profit agencies
 like the I.c~wer Manhattan DevelUpment                                  General information
 Carporatian anc~ the World Trade Center
 Memorial ~ounciation as well as new                    Status                      Completed
 businesses. Since 2001 Una Liberty Plaza has           Type                        Commercial; office
 been owned and operated by Brookfield                  Architectural style          international Style
 Office Properties.
                                                        Location                    165 Broadway
                                                                                    New York City, New
                                                                                    York
  Contents                                                                          United States 10006
  History                                               Coordinates                 40°42'35"N 74°00'39"W
  Tenants                                               Construction started 1969
  See also                                              Completed                   1972
                                                                                          Wikimedia ~ D OpenStreetMap



https:!/en.w•ikipedia,arg/wiki/One_Liberty._Plara                                                               5(1/20?2
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 26 of 91 Page ID #:340
                                                   J




    Mr. Lawrence Phipps White AIA,The Sovereign Towers Managing Director and
         Mr. Nicholas Phipps White, Chairman and CEO The Hollywood Land
                            Development Company,LLC
  Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 27 of 91 Page ID #:341

     '"i can think oaf no better tribute to the amazing lec~~cy
                                                                 of Arne Sorenson then tca fac~us on
     educating z~nd advanci►~g future I~ac~~rs of the haspit~lity
                                                                       industry," said J.W. "Bii!" Man ic~tt. Jr.,
      Executive Chairman and Chairman of the Board, Marrio
                                                                   tt internati~nai. "Arse's passion for
     rreat~ny a culture afi apport~n~ty brought r~~l chang
                                                               e in the executive ranks of our cornp~ny. But
     work remains to bc~ done. Our industry needs ~ pipelir- of
                                                                 ~e diverse leacl~rship talent anc~ that's
     c~x~ctly tivhat this Center will achieve. We ~r~ ~routl to
                                                                  bring Marr-ic~tt In;ernationaS rand our family
     faur7dation together to partner with this esteemed univer
                                                                     sity in itze city ~f our fa«rrding. This
    ini~c~v~tive {~rc~gram wi~l foster ieaciership excellence anri
                                                                     tiel~a drive yreate{~ incl~asinn ~t the most
    senior fEvels cif the hospitality ir~c~ustry. We ho~~~ ti7at other
                                                                         hospitality ~nmp~ar~i~s will join pis iri
    d~sigr~ing t~7e program and providing experiential oppor
                                                                   tunities to c~er~erate talent that will rne~t
    ihP needs of the industry well into the future."

                                   $~, .,




                                                                                                            ~:
                                                                                                            ,~




                                                                        tOtt with
                                  l~i~il    a ~~~~ ~~.~ l._~. ~ sa s.., Sorenson
   "Now is the opportune time to launch this work," said
                                                            Mieka Wick, Exerutive Director, The J.
   Willard and Alice S. Marriott Foundation. "The hospitality
                                                                industry is evolving in new and excifEnc~
   w ays and there is a clear need for aforward-Ir~oking progra
                                                                  m designed to prepare leaders far this
   dynamic environment. A deeper commitment to diversity,
                                                                 equity and inclusion is imperative, riot
   only because it is the right thing to do but because it is also
                                                                   good for the industry. The J Willard
   and Alice S. Marriott Foundation has along-standing commitmen
                                                                         t to creating opportunity for all




https:l/news.marriott,carnlnews/2021./Q2/241the-j-Willard-a
                                                            nd-aliv      e-s-marriott-foundation-a... ~+~~Ji2021
   Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 28 of 91 Page ID #:342
~Ba~n~cc~fAm~rica
                                              ,~4~fl~nt s,. .~~ry
 C3ANK Ol~ AME,RfCA, N.A.(THE "sANK"}                                                    Information
 "('hank you for allowing us to t~ssist you with your banking needs. Here is a summary of the accounts and services we set up for ytw or which you
  ap~ilieei for today. if any of this information is incorrect, please Ici us kn~~v. We appreciate the opportunity to serve ynu.
'1'NG tiOLLYWt7OD LANll DF.VF"I.OPMF.;NT COMPANY 1.GC


Cf{~CKING ACCOUP3'T                                                     Business Advantage {~hk
       Account Numt~cr                                                  3 51 1566 4401
       ACtt Routing Number                                              I?IOW3S8
    'I'itl~ on Account                                                  "C'N£i Hf3LLYWC)()D LAND DEV[il,(7PMENT
                                                                        COMPANY I.,LC


       Address                                                          32Q S BEVERLY DR AP7'393


                                                                        Bt V} RLY HILLS, GA 90212




ausrr~css n~~rr c~Ko
    Businc;ss                                                          THE HOLLYWOOD LAND
    Name on Card                                                        NICHOLAS WHITE
                                                               •
    Account Numtx:r                                                    4815880024&05477
    Address                                                            324 S BEVERLY DR APT 398


                                                                       BEVERLY H[I.I.S, CA 90212
    Accounts) Linked for Accrss:                                       Business Advantage Chk,3251 1566440!




Bank information

Date                          2019-01-22

Banking Center Name            aev~xt,v wt4SHiRG

                              A~ef Hass;ne
nssociate's Name

Assoeis~te's Phone Number     d24-203-4684


UO-14-9082M 06-1999
                                                                                                                             Page 1
 NCA
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 29 of 91 Page ID #:343




                                          ._ _

                                                 ~~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 30 of 91 Page ID #:344




                              EXHIBIT 2
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 31 of 91 Page ID #:345



        Newsroom                                                                                                             Sharc ~ ~ in (:•'.



          Bank of America Sets Q4-21 Stock Dividend,
          Renews $25 Billion Repurchase Plan
          October 2U,2021 et 11:50 AM EeAtcm


          Bank of America tailny sstwnuuced the Board of Dircctam dec:lun:d a regular quarterly cash dividend on L3ank of
          America conunon xtock of5 ,21 per share, payable on December 31,2021 to shareholders of record as of December
         3,2021. The I3oatd also renewed the company's previously nanounced S25 billion com~nnn stock repiucliuse
          program.

         In April, Bank of America a►viouuceci plans to repurcliase up to S25 billion in c:nnmion stuck over time. Through the
         end of die third quartor of 202 t, approximately ~ 14 billion iu stuck had been repurchased under that program. Today's
         auUroriration rcpluceR the previous program and will provide ndditinnat flexibility going forward, in lino with the
         company's cammitmeat to return to shareLolders excess capital th~rt is not naeded to support econnenic ~rowkh,
         deliver for customers and commwuties, invest in the future and sustain strength and stability through the cycle. As
         with the April uutl~ori:cation, il~e Aourd alsv authorized repnrchoses to offset shores awarded under the company's
         equity-based compcosntion plans.

         Bank of Arncrica's ability to ms~ke capital distributions depends, ui part, on its ability to mauitaui regulatory capital
         levels above the 9,5%~T1,(ComtitgA$quity.~ic:L.l) Tequuement: the swn of the Federal Reserve f3aarJ's regul3tury
         minimmn of 4.S%and applicable regulatory huffer~; including the Stress Capital BuCter (SCB) of2.5%; end the
         Global Systemically Important Hank IIoldnig Company surc:liatga of 2.5°l0. As of September 30, 2021, Bank of
         America's CLTI ratio was 11.1%.

        1'he timing and amount of common stock repurchascq mndo pursuant to the Bank of America common stock
        repurchaso pro~ran~ are subject to various fxc;tors, including the compwry's capital position, liquidity, financial
        performance and ahcrnative v¢es of capital, stock wading price, regulatory requirements and general mntkct
        conditiuns. Also, it may be suspended at any timo. The common stock repurchases may be effected through area
        market purchases or privately negatiatecl tcunsactions, including; repurchase plazis that satisFy the conditions of Rule
        tUbS-1 of the Securities Exchange Act of 1934, as amended.

        The Board also declared n regular quarterly cas)~ dividend of 51.75 per share on the 7°/a (.umu(ative Redecmbblc
        Prel'ened Stock, Series B. The dividend is payable on January 25, 2Q22 to sharel~oldcrs of record as of January 14,
        2022.



        f=~rwarcl-Lacking St~1tP.1"ft~'IIZS
        Certain statements contained in this news release may constitute "forward-looking" statements within the ~ncaning of
        tltc 1'rivato Securities Litigation Iteforni Act of 1995. These forward-lvokis~g statements represcut the current
        expectations, plans or foreceats of Brutik of America based on avaituble information. Forward-lookinb statenieatts can
        be identified by the fact that they rlo not relate strictly to tustorical or current facts. There st~teme~~ts ~iten use words
        like "expects," "anticipates," "believes," "estimates," "targets," "intends," "plans," "predict," "goal" and ~iher similar
        expressions or future or conditi~ttal vc;rbs such as "wi[l,"'may," "aught;"'should,"•would" wid "could." Forward-
        looking statements speak pnly as of the date they arc made, and Bank of Amcricu undertakes na obligutinn to update
        any forward-looking statement to reflect the impact of oircumstauces or events that arise after the date t1~e fonvurd-
        looking smtmnent was made.




                                                                                                                                                  1/3
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 32 of 91 Page ID #:346




                              EXHIBIT 3
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 33 of 91 Page ID #:347



                       BY 4 Rn(:Y Wii!(,f I t 1 L7R pAfi Y>At\U CC)ki
                      :>U!l1.ISfIFU: I." .,.' E iI! j}ini,l:r n~e,.~. ~tt7' ~ U7'D1S(E1~: ~ t'i~1 ~ t';   v';Nt~ ':t:.,: 3"•'




                Out and about: Erika Layne looked downcast wfiite heading La the
                                                                                 gyen in on etl-black eneamWe
               in Loa Angeles on Wed~s~iday afternoon

               The Pretty Mess author tied up her platinum btor►de hair into bun
                                                                            a    and wore a pair of
               nvsrsized shades while carrying a bright yellow wallet.

               Learning: $he paid for a parltfng
                                                 meter with a oredtt card char admltUng on a
               that ehe'oaiy leorned how to go
                                                 to the bank in Ms~ch'

   I,XHIBI'I' A: tINAt1TNORtZF..;D USE BANK OF AM~:
                                                             RICA MERRII.L. LYNCH f%'()1~t Tall:
   l~I:Nk'I.17' C.lt' NlC'NU1~1S PfItPNS Wffl7'E VISA D~~'ERREi3
                                                                  BUSINESS DE;BI'I' C'AR[),
   S Fi~'"I'~ME3F:C~ I, 2U21, NEAR. IU20 N ~'~l,M AVE, i.CJ.S ANGE
                                                                   G~S, CA
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 34 of 91 Page ID #:348
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 35 of 91 Page ID #:349
   Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 36 of 91 Page ID #:350




     AiTtlitNEY OR PAhtTV W1Trit)l.I1 h7~TUkNEY (Name,Siate ~::r m:m0or, and addmes):                                                  saa cou~r use oar v
            E~'i~~ l                ti}~-
     '►3'S~ P~r~ne#~#' ~3ri v+~•
     t~ r~~ le5 Cq qtK~~"
             lCIE"PHONE NU.; ~Yl;~ ~~A ~-6 ~.tJ                    FAX Nt). (QpMon,91J: ~-~?l ',~,~ 6~ ~{.0~'~
   t~:-tnAiL ADDRESS (OptidnatJ:         j j ~~      ~      ~~~g ~
                                        J
      ATTOt{NEY Ft~R {Name}:
                                                                                                                                 Su~er~~ar ~Ct~u~t of ~aliit~rni^
     S@lPERIOR COili2Y' t?€ ~ALIFCIRNlA. CCfUN7Y OF ~„Jf~ ~ItO~~iI~S                                                                 ~~OltI1~V /if l.ns A ncrPlnr
         s ir~i:erarx~ufss. ti3 ~. ~i~~ `'a'~'t'
           MAiLtNG nAURESS~

         ti~IYANDZIPCODE: ~Ci,$ fRY1t~'.~°K                   ~Q       t~,
               BRANCNMAME:          ~'l~11M"'1I~v~   ~A~"IA~.                                                              ~tlea'rf ~, 4.~rtet, s+c~c~iav~ Uti~cxr/Ctc~~h
                                                                                                                            ~~,      -~:..,~l.t ~.t~ir:.~..~t ,I?e~ruly
             ~~Ttr~o~vzr~: ~~+l~ u                       ►i .                                                                       S~m~ntha .51~lnrt
          RESPQNDENI': Q~'~,                      ~3          t~t',,
                                                                                                                          CASE lri1MBEH: ~ ~J^ti"' ~~' ~ ?
                                          R~ClUEST TO ENTER DEFAULT                                                                              a                  111



 7. Ta K~cr clerk: Please enter the default of the respondent who has tiled t~ respond to The petition.
 2.. A com~tetcd lncQmr~ a d Expenses Clmci~ratic~t (farm ~L-150) or Financial SP~~Pement {Simptil`ied) (fomn FL-1tie)
     [~ is attached ~ is net attached.
     R completed Property Declaration (form t~t -160) n is attached ~ is not atfac;hed
     because (check at least one of the tollowiny):
     ~~) ~ there have been no changes since the previous filing.
     (~)       the issues subject to disposition Dy the court in this proceedir~c~ are the subject of a written agreement.
     (~)       therr, are n~ issues of child, s~aousaf, or partnef support ~r attorney fees and costs sutajeet to deterrninatian by the court.
     (~}       the petition does not request money, property, costs, or attorney fees. (Fam. Cede, § 2:33 .5.}
     ~~) ~     thore are no issues of division of community property.
     ~fl C~I this is an action to c~stabiish parental relationship.
Date:,~ ~ ~ la

                                   (TYPE t~R PRINT NAME)                                                          {SIGNATURE OT' [ATTORNEY fOR~ PEfiTiONFR)    ~~


     E3C'C~~~841O(i

     a. C~ NU rnailing is required because service was by pubiicadon or posting and the address of the respondent r~rrtains unkntrwn.
     b. [!` 1 A copy of this Request to Enter DetaulE, including any attachments and an envelope with sufficient postage, was
              provided to tho court clerk, with the envelope addresscsd as follows (address of tFre raspondsnYs attorney o~, if no~~e,
              the rosponderri's last known address):        NiGitdl q S Whi ~.
                                                             # 2r~C► S. C-~t7anci /~+~. ~.SKib
                                                                                  t~s Hr~eteS Ca 9't~b/S
 doclaro under penalty of perjury under the laws of the State of California that tho foregoing is true and correct.
         S1~ 1►~i
        ~'+Ka Ytif
                                   {tYPE (9R PRIN'( NAME)                                                               (SIGNATURE 6r pEClht~aNT)


                                                           FOR GUURT USE ONLY                                                           ~~
 ~~~~         rrnst tv ~ntar t7ofault mailed iv the respondent or the re~pondenYs attorney nn (~lafv):                                                   n
          Oafault entered as requested on (date:                                                                                                       `~t~'
                                                                     ~n ~ Q
          ~c~fauH not entered. Reason:                                 ~~      V ;~v                                                 V-                  fY~.n./1
                                                            ~NERRI R. GART~~                          Cier , by                                             ,Deputy
                                                                                                                                 Samantha Steinei
                                                                                                                                                                     P.....~,a~ ?.
                                                                                                                                              r~a.arci~aar     ,+e.~5se5.se~:
fqm AAlopted to Mandatory Use                                          REQUEST TO ENTER OEFAI.#~T                                                         Fam Cato. § 27 5.8
 Ki-ItiS~(Ruvu Jams»rya7t2~0U5~                                         (fiarnify Law—uniform P~rentagv)                                                   wxn~ur7Ht(o w.pov
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 37 of 91 Page ID #:351



                                                 C; l R~ItT~I       K ~° t~: S I
                                                           t_.45~%YFRS




    December 8, 2019


    ,~lrilcr~cl~xa~~~t tc' RerrE~)va~ ~;'ow`~'ruskees on Merrill Lynch Account {C>ir~reli, Ros~rastein,
    13~-~clsl~~~~}


    I,Thomas V. Girardi remove myself as Co-Trustee ofthe Palm Beach County Sherit~'s' Office f~~r
    the Benefit of Nicholas Phipps White or related trust bcisiness accounts containing; the approximate
    deposits of$5,658,b9I,268 opened at Bank of Americ~/Me~•riil Lynch, Pierce, ~'enn+~r &Smith
    Incorporated vn 401 fast Las Olas Boulevard, Ft. Lauderdale, FL 33301 for which Mr. Nicholas
    Phipps White is the Beneficiary nf.

               ~,,,,,,_e.__~.-_._-.
                                                                                             l~
     homas V. Girardi                                                         Date


   STA'I'E OF CAT.,IFQRNIA

   CUUNTY OF LOS ANGELES

   4n before me,                      ~ ca,.r, tt L. .   r ~~5~ 1~cs~~ru~ L,(,~.               ,personally
   appeared Thomas V. Girardi who proved to me on the basis of satisfactory evidence to be the
   person whose name is subscribed to the within instrument and acicnawledged to me that he
   executed the same in his authorized capacity, and that by his signature on the instrument the
   person, or the entity upon behalf of which the person acted, executed the instr~~ment.
   I certify under PENALTY O~ PERJt1RY under the laws ofthe State of Califamia that the
   foregoing paragraph is true and correct.
   WITNESS my hand and official seal.
                                                                          o
                                                                       ~gRUL~ARl05
                                                                          Notary Public -California
                                                                             Los Angetas County
                                                                           Commission r 2229856
                                                                        My Comm.Expires Feb 26, 2022
                                                                    i~~           rr~w
   Sign tune of Notary Public

     f 12fi W[LSF1(RE E30ULEVARf~ • 1~n5 ANG~,I,ES, CA[,IFORNIA • 900 1 7-1 90
                  T ELLPtIQN~: 213-977-021 1 + FAC5IMtLE: 213-4$1-IS54
                                 W W W.GIRARDtKEESE.CpM
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 38 of 91 Page ID #:352



                                                                                                                     Tlds spaco for filing scamp Doty
                     REQUESTED BY AND MAIL 1'0:                                                                             ~       ~~~~
                                                                                                               superior Caurt of Calit'arnia
           L t.~S ANGELES DAILY JQURNAI                                                                           Cot€nty ~f LQs ~~~elcs
                                        SINCE 1888

                  975 E FIflST ST, LOS ANGELES, CA 90012
                                                                                                                          ~u~ a~zo19
      Mailing Address P.O. F3ox 540?6, I..os Angeles, California 90Q5A-(1Q26
                 Telephone (213} 229-53Q0! Fax (213} 229-5487
                                                                                                        5hcrri !d.       ter,
                                                                                                                          r ~~;xe ~ ~iv~ OfFiter(C'ierk of ~'onri

                                                                                                                            ~. Fiola

           Erika White
           ER1KA WHITE
                                                                                          DJ #: 3253825
           210 GATHEDRAI. COVE, APT 16
           CAMARILLC7, CA - 93012                                                                pPDER TO SMOW CAUSE
                                                                                                  fDA CHANGE OF NAME
                                                                                                   Ccue No. i~JSTCPQ776t
                                                                                        Superior Cwtl of Ca~iitim9a. County ni
                                                                                        IOSANGEIES
                                                                                        Peiilion ol: Enko OY~ite (ur Changa cf                 ~ ~~~~~l~{~)
                                                                                        NemB
                                                                                        70 ALL INTERESTED PERSONS:
                                                                                        Futili0ner Erika WhNe fc~atl a peG6on with
                                                                                        this coon IQr a tlecrea changing names as
                                                                                        loilows'
                                                                                        Erika MChbte Wh(te to Erika h5chde
                                                                                        Salezat
                                                                                        The Court Orders !had ell perSOns
                                                                                        i~lereslad in R+is matte.appear Mforo this
                                       {2075.5 C.C.P.}                                  coon ni the hoadng Intliwted below la
                                                                                        shorn cause, ~il any, v.~hy tha pe8tion for
                                                                                        charigQ of namo should not b~ graMetl.
   State of Ct~litornia              )                                                  My person otrnc6ng to 11~e nam9
                                                                                        changars described above must ~3e s
   County of Los Angeles             )ss                                                writRen abJaGinn that inUuda& the rea5o~s
                                                                                        tar the o~ecUoo at least two court days
                                                                                        hglr~r2 ins mmtter i, cchetluled to be
   Notice 7ypc~:    OSG - QRbER TO SHOW CAUS~iNAME CHANGE                               heard antl must ~ppeAr nt tho haaring to
                                                                                        sho~x cause rfiy the petlliart shouEd not
                                                                                        ba grantetl. It no wripon ob;actipn is timely
                                                                                        filBtl, tr~8 cWlrt tn9y gr71n~ !hC Rfltit~W.i
                                                                                        vrithoul a hearing.
   Ad Descriptinrs:                                                                     Notico of Hearing
                                                                                        Date'. 071Q4120~9. 15me: 70:30um. Onpi.:
   19STCP~17d1 White                                                                    as
                                                                                        the address et tnA coon 6s t71 N NNa
                                                                                        Str~~tt Los Angeles CA 900th
                                                                                        A copp of th~c Order to Show Cause shau
                                                                                        be pu61i3hed ai I9a5t once anon Keak for
                                                                                        IOuf SUCC@S31VC WE@kg pea to ins data
                                                                                        set for heanny on iha ke!(tlon in the
     am a citizen of the United States and a residPnl of the State ~f California; 12m   fopowing      nawsPdper     at   g~aera
                                                                                        c~rcdaUon, pnnrotl to this county. USS
   aver the age of eighteen years, and not a party to or inisrested in the above        At3Ci~lES (~A1LY JOi1RNAC
   ant+tied manor. i am the principal clerk of tMe pnntor c~nd pubGshor of the LOS      Date: St62019
                                                                                        Jude Moretar~
   ANGEt_F.S [1AilY JgURNAI , a newspapAr published in the English language             Juries o!the SupBriar Cnvrt
   in the city at lOS ANGELES, county of LOS ANGEi.ES, and adjudged a                   5715. 5J22. 5P29,6t51t9
                                                                                                                    DJ-325362511
   newspaper of gc~ner~i circttlation as defined by the laws of the State of
   Celifomia by the Superior Court of the County o!LOS ANGELES, State of
   Califamia, under date 04126,'1954, Case No. 599,352. 1hat the naticP, of which
   the annex~ci is a printed eo~y, has t~epr~ published in c+ach regular and entire
   issue pf said newspaper and not in any suppioment thoreof on the fofiawing
   dates, to-wit:

                   05/15/2019, 05/~2t2019, 0512911.019, 06f95f2ni9




                                 Executed on: 06/05/2019
                                 At Los Angeles, California

   1 certidy (ac declare) under Fyenaity ai E7erjury ttzat the faregoirig is true and
   correct.


                                      •-7



                                           Signature


           1 1 1 1I I 1 1 4 VI I1 18 VI I VI II NII{I I VI IIl fl VI I lil l I I I
   F~~ ~ ~: a a o o~ o s ~ ~ r ~ ~ o
    Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 39 of 91 Page ID #:353




 Bank of America Financial Office, 100 Larchmont Blvd, Los Angeles, CA 90004 temporary
closure sign stating that "due to circumstances beyond our control, we are temporarily closed"
                   and Bank of America's "erica app" designated in yellow.




                                                  2a
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 40 of 91 Page ID #:354

                                    1
                                        6t15WESS, CONSl1MER SERVICES ENO HOUSING AGENCY ~ GAVIN NEV~t5~M, Gf)VFRNO#2          "';'
  / '"~ ]~ /[~~                     ~   DEPARTMENT OF CQNSUMER AFFAIRS • OSTEOPA7HtC MEDICAL BOARp OF CALIFORNIA
  ~..Jj ~t                          f   1300 Natianai Drive, Suite 150, Sacramento, CA 95834                           ~ >~          1/
  osi~;~,;~r,atr~~s~~!s~amcu~„~i,       ~s(916)928-8390 ~ ~ C916)92$-$392
                                                                                  ~ www.ombc.~~.9o~                     ~,' u~%`




    July 27, 2022



   NICHOLAS P. WHITE
   324 SOUTH BEVERLY DRIVE, SUITE 489
   BEVERLY NI~LS, CA 90211

   Re:      NAREK HAMO TORQSYAN, D.O.
   Case No. 900 2022 000371

   Dear NICHOLAS P WHITE:

   This letter serves as confirmation of your complaint against the referenced.

   Please Hate the review process may take several months. If we need additional
   information during the course of our inquiry, a representative of this Board will contact you.

   Please note this Board is only authorized to take action against those individuals it finds in
   violation of the Medical Practice Act.

  We appreciate your patience and wish to thank you for bringing your concerns to oar
  attention. You will he advised of any action we take in this matter.

   If you have any questions, please contact this office at (916} 928-8390.

   Cip~arrrly~




  Beth Dutchler
  Enforcement Analyst
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 41 of 91 Page ID #:355




                              i                -
•   Case
     Case2:22-cv-04557-GW-SK
          2:22-cv-04557-G`"`-MAA Document
                                  Document31  Filed
                                           12-1      03/23/23
                                                ~ Filed 11/02!"^Page 426ofof91
                                                                  Page       21 Page
                                                                                PageID
                                                                                     ID #:356
                                                                                        #:210


                          This page is pert of your document - DO Nt)T d~SCARD
                                        ~.~ oe tos`Hc~
                                                                                        iLU1 `~U~►«►i ~+~. ~~

                                   f ~ . { il ~l il ~lEfl~l l{I I ~~IrH~IIHI I NI I I ~I ~I I I I I N
                                                     r~,

                                  +                          ~+                                                                             PO+~Q2
                                   ~                                  i                itecorded/filed In Official Records
                                    ~                                ~               Recorder's t?Kice, Los Angeles Caunty,
                                                                                                  California
                                        x ~'~R~~oa~`~' x                                         071021'19 AT 08.UOAM

                                                                                                                                 F~~s:         ~2,c~o
                                                                                                                                r~ ~:s   670,60U,OQ
                                                                                                                                o~~:~           o.00

                                                                                                                                PAID:    670,632.00




                                                             L EADS HEE"f




                                                           201907020120029


                                                               aoozsa~77o~

                                                     1 1 1 Il ilfl~lI1 1 N'I~I I I I1 1;1 1 1 1 1i1 i1
                                                                  009J38292

                                                                       S~Q:
                                                                        14

                                 DAR - Tit1~ Company (Herd CopY~


                                 I I I I ~I I ~I I111~II I I~OIaI I I I I~I I I I iI I ~I I I I I~l l l Ifl~l l~~ll l l l li
                                 I I I I~I I I I il l l !l ~l l l lifl l l 111111!!~~Nl~IiI I I I I I I I I I IGI~I~l lil~l l
                                 THIS ~'gRM IS N0~' TQ BE DUPCtCATED
               t (81712
                                                                                                                                  ~r~5
     Case 2:22-cv-04557-GW-SK Document
                               Document3112-1
                                            Filed 03/23/23
                                                Filed 11/02' "'Page 437ofof91
                                                                 Page       21 Page
                                                                                PageID #:357
                                                                                     IQ #:211
       ~'~UCI.~Tv NA'r1C7NAi.
     aecc~RniNr, ~aE=.c.~ur.:s i E~~ E:iv:TITt..~
      F~lt7~LITY NATIgNAL 11TL.E COMPANY
     ANI~ WW~M1I RECORDEQ MAIL Tt3:
                                                                                                                       07/Q2t2Q19
     59d Maplaton LLC,a California limited Liability
     Company
     Go Det~nia Knach, Faq.
     9200 Sunset Eilvd., !E 815
     t_ns Angeles, C~ 90068
                                                                                                                '2019QG375?_9`

     Order No.: 995-30031000•JS3
     Escrow No.: A51Q219.01828~MN
     A.P.N.: 4359-U1~-U32           ,—,~ ei

                                                                            SPACE ABOVE THIS I,INF IS Fnl1 CtE:COFtL7E:R';, USE
                                                                     GRANT DEED
 TF{~ UNDER.riIGN~l7 GF2Af~iTUF2{5) QECLARE(Sj
 D(~C;UMFNT~~ARY TRANSFER TAXIS $131,7l5.O0                                            Cl~t~l' TRANSFER TAX IS $~3~,ki7S.t}0
 [ xX ] campiated on full value of prop~tty conveyed, or
 [ Xx ] City of L4S ANGELES ANU

 FOR A VA(.UAE3LE CQN51gEF2AT14N, receipt of which is hereby ackr~owl
                                                                                                       edgod,
 PetraEcclestone, a single women, rxs hez-                                                                         ~X~mpt from fee per GC 2788.1 (~~ (2};
   ~e~~a~~~~ ~~~~~~ ~ y                                                          Sole ~~nd
                                                                                                                   recorded re~s~~#~y in connection with
 raereby rR~Nrts~ to                                                                                               a transfer subject to the imposition of
 59A Mapleton LLC, a California Limited Liability Company                                                          documentary transfer tax

 the Fallowing described ree( property in the C:ounly ~f t~as Angeles, State
                                                                                                      of California:
   Parcels A,8 and C of Ra~cet Map L.A. No.4847, in the City of Los
                                                                     Angeles. County of Los
   Angeles, State of California, as per Map Recorded an Bnc~k 151, Page
                                                                        51 cif Parcel Maps,in
   the Office of the County Recorder of said County.


  Uated: Jung 20, 2019
                                                                                              ~~
                                                                                 Petra Ecclestone


            _ ..__,m                            __. . .___...._. _.._._._~~..__.___. ~ ,_.__.___..~.          _. _.~_
                                                                                                                    ____~_            a.
  A notary public or other officer cpmpleting this certificate verifies
                                                                        only iha identity of the individual who signal tho
  documQnt to which ttii~ certificate is attached, and not the truthfulr►
                                                                          ess, accuracy ar validity of that dncumenk.

STATE OF C/11..IF(~ilNIA
C(3UNTY OF ,. L oS A ~!~ Ie5 .. _ _ .._.    ___)SS.
Gn ~4tHE'. ~ ~_` a01~_.,~___ before me, (Mtc.F.i4~~
                                                                                  f~-ff"7`~            ... _ _ _.. Nokary ('ublic, personalty eppe~red
who proved iv me on the basis of atisfad~ry evidence to he the
                                                                      person(~tj wh~ye n~rne is ra subscribed to the wi nn ~nstrumrnt
and ~rknowledyed to me that (~e he hey executed the same in hi~.
                                                                           ~r heir authorized capauty{i~9) ,end that by hi,~e their
siynature{}~ can tli~ instrument the erson(,~'), nr thr. entity upon
                                                                     behall"of which the person(,}, acted, ~x~cutc:d the inr.Tftfmc nt.
 certify under PENALTY OF PFR.IU(~Y under the laws of thc~ St~tc~
                                                                         of California khat the foregoing parayr~ph is true aril wrre~~k.
WITNESS my ha and ~cial - ~ .
Signature            ~
               W ~~S
                      ignature of Notary                                              -~ •.        MKNAEI GEKHT
Commission Expir.~tipn Cate: __.~G{~ • t.~;~, ~~Zj____^.._                                     .-. hotarypublit-Calt(arnia
                                                                                        5     `~ ,'  luSAnge'esCq~nty
                                                                                                    Commissjor~ ~t 1.XMt83
                                                                                                htyCwnm. Esc~res Aug 2.221
                                                                                              ~~                     ~
MAII TAX STATEM~NTS~ 1"o the: parties as shown above

                                                                                                                                                         1~ r~
         Case
          Cage2:22-cv-04557-GW-SK
               2.2~-cv-04557-C``'-MAADocument
                                      Document31  Filed
                                               22-1.     03/23/23
                                                      Filed 11/02/'`'Page 448of~f91
                                                                       Page       22 Page
                                                                                     Page ID
                                                                                           ID #:358
                                                                                              x:212

                 :~

                                                  :r


0




                                                                     ,:ter,

                                                                                  ,.           ~~~. ~,: .a .
                                                                                                                     ~~
                                                                                                               ~ .
                                                                              I~tt1YF}~ #~                            _ ±f



                 c,




                             s _ s ~\3~^~
                                        C




                                                        s   _:                         1;`{.             ,..   lei   .•r'.   :l .
    ~"                              `3
.




         } ,~.           _               ~   ~.    ~'~.f"        ,'ii'at ,
  ~~~~_-.,c~., .,.~-. r ~.~                        mya~e~y aaun~ Y~acna oNami~i               nnni wi ~ Boa mmwn ~ wvepruperry.wn~
       Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 45 of 91 Page ID #:359

          • ' PROPERTY v


           News               Homes           interiors          investing          Features




         Mystery seller places 'Spelling Manor' on market
         far X165 m,illi~n
          Gallery View ~ Expand View

                     One of LA's grandest homes has had a huge price increase




                                                                                                                             Q~1PROPERTY
             A super-luxury Californian estate -known as The Manor
             million (£121 m}just three years after it sold for just shy a1
            House and boasting 123 roams, let's take a look inside this
                                                              history...



                                                             A grand esta ~.0
https:!/www.loveproperty.comlgalleryHsU86765/mystery-seller-places-spelling-manor-on-market-for-165-million
                                                                                                                                           1 /16
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 46 of 91 Page ID #:360
   New Cases Allege Bank of America /Merrill ~.ynch Aided and Abetted
   `Real Housewives' Tom and Erika Girardi Massive Fraud Scheme in
   Posing as Victim's Father and Widow to Stea! $27.4598 ofi Victim's
   Sovereign Towers Settlement and Purchase of Spelling Manor: Bank
   Still Refusing to Help the Victims
   Jul 14, 2022 11:45 AM E7

   Legal Newswire POWEREQ BY LAW.COM

   Contact: Ett_~~.~irt4luitin~C~ttt~b.Q11Y.~t~udl~Ct~t~~u~14Rm~ta1~Q~Izs~~lY,~.~tra

   BEVERLY HILLS, CAUFOHNIA, USA -The unopposed civil case for negligence is for the rotum from Berkshire Hathaway (NYSE:
   E3HK) owned-L3ank of nmerica Corporation (NYSE: L3AC) for the Victim and Plaintiff, Chairman and CEU of The Hollywood Laid
   Development Company LLC, Nicholas Phipps White's $27.459 billion Sovereign Towers settlement, issued as a U.S. Treasury check, in
   addition io the return of the Victim's home from West Coast Escrow Company, a subsidiary of Anywhere Real Estate Inc. {NYSE:
   t-IOUS), tiUecl by Fidelity National Title, a subsidiary of Fidelity National Financial(NYSE: FNt=).

  The negligence case filed morQ than a yoar ago nn June 7, 2021 ~t citafa~~tjp~~_,.V!/Zt~tQ _y~~J~~t1k a1 Ai,~~ltGs~,~,_r~~d_A'1~t
                                                                                                                                     Cl1L~.y/J~11.
  P(Brco,_F,.~1tl~~~dC2.S~..,sifl)jfh /ncvranratQd, which in part will assist the 500 r Victims awed $517,DOO,000 of the Girardi Bankruptcy, has
  been assigned to former U.S. Navy JAG, l he Honorable Judge Mark E3lumstein of the Miami-Dade County, Florida 11"'Circuit Gaurt. An
  addiiignal civil fraud case was tiled on July 2, 2022 in the United States District Gourt for the Central District at C~lifomia with
                                                                                                                                              the
  Honorahle Federal Judge George N. Wu Nicholas Pitipp~_V4~/11(e vs. Attvwhere Nea! Est~[~.lQ~ for Anywhere Heal Estate Inc. (or [he
  return of the Victim's home by correcting the grant deed for the f'laintift regarding the property located at 594 South Mapleton Drivo, Los
  Angeles, CA 90024(APN: 4359-Q13-032), also known as the "Spelfin~ Manor", which was purchased with the Victim's funds from Bank
  of America /Merrill Lynch gloUal consumer account (~49-132$0 without his knowledge on July 2, 201 J.

  The unopposed E3ank of America lawsuit alleges that "the Defendants" Bank of America's GEO Brian T. Moynihan and Merrill ~ynch's
  PrQsident Andrew Sieg, were negEigent in allowing a global Morrill Lynch consumer account{~~~)to be fraudulently opened
  three years ago, on June 7, 2019 at the Morrill Lynch Coral Gables, FL location more than 3,000 milQs away tram and without
                                                                                                                                          the
  Plainfiff's knowledge an existing customer of Bank of America and resident of California, with a fraudulent Italian passport and a forged
  unrecorded birth certificate for the Plaintiff by disgraced and disbarred aitomoy Tom Girardi, naming Fi3-year old Girardi
                                                                                                                              as his father,
  and a fraudulent unrecorded marriage certificate naming 51-year old Erika Girardi, posing as a fictitious "Erika White", as
                                                                                                                                his wife and
  now widow. The fraudulent Italian passport Bark of America acceptad was illicitly obtained from the Italian Consulate in
                                                                                                                             San Francisco
  by Tom Girardi (who was actually born in Italy and immigrated to the U.S. in 1954) with now expired immigration papers. Girarcii
                                                                                                                                       could
  face deportation from the United Slates.

   I~isgraced Tom GirardPs 51-year old wife, tha Rea! Housewives of Beverly Hills(RHO6H) reafity performer, Erika Nichole
                                                                                                                             Girardi (aka
  trika Jayne), fraudulently posed as a fabricated "Erika While", who perpetrated to be the wife and widow of Plaintiff, Nicholas
                                                                                                                                  Phipps
  White, Chairman and CEO of The Hollywood Land Oevelopmeni Company in California. Bank of America/Merrill Lynch
                                                                                                                               aided and
  abetted Erika Girardi by accepting, among other forged documents, illegitimate and unrecorded Letters of Probate, granting her convol
  as the Acirninistratar of the Merrill Lynch global consumer account (649-13284). Dank of America's Former U.S. Secretary of
                                                                                                                               Slate and
  U.S. Senator John Kerry served as Qank of America's Global Advisory Council Chairman which included Bank of America's
                                                                                                                              CEO Drian
  Moynihan from Qctaber 2Q17 -January 2021 knew the actual Plaintiff's father from Yale University in Now Haven, Connecticut where
  the Plaintifl was born, Managing Director of it~e Sovereign Towers, architect Mr. Lawrence Phipps White, grandson of U.S. Senator
  Lawrence Phipps, former Treasurer of Carnegie Steel, now part of U.S. Steel.

  The Uirardi's scheme, aided and abetted by B2nk of America, was intentionally done in order to conceal the $27.459
                                                                                                                                  billion-dollar
  Sovereign lowers se~tfement and to prevent the Plaintiff Nicholas Phipps While, who is the legitimate owner of the account
                                                                                                                                          (~19-
  13294), to not have any access to even vne dollar of his account, while the Retendants allowed Erika Uirardi and others to unlawfully
  spend from the F'lainiitf's global account Additionally, dank of America /Morrill Lynch issued more than 25+ unauthorized Visa
                                                                                                                                           debit
  cards to Erika Girardi from the Plainiifi's global account for a vast network of friends, political operatives, and assnciaies of
                                                                                                                                             the
  Democrat political fundraiser Tom Girardi and his wife Erika Girardi to illicitly use. Previously, Bank of America had allowed lraudulenl
  money transfers from the Plaintiff's Merrill Lynch account (649-13264) to the vast network of friends, political oEzeratives and associates
  of Tom and [rika Girardi across 16 stales Through E3ank of America's "Erica" virtual financial assistant launched in Junr, 2 18, and
  utilized the Bank of America-owned "Zelle" payment platform which allows transfer of funds of $2,500 daily from the Plainti(I's account,
  assisted by Devon Investment Advisory, owned by Archer Systems, investment advisor associates of Tom Girarcii'S that bank
                                                                                                                                              of
  America illicitly approved, with Devon Investment Advisory previously terminated by SEC. Subsequently, beginning in April 2021, dank
 of America converted mere than $14 billion of Nicholas Phipps WhitQ's funds from his Merrill Lynch global account to E3ank of nmerica's
 "$25 billion stock buy-back" that was announced in early 2021.

                                                                                                                        r

                                                                                                                                                     [1d'
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 47 of 91 Page ID #:361
    Othar unauthorized transacts    dank of America aided and abetted the Girardi's with . ~ded the wire transfer from the Merrill Lynch
    account(~9~-.Z~~Qj, in the amount of ~'ja,~,.7~Q,QS~Q for the purchase on July 2, 2019, disguised as an LlC without his knowledge as
    the "anonymous buyer" of the alleged "birthday presenP' for the Plaintiff's wife of the "Spelling Manor" located at 594 South Mapleton
    Drive in Los Angoles, CA 90024 (APN: 4359-013-032). This property was co-listed by The Agency and Anywhera Real Estate Inc.'s
    Coldwell Banker Realty and the Plaintiff was disguised as an "anonymous buyer" represented by the recently deceased Jeft Hyland of
    Hilton &Nyland with the escrow by West Coast Escrow Company of Beverly Hills, CA and titling of the property by Fidelity National Tille
    Group of Los Angeles.

    SubsequQntly, Nicholas Phipps White, without his knowledge of [he home purchase, has been subjected to paying rnontt~ly utility bills
    tram his global Merritt Lynch account that were as high as $29,932.70 to the Los Angeles Department of Power and Water, while tha
    vast network of friends, political operatives and associates of Tom and Erika Girardi, used the Plaintiff's house for lavish entertaining.
    Additionally, the Plaintiff's home was illicitly managed by staff from ABM Industries(NYSE: ABM} brought in from their Now York offices
    at One Liberty Plaza, the building of the original headquarters of Merrill Lynch. The Plaintiff has kaee~ subjected to paying irorn the
    Plaintiff's Merrill Lynch account for lavish around-the-clock "embassy style" security services to ABM for the Girardi's and their friends,
    operatives, aid associates ai the f'Isiniiif's home.

   The current listing of the Spelling Manor properly initiated by Erika Girardi posing "Erika White" as the widow of the Plaintiff, was
   sus{~ended on March 22, 2022 after the fraudulent wire from Bank o1 America from the July 2, 2019 purchase of the Spoiling Manor was
   reparted by the Plainiilf, the owner o(the home, to U.S. Attorney General Garland at the U.S. Department of Justice.

   Thy Plaintiff, Mr. Nicholas Phipps White, who is an existing customer of Bank of America, had previously and urgently attempted to
   contact Bank of America's Chairman and CEO Brian 7 Moynihan more than104 times to report the massive fraud and unconscionable
   acts allowed to be committed by Tom and Erika Girardi. In tact, Bank of America's CEO Brian Moynihan had previously known
                                                                                                                                      Tom
   Girardi and received payment from the Plaintiff's Merrill lynch account to aid and stet the fraud. The Plaintiff has also requested the
   immediate closure of his Merrill Lynch account (649-13284) and the return of his funds. Brokers' licenses for both Eiank of America's
   Brian Moynihan, Merrill Lynch's President Andrew Sieg and Qevan Investment Advisory owned by Archer Systems misconduct,
                                                                                                                                     ware
   rQported to the Securities and Exchange Commission, which is regulated by Financial Industry Regulatory Authority(FINHA).

   The missing U.S. Treasury Sovereign Towers settlement check from February 26, 2021, which was reported on April 28, 2021 to
                                                                                                                                        U.S.
   Attorney General Merrick Garland and occurred during the tenure of Acting U.S. Attorney General Monty Wilkinson and U.S. Treasury
   Secretary Janet Yellen, was given to and illicitly deposited by Erika Girardi(who was posing as the PlaintiN's widow Erika
                                                                                                                              White) into the
   Merrill Lynch global account (649-1~?~Q). The subsequent 25+ Visa debit card fraud at Merrill Lynch, has been properly reported
                                                                                                                                           to
   U.S. Attorney Garland nn September 8, 2021 which led to one of the largest financial institution Leadership shakeups
                                                                                                                              announced by
   Bank of America on September 10, 2021. The U.S. Attorney's Office for the Contra! District of California, California Attorney
                                                                                                                                    General
   Rob Bonta and Los Angeles Police Department(LAPD} Sheriff Alex Villanueva had been notified regarding the fraud.

  Additionally, the matter for the return of the Sovereign Towers settlement to the Plaintiff had been submitted by lha
                                                                                                                        Plaintiff's Senator
  Dianne Feinstein to the bi-partisan U.S. Senate Judiciary Committee in regards to outreach for the Girardi Victims
                                                                                                                      to Attorney General
  Garland at the U.S. Department of Justice. Moreover, the U.S. Secretary of Homeland Security Alejandro Nicholas Mayorkas
                                                                                                                                  has been
  notified regarding the passport fraud at Bank of America by Halian native Tom Girardi on U.S. citizen Nicholas
                                                                                                                     Phipps White at the
  Italian Consulate in San Francisco, whose previous Consul General Lorenzo Ortona abruptly departed in June
                                                                                                                  29, 2021 after the Bank
  of America was filed on June 7, 2021.

   The violations by the realtors and attorneys regarding the Spotting Manor, which include fellow reality cast
                                                                                                                members: Rick Hilton of
   Hilton &Nyland and Mauricio Umansky of The Agency, in addition to Goldwell Flanker Realty Tony Papillo,
                                                                                                                 Jade Mills and Michael
  Caruso, Broker for California for The Agency, have been reported to the California Department of Reai Estate fpr
                                                                                                                   invesiigalion. Attorney
   misconduct complaints have been Tiled to the Galifornia State Bar on Tom Girardi of the now defunct Girardi
                                                                                                                    & Keese law firm, in
  addition, to Bank of America's owner Berkshire Hathaway's Vice-Chairman attorney Charlie Munger, friend of Girarcli
                                                                                                                               and fellow
  Pasadena, CA resident, founder of the law firm Munger, Tolles and Olson of t,os Angeles and who recently
                                                                                                            resigned on March 28, 2022,
  as Chairman of The Daily Journal Corporation (NASDAQ: DJCO) after the fraud was reported to the Attorney
                                                                                                                     General Garland on
  March 22, 2022 That his publication 1he Daily Journal in Los Angeles aided Erika Girardi in running a fraudulent legal
                                                                                                                            notice for the
  illegitimate manufactured "Erika White" F3ank of America accepted.

  In addition, attorney complaints were submitted on California attorney Dennis Roach of Clinton Development Inc.
                                                                                                                       who pflsad as a
  fraudulent property manager for the Plaintiff's property "Spelflng Manor" and GEO of 594 Mapleton LTC, and developer/real
                                                                                                                                 estate
  attorney Rick Caruso, current Los Angeles mayoral candidate, friend of Tom Girardi and related to Michael Caruso from
                                                                                                                          The Agency,
  which the California State Bar records show surrendered his law license on July 2, 2019, the day of thQ 594 South
                                                                                                                    Mapleton Urive, los
  AngQles, CA 90024 transaction from the PlaintifYs Bank of AmoricalMerrill lynch global account.

  T tie illegitimate unrecorded death certificate Bank of America /Merrill Lynch accepted from Erika Girardi
                                                                                                             posing as the Plaintiff's widow
  was signed in 2Q20 by resident student Dr. Narek O. Torosyan DO for which he received payment from the
                                                                                                                    Plaintiff's Marrilt Lynch
  account, which in part was used to pay of( his medical school loans. Dr. Torosyan had worked with Tom
                                                                                                                  Girardi's celebrity family
  physician, San Francisco-native Dr. James Keller Wortham MO from the Optimum Wellness Group of Glendale,
                                                                                                                           CA, formerly the
  practice of deceased Church of Scientology physician, Dr. G. Meghan Shields who died in 2016. Consequently,
                                                                                                                     Dr. Wortham's partner
                                                                                                                       .
                                                                                                                    .~
                                                                                                                                                  2!~t
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 48 of 91 Page ID #:362




                                        N
                                        1
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 49 of 91 Page ID #:363
                                                                        Recorded   afficial Fbecords, Orange County
                                                                        Hugh Nguyen, Clerk-fZecorder

 RECUItDING REQUE.5TE1D BY:
 Fidelity National Titte
                                                                            III I I I 1 1 1 1f1 1 ~ lil l l {I I I I ~I I I I I I I IlI I I I ~ 3.00
                                                                           * S K U 0 1 4 Q 2 1 0 0 4 S
 Order No.00362034-994                                                     2Q22~00341130 4:14 pm 1Q120122
 Escrow No. G42Q4-GJ
                                                                        214 CR-SGO5 GOZ 3 07
 Parcet No. 489-181-t)6
                                                                        30250.00 30250.00 4.OQ 0.40 6.00 Q.00 QA00.000.00 O.Qq
 AND WHEN RECQRDED MA1L TO:

US NO.8 LLC,A CALIFORNIA
LIMITED LiABILF'CY COMF"ANY
2 CORAL RIDGE
NEWPORT BEACH,CA 92b57

                                                                SPACE ABOVE THIS LINE FOR REC~RUER`S

                                                    GRANT DEED
'THE UNDERSIGNED GRANTORS)DECLARES)THAT dOCUMENT'AItY TRANSFER TAX IS S60,S00.00

  ~ computed on full value of prapecty conveyed, or
  ❑ computed on full value less liens or encumbrances remaining at the time ofsate.
    unincorporated area:                   (~ Newport Beach, and

FOR A VALUABLE CONSIDERATION,receipt of which is hereby acknowledged,

Terry Dubrow and Heather Dubrow,Co-Trustees ofThc Dubraw Family Trust Dated November Z7,Z417

hereby GRANTS)to

US No.8 LLC,A California Limited Liability Company

the following described real property in the County of Orange,State of California:

SEE EXHIBIT"A" ATTACI-IED HERETO AND MADE A PART HEREOF.

Commonly tcnown as: 2 Coral Ridge, Newport Beach,CA 92657




                                                             Page 1
                                            GRANT DEED CONTINUED ON PAGE 2
                                  Mail Tax Statement to: SAME AS ABOVFi or Address Noted E3eiow
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 50 of 91 Page ID #:364




 Date       September 28,2022




'ferry Dubrow and Heather I~ubrow, Cc~-Trustees of
The Dubrow rimmily Trust T~ated N ember 27,2d 17


 By: Terry Dub              rustec                              IIy: Hea er Disbrow,Co-T stee

     .-j~,,,~.R-y ~ v b ~~✓                                             ~,-n,tti- ~7d b 2-~w''




 A notary public or other officer completing this certificate verifies only the identity of the individual who signed die
 document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 STATE OF CALIFORNIA                               }S.S.
 covr~~ o~ Oru

 On ~sE'B~ ~.., ~2"'~,                     ,before me, ~t''~          Qf~l y           ,~1~I(A           ~~~~ ~               ,
 personally appeared      r                    _ _Qt~ _ ~t':
                                                           ,
                                                           .                      ~►_'4 W


who proved to me on tie bAsis of satisfactory evidence to be the persons) whose names) istare subscribed to the within instrument and
acknowledged to me that helshe/they executed the same in hislhedtheir authorized ct►pacity(ies), and that by his/her/ihcir sigaature(s) on the
inshvmcnt the person(s), or the entity upon behalf of which the persons) acted, executad the instrument.

Icertify under PENALTY OF PERJiJRY under the laws of the State of California that the foregoing paragraph is true and correct.

 WITNESS my hand and official seal.


                                                                                                BRITFANY BARR
Signature                                                    (Seal}                         Notary PubUc - California
                                                                                              los Angeles County
                                                                                             Canmission ° 2330307
                                                                                      "~ My Comm. E~cpires Jul 11, 2024




                                                                 Pa$e 2
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 51 of 91 Page ID #:365




                                          ~EBrr a
                                    LEGAL DESCRIPTiQN

 THE LAND REFERRED TO HEREIN BELOW !S SIl'UATED IN THE CITY OF NEWPORT BEACH,
                                                                              IN THE
 CQUNTY OF ORANGE,STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

 PARCEL 1

 LOT 44 OF TRACT NO. 1645?, IN THE CI"i'Y OF NEWPORT COAST, COUNTY OF
                                                                            QRANGE, STATE ~F
 CALIFORNIA, AS SHOWN ON A MAP itECORDED IN BOOK 873, PAGES 33 THROUGH
                                                                             47, INCLUSIVE, flF
 MISCELLANEOUS MAPS IN THE OFFICE OF THE COUN'CY RECORDER FOR ORANGE COUNTY,
                                                                                   CAI,iFURNIA,
 AND AS CORRECTED BY THAT CERTAIN CERT[FtCATE OF CORRECTION RECORDED AUGUST
                                                                                     22, 2Q07 AS
 INSTRUMEN"C NA.20a'7-0522883 OF OFFICEAL ItECORD5 OF SAID ORANGE COUI~tTY.

 EXCEPTING THEREFROM,ALL UIL, MINBitAL AND OTHER RELATEd RIGHTS AS RESERVE
                                                                           D TO THE IRVINE
 COMFANY LLC, ITS SUCCESSORS AND ASSIGNS, EN THE GRANT DEED RECQRDED ON APRIL
                                                                               !S, 2UO3, AS
 INSTRUMENT NO.2003-0OU436059 OF OFFICIAL RECORDS_

 PARCEL 2;

 NONEXCLUSIVE EASEMEN"I'S FOR INGRESS, EGRESS, ACCESS, MAINTENANCE,
                                                                      REPAIKS, D1tAtNAGE,
 SEWER LATERAL CONI'3ECTIONS, ENCROACHMENT, SUPPORT, USE, EN70YMENT
                                                                         AND ALL, OTHER
 PURPOSES AS MORE PARTICULARLY SET FIRTH IN THE MASTER DECLARA
                                                                        TION, NOTICE OF
 ANN~.XATION, CUSTOM LET DECLARATION, AMENDMENT TO CUSTOM I.OT
                                                                       DECLARATION, THE
 DECLARATION ESTABLISHING ACCESS EASEMENT RIGHTS AND CUSTOM LUT
                                                                     ENTRY GATE SPECIAL
 BENEFIT AREA REFERENCED BELOW,COMPLETION OF CONSTRUC"I'IUN OF DWELLIN
                                                                        GS SUPPLEMENTAL
 DECLARATION REFERENCED BELOW, REAR Sb'WER LATERAL SUPPLEMENTARY
                                                                            DECLARATION
 REFERENCED BELOW, IF APPLICABLE, AND DRIVEWAY EASEMENT' DECLARATION
                                                                          OF COVENANTS,
 CONDITIONS AND RESTRICTIONS RECORDED SEPTEMBER 27, 2Q00, AS INSTRUMENT
                                                                        NO. 2000-511085, OF
 OFFICIAL RECORDS.




 APN: 489-181-06
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 52 of 91 Page ID #:366




                              EXHIBIT ~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 53 of 91 Page ID #:367



                    This page is part of your document - DO NOT Q15CARD

                                 ~~~ ~~ ~Qs~ti~                          2a23a1X5234
                            fc~~►
                            '                   `' l
                                                   ~~~                                      I
                            +                                     ( (I II) (IIII (II~~ IIII) tl~l) (IIII VIII ~II~I VIII IIII~ IIII) IIII IIII      POQQ4~
                                               ~+
                            ~                           ,~              RecordedlFiled in t~fficial Records
                             ~                         ~              Recorder's Office, Los Angeles County,
                                 .x              ~ x                              California
                                      ~'~UFORN~*                                 A2/17123 AT 08:OOAM

                                                                                                                            FEES:                     2s.00
                                                                                                                            TAXES:               3 8,000.00
                                                                                                                            OTHER:                     0 .00

                                                                                                                            PAID:                308,028.00




                                                 L EADSWEET




                                               202302173270014


                                                   000232Q5592


                                          1 1 1 I I 1 1 1 1 1 I 1 I I VII II VII II I I
                                                       013924953

                                                          SEQ:
                                                           41

                                            SECURE - 8:OOAM




                           TNIS FORM IS NC)T TO BE DUPLICATED
          r,wvrzu                                                                                                                  368341
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 54 of 91 Page ID #:368


    Ft~CORDING REQUESTED BY:
     ~iD~UTY NAl'#t3NAl TCCLE CQMPANY

    AND WHEN RECO1tDEG MAlI TO:
    US No.3 L.I.0
    71 Boverly Pt~rk
    Bsavorly Hills, CA 9U210

    Ordor No.: 00368341-9~34AW
    Escrow No.; 451p223-402f33-BS
    A.P.N.: 4386-013-02~



                                                                SPACE ABOVE THIS LINE IS FOR R~CQRI3F..R'S tlSF
                                                         GRANT DEED
 THE Uf~QFRSIGNEQ t;RANTC}R(S) DE6L~,4RE~(S)O~
 DOCUMENTARY TRANSFER TAX IS $                  ~              CITY TRANSFER TAX IS $                         '11E7,500.00
   X ] adrnputed an foil value of property conveyed, ar
 ~]    computed on full value less value of liens ar encumbrances remaining at timo
                                                                                    4# sale.
 Q     unincorporated area     [ X ~ City of Los Angeles ANO

 FAR A VAl.UA81.E CONSfDEF2ATION, receipt of which is hereby
                                                                          acknowledged,
 Mark R. Wahfberg, Trustee of Mark Wahlberg Trust dated 11.11.2002
 hereby GRAMI'(5)to
 US No.3 LLC, a Califnrrifa LLC

the fnliowing described jai property in the Gounty of ~.os Angeles, Stafie of Californi
                                                                                               a:
   ~ca~ ~achik~t "A" attached 1~ereto and r~~ade a part hereoffar compl~ate Ic~gal description.

  AKA: 71 8mv~rly F~ark. Baverly Nilis, CA 9040
  i~~tHd: Janus~ry 1~, X023
                                                                    Mark     ah berg 7ruxt dat~+d 11.11.2002
                                                                      fl
                                                                      Ito
                                                                    ~3y: 1M rk ~i, We~hl            rusk~aa
                                                                                                     bra ~-i~ .~•              ~        ~.
  A notary pubilc or other officer completing thls aertifica#e verifies
                                                                        only the Identi~of th Individual who signed the
  document to which this certificate is attached, and not the
                                                                truthfulness, accuracy vati ity of that document.

STATE OF CAt,tFORiV!
courtN 5
       of t...i~ 7`t-n ~                           _,)ss.
On~ ~YLI A.t-t ~5 ~ ,~ bofore me                     _ ~.,.Q ~. L-G }--~ i y~
M11'k R. Wahlbe                                                                               Nat~ry Public, personally appc~ar~ed _
                         who proved to me on the basis of satisfactory evidence to be the
to the within instrument and acknowledged t~ me that hetshetthey                            person{s) whose names)istare subscribed
                                                                    executod the same fnhis/heNtheir authorized rapeaty{ies} and that
by hislher/their signatures) an the instrument the person(s), or
                                                                 the entity upon behalf of which the person(s), acted, executed the
instrument.
 csrttfy undar PENALTY qF PER,)URY under the laws of the
                                                             State of C~IiforNa that the foregoiny paragraph is true and correct.
WITtV~SS my ha       n offs !al seal.

Siq Hatore                ~~
                  ignatu~e of Notary                                                         .,.           ANNE E. LA~KIN
Gamn~ission Exptratlon Date: ~~f~p                                                                      COMM. it2305790 ~
                                              ~v ~~                                   z -              Notary Fub!(c ~ Cafi(amia o
                                                                                                          Los Angeles County
                                                                                                     M CUmrn, E 'res Oct, 16, 2023
MAIL l"AX STATEM~t~1TS: To the parties as shown
                                                    above
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 55 of 91 Page ID #:369




                              TRUE CQPY CERTIFICATION
                                         (Government fade 27361.1



                                        ~"~ ~~'~~~~`'~                          ,California
                                       P1oce of Execution (tity and State)



       1 certify under penalty of perjury that this material is a firue copy of the original
       maierial contained in this dowment.
         A notary pubtic or other officer completing this certificate verifies only the identity ~f
         the individual who signed the document tc~ whic;h this certificate is attaclieci, and not the
         tzuthf'ulness, accuracy or validity of that doeuznent.

       State of
       Gnunty of

       On                   before me, __        _____ _,                        ,Notary Public
       personally appeared                    --             _.__ ____._~_~~_  _
       who proved to me on the basis of satisfactory evidence to be the person{s) whose
       names)is/are subscribed to the within instrument and acknowledged to me that
       he/sh~lfhey executed the same in his/her/their authorized capacity(ies), and that by
       hislher/their signatures} on the instrument the persons}, nr the sn#ity upon behalf of
       which the persan(s) acted, executed the instrument.

         certify under PENALTY qF PERJURY under the laws of the State of California that the
       foregoing p~ragr~ph is kr~re and corrsrt.

       WITNESS my hand and official seal.


       Signature                                              (seal}

                                                        eRecording Partners Network
                                                               c-

               ~_. S ~ ~~~
                                                        ~y:
       aare                                             Signatur       t Decl    nt


                                                        Type or Priat Nnme
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 56 of 91 Page ID #:370


  PRELIMINARY REPdR7                                                    Fide~fty M1lptionai Title Company
  YOUR REFERENCE: 71 Beverly Paris                                ORDER NO.: 0038f3341-994-VNO-IAW


                                         li   •
                                           .t •   i


                                     LEGAL DESCRIPTION

 THE LAND REF~RR~D TO HEREIN BELOW IS SITUATED IN THE CITY OF SOS ANG~~ES, IN TNT COUNTY
 OF LOS ANGELS,STATE C)F CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

 7tT~i~

 LC)T 54 O~ TRACT NO. 38057, IN THE C17Y OF I.US ANGELES, C~UN`~Y OF Lt~S ANGELES, STATE OF
 CALIFORNIA, AS PER MAP RECORDED tN BQOK 1717 PAGES 11 TO 26 INGLUSIV~ OF MAPS, IN THE
 OFFICE OF THE COUNTY REGCIRDER OF 5AID COtJN1Y.

 EXCEPT 7NEREFRt)M THE QIL, GAS, MENERA~S, AND OTHER HYDROCARBON SUBSTANCES LYING
 BELOW TF~lE SURFACE OF SAID I.ANU,

 PARCEL 2:

 A NON-EXCL.USIV~ ~AS~MENT APF'UR7'ENANT "TO SAID LC)1' 54 A80VE, FflR 1NGRFSS ANC3 ~GRES~,
 OVEN AND ACROSS f~0i~1"IUNS OF SAID LANp Q~~'IN~D AND DELINEATED A5 "Pf:IVA~'~ s7R~E1'S"
 TI-1~ MAP ()F SAIf~ TRf1CT NO. 38057.                                                    ON




 A~'N: 43~~-413-020
       Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 57 of 91 Page ID #:371
 3!12/23,6:19 PM                                                         Mystery Buyer Bought Mark Wahiberg's                ,Aillion House —DIRT




                      i ~~           •




        HOME / MOGULS J POWER PLAYER5

        Mark Wahlberg's $55 Million Mansion Sald to Buyer of Heather Dubrow's Newport Chate~
        tsy lames McClain       t'eHruary z3,zoo;G:SG pm PT

         ~          o ly




       ftnthony 8arceln; You7l~be; Aaron Davidson/Gerry Images: /1Y LacroixlSmingertWi~eimage


       a 5riler               Mark Wahiberg
       Q Location             Beverly Park, Los Angeles, Calif.
       ~ Price                SSS million

      ` Year
      ~                       2014

                                                                                                        VIEW M()ItF



       it wasn't quite the blockbuster sale he originallywanted, but Mark Wahlberg leas nonetheless naan:iF;a~tl
                                                                                                                                              to ui~los«f his palatial I.c>s Ange
     'The unapoingetically opulent mansion,located within the infamous Beverly Yark
                                                                                                                      enclave, wentfor $5~ million in a cash deal.

     'The unnamed foreign buyers were widely rumored to hail from Asia, and property records
                                                                                                                                now indicate they have ties to Flong Kong a~
      China. But beyond that, records also confirm these are the very same shadowy individuals
                                                                                                                               —their names remain a mystery, for now —
      fo~u~ nioi~ths afio dropped another $g~ million for th~~ iit:,nie man;;ic~~i of reality'I'V
                                                                                                                       stars 7`erry and Heather Dubrow,down on Califoru
https:f/www.dirt.comlgailery/moguls!power-players/mark-wahlberg-house-sol
                                                                                                d-heveriy-park-1203620385!                                                  1123
       Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 58 of 91 Page ID #:372
 3/12/23, 6:19 PM                                           Mystery Buyer Bought Mark Wahlberg's;        Ailiion House —DIRT



                                                                                                            ,,,;er. Custom-built for the actor,crcaied by mega
         ~ird~itect Izirliarci 1 a~ufry~ avd decorated l>y u<>ted designer :1i~ijettc~ t?i7gtisl~, the crrnate French-style behemoth crashes the proverbial
         more than 30,000 square feet of living space.'There are i2 bedrooms and an incredible 2v bathrooms scattered around thc~ 6-acre com
         which includes a massive main house and several additionll structures.

         Wahlberg acquired the property way back in 2009 as vacant land, paying only abut $8 million,and the higlily individualistic estate w
        completed circa 2cu4. First listed nearly a year ago at $8~.5 million, the estate's asking price rii~~ped t n ;67y ix~illiun before the buyers c:
        with their lawball offer. While $55 million is still impressive, it's nowhere near Beverly Park's price record — `~°c~ anillrou, set last year
        Kong tycoon Hao Tang. Just a few weeks before that, Adele p~tici $~H ixrillirm for Sylvester Stallone's Beverly Park digs.

        fIome highlights are almost too numerous to recount, but they include atwo-story library, a living room with two fireplaces, a gour«~e
        with two islands, amirror-walled gyro, wine cellar with tasting room, movie theater and upstairs master retreat with decadently besp~
        closets and marble bad~rooms.


        Outside, the esfiate Features a huge matorcourt with parking for dozens of cars, manicured gardens, a tennis court with viewing pavilion
        custom skate park, a detached guesthouse and grotto-style pool with waterfalls and Baja sunbathing shelves.

        Wahlberg and wife Tthea Durham are moving to I.as Vegas, where last year they spent ~n~,~~e ttiat~ w;;~~ i~7illi~~.~ to buy a luxury
                                                                                                                                                   mansion
        parcels of vacant land.

        As far the mystery buyers, who have now spent $iio mitlion in four months on two ultra-lwce SoCal homes,
                                                                                                                we'd guess they will use th
        York mansion as their main residence, and the Newport Coast villa as a very swank vacation home,though that remains
                                                                                                                            to be confirine




      'hour:AnH~nny Barcat~i
      !




hops://www.dirt.comlgallerylmogulsfpower-piayerslmark-wahiberg-house-:                park-12036203851                                                  2/23
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 59 of 91 Page ID #:373




                                i
                                ♦   ~   ~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 60 of 91 Page ID #:374




       PHtPPS

      June 1,2022

      Avenue 5 Kesidential                              ViA EMA1G{URGENT)
      CEO Mr. Walt Smith
      Avenue S California inc.(02034255)
      7545(wine Center Drive; Suite 200
      Irvine, CA 92618; attn: Corporate Officer Gerard Stephen t3onohue Jr.(License No. 012b5072)

      lYts'CIC~ QF E7F,OUEST Tn TFRMtNAT10N OF CEASE FIrOM lt~[AY 241 TO PRESENT

      Dear Mr. Smith:

      My name is Nicholas Phipps White, Chairman and CEO of The Hollywood Land Development Company. 1 am
      53 years old and a California resident. Please have this serve as NU'TiCE that in regards to the G 12 Apartments
      that you manage at 1200 South Grand Avenue, Los Angeles, GA 9Q(}15, apartment #SSQ that was rented to an
      alleged "Nicholas White", who in reality is the step-san of disbarred, disgraced former attorney Thamas V.
      Girarcii of defunct Girardi and Keese. As of Monday, April 4,2022 the unauthorised individual continues to
      reside in the unit #550 at G20 apartments and continues to cgmmit identity theft(please see "Exhibit A"}
      respectively.

      I understand your lease records would have the same signature from the court records which are those ofTom
      Girardi. Disgraced attamey Tom Girardi, an immigrant from Italy with falsified and expired immigration
      papers, has fraudulently posed as my father, and even went so far as to forge birth certificates and illegally
      obtain an Italian passport in an illicit effort to open a Bank of America/Merrill Lynch global account. In Fact,
      Tom Girardi, in addition to his wife Erika Girardi and other associates and accomplices are currently under
      Federal investigation.

      Please be clear, that t have never authorized the rental ofthis apartment unit #SSO. h appears there is a male,
      age 27, by the real name of Thomas Ziuo, who has been living in apartment unit #SSQ. '['he monthly rent for
      apartment unit #S50 has been illicitly paid from my Bank of America 1 Merrill Lynch account: 649-13284.
      Documents showing this address in other related falsified couR records from May 09, 2419, have been reported
      to local, state and Federal taw enforcement offices in California. The Honorable U.S. Attorney General
      Garland ofthe U.S. Department ofJustice hxs been notified on March 22, 2022, and again on April 19, 2022. I
      reported to DrJJ that et was discovered that a prpperty in Los Angeles,CA wus rented without my knowledge.

      We understand that the records show at the California Department of Real Estate that a license for Avenue 5
      has been surrendered. This matter will be reported to the appropriate agencies respectively far
      current/retroactive action and immediate of investigation of serious fraud and grave misconduct.
      I can be reached directly at(415} 539-6760 or at email: n~wtct~thehollywoc~dlanddev~lopmentcc~nYp~n .corn to
      confirm this matter has been closed immediately.
                                                         Rcspectfu(ly submitted,




                                                      MCHQLAS PHIPPS WHTTE
                                                      324 South B~veriy Drive,Suite 489
                                                      Beverly Hills, CA 90212(al5)539-6764
                                                      ceo(~thehollywoadlanddevelop~ntcampany.cam
      ce: U.S. Attorney General ofthe United States, Merrick B. Garland; U.S Attorney Tracy Wilkison Central CA;
      California Attorney General Rob Banta; Los Angeles County Sheriff Alex Villanueva
   Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 61 of 91 Page ID #:375
 Resident ledger


       ~V~ N ~..~ ~ ~~~ '.

Date:06/01(2022

Code            t1556050                             Property          sc18016                     Lease From            08/02/2021
Name            Nicholas White                       Unit              550                         Lease To              08/01/2022
Address         1200 S Grand Avenue                  Status            Current                     Move In               04/1$/2018
                550                                  Rent              2095.00                     Move Out
City            Las Angeles, CA 90015                Phone (Hf         (818) 355-4317              Phone(W)

    date    Chg Code                                    Desuipiion                                  Charge Payment       Balance ChgJRec
 04/18/2018     sdep Security Deposit on Hand at Conversion                                          500.00                 500.00 8279621
 04/18/2018      petd Pet Deposit on Hand at Conversion                                                50.00                SS0.00 8279627
 04/18/2018
                                                                                                                500.00        50.00 31     7
 04/18/2018
                                                                                                                 50.Q0         0.00 3      74
 11/01/2019      rent Rent{11/2019)                                                                2,434.00               2,034.00 8289431
 11/01/2019      prkg Parking (11/2019)                                                              175.00               2,209.00 8289741
 11/diJ2019       utsf Other Reimbursed Costs -11/01/19-17./3Q/19                                        7.60             2,216.60 ~ 298464
 11J01/2019       rele Reimbursed Electric - 08/28/19-09/27/19                                         52.47              2,269.07 8298465
 11j01/2019      rgas Reimbursed Gas - 09/01/19-10/O1J19                                                 8.18             2,277.25 $~4~fi
 11/01/2019      rpes Reimbursed Pest Control - 09101/19-10/OSJ19                                        3.00             2,280.25 8298467
 11/O1J2019     rsew Reimbursed Sewer -09/01/19-10/01/19                                               12.58              2,292.83   29 4 ~
 11/01/2019       rtra Reimbursed Trash - 09(01J19-10/01/19                                              5.86             2,298.69 8298469
 11/01/2019     rvvat Reimbursed Water - 09/01/19-10/01/19                                             15.70              2,314.39 8298470
 11/06/2019             chk# :ACH-WEB Online Payment - EfT Payment. Mobile Web -Resident Services             2,314.39         0.00 .3145385
 12/01/2019      utsf Other Reimbursed Costs - 12J41/19-12/31/19                                         7.60                  7.60 $~0~265
 12/01/2019      rele Reimbursed Electric - 09/27/19-10/29/19                                          72.51                 80.11 809266
 12/01/2019     rgas Reimbursed Gas-1OJ01/19-11/O1J19                                                    7.78                87.89 $509267
 12/O1J2019     rpes Reimbursed Pest Control-Sd/01/19-11/01/19                                          3.00                 90.89 8509268
 12/01/2019    rsew Reimbursed Sewer - 10/01/19-11/01/19                                               15.74                106.63 8509269
 12/01/2019       rtra Reimbursed Trash - 10/01/19-11/01/19                                             7.72                114.35 8509270
 12/01/2019     Twat Reimbursed Water -1OJ01/19-11/O1J19                                               21.41                135.76 8509271
 12)01/2019     insu 11/10/19 - 12/10/19 ; PVI INSURANCE                                              10.75                 146.51 85 5 OS
 12/01/2019     insu 11/12/19 -12)12/19 ; PVI INSURANCE                                               10.75                 157.26 8535907
12/U1J2019      rent Rent(12/2019}                                                                 2,034.00              2,191.25 8647062
12/01/2019      prkg Parking (12/2019)
                                                                                                     175.00              2,366.26 8647361
12)10/2019             chktt :ACH•WEB Online Payment -EFT Payment. Mobile Web -Resident Services
                                                                                                              2,366.26         0.00 32725..~~
01/01(2020       utsf Other Reimbursed Costs - 01/01/20-01/31/20
                                                                                                        7.60                   7.60 5748906
01/01)2020       rele Reimbursed Electric - 10/29/19-12/Q2/19
                                                                                                      g4.96                  52.56 8748908
01/41/2020      rgas Reimbursed Gas-11/01)19-12/01/19
                                                                                                        9.33                 61.89 87as~io
01/01/2020      riles Reimbursed Pest Control - 11/01/19-12/01/19
                                                                                                        3.00                 64.89 8748912
Ol/01j2020     rsew Reimbursed Sewer - 11/01/19-12/01(14
                                                                                                      16.21                  81.10   74 914
01/01/2020       rtra Reimbursed Trash - 11/Q1/19-12)01/19
                                                                                                        7.03                 88.13 874891
01/01(2020     twat Reimbursed Water - it/01/14~12/Olf19
                                                                                                      21.76                109.89 .8748918
01/01/2020      insu 12/12/19-01/12/20; PVI IfdSURANCE                                                10.75                120.64 8916351
01/01/2020      rent Rent(01/20201                                                                2,034.00               2,154.64 9027349
01/01/2020     prkg Parking (01/2020)
                                                                                                    175.00               2,329.64 9027544
01/03)2020             chkfi :ACH-WEB Online Payment -EFT Payment. Mobile Web -Resident Services
                                                                                                              2,329.64        0.00    7 93
02/01/202Q       utsf Other Reimbursed Costs - 02)01/20-Q2/29/20
                                                                                                        7.60                   7.60  14 52
02/01/2020      rele Reimbursed Electric - 12/02/19-01/02/20
                                                                                                      5635                   63.95 9142525
02/01/2020     rgas Reimbursed Gas - 12/01/19-Q1J01/2Q
                                                                                                      11.45                  75.40 91A2528
02)01/2020     riles Reimbursed Pest Control -12/01/19-01/01)20
                                                                                                        3.00                 78.40 9142531
02/01/2020     rsew Reimbursed Sewer - 12/01/19.01/01/20
                                                                                                      17.19                  95.59 914253a
02/01/2020       rtra Reimbursed Trash - 12)01/19-03/01/z0
                                                                                                       6.43                102.02 9142531
02/01/2020     twat Reimbursed Water -12/01/19-01/01/20
                                                                                                      23.09                125.11 9142
02/01/2020      rent Rent(02/2020)
                                                                                                  2,034.00               2,159.11 9416336
          Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 62 of 91 Page ID #:376
Electronicaity FILED by Superior Court of Cahtornia,   y o~ Los Angeles on 0 /14/2022 OL46 PM Sherri R. Carter, Exec     OtficerlCierk of Courf, by N. Chavez,~eputy Cieik
                                                                                   22NWLC13380
                                                                                                                                                                     CM-010
           ATTORNEY OR PARTY WITHOUT ATTQRNEY(Name, Stafo Bt~rnumbec tend pdd~ss):                                                      FOR COtiRT USE OMlY
           Rnbert Scott Kennard, SBN 117017
           Jeremy Wachtman, :I3N ?5)99? .
           NtLSON 6 I<ENNARD                         File No. 22-08396-0
           501.1 Dttdl.ey el.vd, E31dg 250, E~ay G,
           h;cCiellan, CA 9S6"a2
           t~.C~. Boy; .138t~7, Sacrr~mc~rito, CA 95F3ti:~
             TELEf'NONE NQ.: {916 i 92U-2?.95            f'AX N0.{Optronaq : (916) 320-065:'
           ATTORNEY FOR{Name): BANK (7F 11MF,RICA, N.Fi.
          SUPERIOR COURT OF CALIFORNIA. COUNTY OF L05 ANGELES
           STF2FElliUD12ESS:     12720 NORWALK BLVD.
           MAa.INGat)nRESS       12720 NQRWALK IILVD.
           Ct7Y AND ZIP CORE.     NORWT~LK, CA 90650
          [~R~+NCtiNaME:     SOUT[3F.,AST DIS'CRIC't-NURWALK COUR'I'}i~~USi•:-LIMITEll CIVIL
            CAS[NAME: E37~NK QF' AMERICA, N.A., v. NICHC3LFIS ~c RITT WNI.`T'C:, Et


                 CIVIL CASE COVER SNEET                                                                                CASE NUMBER
           [ ]Unlimited       [ X ]Limited                                 Complex Case Desi nation                      -~ •~r,,~~~~~;~•L~~ ~ ~ ~ ~~_~
            (Amount                  (Amount                              ~ ] ~ountet'   [ Joinder                     JUDGE:
             demanded                 demanded is
             exceeds S25,b00}        $25,000 or less)                f=iled with first appearance by defendant
                                                                          ,~_, .,..~__ _~ „_.. ~ __~_ ., .,..., DEPT:
                                                   ~~en~s ~-v ~erow must oe comp~e~ea see ms[rucrions on page t~.
          1 Check one box below for the case Type that best describes this case:
          Auta Tort                                                 Cpntract                                       Provisionally Complex Civil Litigation
         ( )Auto (22)                                              ( J F3reach of contracUwarranty (06)           (Cal. Rulos of Court, rules 3.400 - 3.403)
         ( ]Uninsured motorist (46)                                (X ~ Rule 3.740 collections (09)               [ )Antitrust/Trade regulation (03)
         Other PUPDiWD (Personal InJurylProperty                   ( J Other collections (09)                     [ ]Construction defect (10)
         DamagolWronyfui Death) Tort                               ( j Insurance coverage (1$)                    ( J Mass tart (40)
         [ ]Asbestos (04)                                          [ ]Other contract (37)                         ( J Securities litigation (28)
         [ j Product liability (24)                                 Real Proporty                                  ~ j Errvironmentai/Toxic tort(30)
           j Medical malpractice (45)                              ( ~ Eminent domain/inverse                     [ j Insurance coverage claims arisin3 from the
         ( j Olher PUPDNVD (23)                                        condemnation {14)                          above
         Non-PI/PDNUO (other) Tort                                 ( j Wrongful eviction (33)                          listed provisionally complex case types (41)
           ]Business tort/unfair business practice (07)            O Olher real property (26}                     Enforcement of Judgment
        ( ]Civil rights (08)                                        Unlawlui Qetainer                             [ J Enforcement of judgment(2Q)
        [ ]Defamation (13)                                         ( J Commercial (31)                             Miscoilaneous Civil Complaint
        ( )Fraud (16)                                              ( J Residential (32)                           [ J RICO (27)
           ~ Intellectual property (19)                            [ J Druys {38)                                 [ j Other complaint (not specified above){42)
        ( j Professional negligence (25)                           Judicial Review                                 Misceilanoous Civil Potition
        ( )Other non-PIlPDNVD tort (35)                            ~ J Asset forfeiture (05)                      ( ]Partnership and corporate governance {21)
         Employment                                                ( ~ Petition re: arbitration award (11)        [ ]Other petition (not specit+ed above)(43)
        [ ) Wror7giul termination (36)                             ( J Writ of mandate (02)
             Other em to ment 15                                       Other udiciai review 39
        2. itns case f 1 is (X 1 is nat complex under rule 3.400 of the California Rides of Court. If
                                                                                                                 the case is camnlex. mark the
        factgrs requiring exceptional judicial management
            a. ( J Large number of separately represented parties                     d.( j Large number of witnesses
            h. [ ~ Extensive motion practice raising difficult or novel               e.[ )Coordination with related actions pending in one or more courts
                     issues that will be time-consuming to resolve                           in other counties, states or countries. or in a federal coup
            c. ( J Substantial amount of documentary evidence                         f. [ )Substantial post disposition judicial supervision
        3. Remedies sought (check all that apply): a.(X)monetary b.[ j nonmonetary; declaratory or injunctive
                                                                                                                             relief c.[ j punitive
        4. Number of causes of action (specify): pr~E
        5. This case ( ] is [ X J is not a class action suit.
        6. If there are any known related cases, file and serve a notice of related case.(You may use /orm CM-015.)
        Date: ~7t~nc: 3, 2021

                                   Jeremy Wachtma~i                                  ,               ~,rt,~-~.~.       ~ "L~'~`'fi""'~
                                    (TYPE OR PRINT NAME}

                                                                                    NOTICE
         • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims
                                                                                                                            cases or cases filed under the
          Probate Code, Family Code. or Welfare and institutions Code).(Cal. Rules of Court, rule 3.220.) Failure
                                                                                                                           to file may result in sanctions.
         • File this cover sheet in addition to any cover sheet required by local court rule.
           if this case is complex under rule 3.400 et seq. of the California 12ules of Court, you must serve a copy of this cover
                                                                                                                                       sheet on ail
          other parties to the action or proceeding.
         • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical
                                                                                                                                   purposes only.
                                                                                                                                                       Pago 1 ~~t 2

        Form Adopted for Mandatory Use                                                                                 Cal. Rulos of Court, rules 2.30, a.2zo, a.aoo- s.aoa, ciao-~
        Judicial Council of California                         CIVIL EASE COVER SHEET
        CM-D 10(Rev. Seplembnr t, 2Q21J                                                                                       CaL Standards of Judklal Adminiatratfon, std 3J0
                                                                                                                                                             www.courtlnfo.ca.,gov
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 63 of 91 Page ID #:377


 BANK OF AMERICA~'~i~                                                                           Customer Service Information:
                                                                                                wvlw.bankofamerica.cam
                                                                                                I.R4C.421.2710
 P.Q. BCU(15284                                                                                 Mail biding inquiries to:
 wiu~n~aa.D~ roeso                                                                              Bank a! America
                                                                                                P.O. Box 982234
                                                                                                Ei Paso TX 79998-223A
                                                                                                Mail payment to:
                                                                                                Bank of America
                                                                                                P.O. Bax 15019
                                                                                                Wiimir~ton DE 1988G-5019

    NICHOLAS BRITT WHITE
    1206 S GRAND AVE APT 550
    LOS ANGLES CA 90015-3953


                                                                                                            Febn~ary 12 - March i 1.2021
                                                                                                          Accoun
                                                                                                              -  ts                1027




Account Summary                                      P'~yme~nt Information
Previous Balance                        $2,554.67    New Balance Total                                                         $2,592.15
Payments and Other Credits                  $0.00    Current Payment Due                                                          $63.00
Purchases and Adjustments                   $0.00    Past Due Amount                                                             $633.0
Fees Charged                               $0.00
Interest Charged                          $37.48     Total Min(mum Payment pue                                                     $69G.~
                                                     Payment Due date                                              OA~o8;2o2t
New Balance Total                       $2.592.15    Late Payment Warning: if we do not receive your Total Minimum
                                                     Payment by the date listed above, you may have to pay a late fee of up to
Tots) Credit line                       $2,OW.00     $39.OQ and your APRs may be Increased up to the Penalty APR of 29.9996.
Total Credit Available                     $0.00     Total Minimum Payment blaming: if you make only the Total Minimum
Cash Credit Line                         $2Go.o0     Payment each period, you will pay more in interest and it will take you
Por[~on of Credit Available                          Ion er to a off our balance. For exam le:
for Cash                                      $o.~
Statement Closing Date                                If you make no additional You will payoff the                 And you will end up
                                       t731~ U2021
Days in Billing Cycle                                  charges using this card balance shown on this                paying an estimated
                                                28
                                                       and each month you pay statement in about                          total of
                                                         Only the Tatal                     1 1 years                   $4,6£3Q.00
                                                        Min(mum Payment
                                                     If you would like information about credit counseling services, call
                                                     866.300.5238.




                                                                                      027

            BANK OF AMERICA                             Account Number:-1027
            P.O. BOX 15019
            WILMINGTON DE 19886-5019
                                                        New Balance Total                                               $2.592.1
                                                        Total Minimum Payrne~t Due                                       $696.OG
                                                          Payment Due Date                                           04/08/2021

         NICHOLAS BRITT WHITE                          Enter payment amount       $
         1200 5 GRAND AVE APT 550
         LOS ANGELES CA 90015-3953
                                                           for change ataddress/phony rwmbar, sae rever3~e si~'e.
                                                           Make yarr payment a~/rne at www bankofar»ence.aom or
                                                           Mail this coupon along wkh yow ahxk payable to: Bnnk of America



                                                                                      LD 2 ~II~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 64 of 91 Page ID #:378

       NI)NBRT GYITT KYNNANb       ~•icrroed In Lt, 1C~, antl UC
                                                                                                                                 ~~~,i ~oe~~,~~ke~r~r:
       ~n,~ir. foRncs
       eouvaopuox
                                          .a sn v. .~.~ oe
                                   ..,~:.n,
                                   r.sa~mae in u                   NELSON & KENNARD                               sou r>,r~i~y t~i~.~, ~,i~. zTr7, Hey
       M1IAN~M1~ RWIG              Licert~td in tU                                                                                 Mrf:l.el Lane i:A ~`~S
       atiti~w o~.mra              cien~u.n try xi                        Attorneys ai l.,aw                                        C~,OI.ORAUt> V FFIC'F;
      (IIR6TOYIIY.N F. M1f11MM     ktceM~d in iN ~~sl cA                                                                  12'i9G H lia y~+~xl R
      f .1./litiA lAR('il
       PP..~'6P Fl=plftA-01RNt~M
                                   Gl csroe4 in (A
                                   ~icem~d in HI
                                                                             P.O. 13Ux 13807                                        f,a kewttxi. CX~ 90)IH
       M I('tIC41,R P, IIANNA       Llrs~y~d to cU                        Sacramento, CA 9.5853                                     n F:w ti~ ~xicn orh~~cf:
                                                                                                                        SOD Ka tq+x CCe Ave AW Ste. IZt
       DEMIAMLY Mi.t71AS
      .IANci1CR R,IU
                                    Liceroed in [l1
                                   41 rs~n<Q in A                              <<~ i ~~ yzo-zzvs                                   nen,~.,t~r~~,~~. Nn, s~~~z
       f 71RRlf)VI/i.0. N. PANNA
       ATiNP.R TRRRY
                                   Lic~rn~~~l to Cl1
                                   ~4a~~mad fn au
                                                                        '1'011 I~ree: (866)920-2295                                        IIA WAii OFFICE
         L'RY,MY WA[YITMAN         I.i rerowq 9r, ch
                                                                                                                                              P.h. Bnx 4164
                                                                         Facsimile: (916)920-0682                           Nano to Alf. ~4ivaiS. 95fs 12 ~-4 tU9
                                                                         w~ti~v.nelson -kcrina~rd.com                                        Nc~~~«a orr~~r~
                                                                                                                 -0 6~~.1 Kseta Y,e l.anE. 31lrlrl. I.N!(i A-2(:*;
       Washington OSA I.in,~nsc (~O2 Sy(~ 113                            info{a?nclson-kcmutrd.com                                            It••nc. Nd A?'~i YZ
       Culilon~ia Ul~PI Li~~nsc Pc~idin~                            OtTice }lours: Mon - F n Ram - Gpm {PST)
                                                                   "1'T'Y Dial 71 I - C'onncxl to(916)920-2295


                                                                           J une 6, 2022

     NICNOI./\S BRITT WHITE
     1200 S GRAND AVE APT 550
     LOS ANGELES,CA 90015-3953




                N~Isc~n &Kennard File No.:                         22-08346-0
                Creditor:                                          Bank of America, N.A.
                Account No.                                        XXXXXXXXXXXX 1027
                Current Balance:                                   $2,592.15


     Dear NICHOLAS BRITi' WHITE:

     This office represents Bank of America, N.A. with respeck to the above-referenced matter. Our client has
     authorized our firm to file suit to effect collection of the balance clammed to be due. Notwithstanding, our
     client would appreciate the opportunity to explore an amicable resolution of the matter without litigation. li
     you would like to resolve this matter on a voluntary basis, please contact our office at your earliest
     c~ nvenience.

     If legal action is commenced,judgment may be entered agair~st you for the balance owed, together with
     court costs where allowed by law.

     If you have any questions or wish to discuss this matter, pieasecontact an account representative at
    (866) 920-2295 ext. 604.

     This firm is a debt collector attempting to collect a debt. Any information obtained will be used for that
     p urpose. All calls are recorded and may be monitored for q uality assurance.


     Very truly ypurs,
     NELSON & KENNAi~[7


    ~^
    Robert Scott Kennard
    Attorney at Law




       This account is issued and administered by Bank of America, N.A., successor in interest to FIA Card
                                                Services, N.A.
    PlS ARM [Rev.12108/16j
          Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 65 of 91 Page ID #:379
clectrorncany PILEU by Superior Court of Caurorma, l   of dos Angeles on 06f1412UL'L U1:4o r ~.. Sherri K. Carter, Execs    ~tticertGlork of Court, by H. Chavez.Uepuly Clark

                                                                                    22NWLC13261
                                                                                                                                                                           CM-010
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, aitd address)'                                                        FOR COURT USE ONLY
           I:r~k~er,t Sco1;t K~:~inard, St3iJ 11701 t
           ,~eremy t9achtman, SBN 259992
           NELSON & KGNtJARD                       P.i.le Na. 22-48347-0
           `~O.I.i [)udley Sl.vd, Bldg 7.50, t3ay G,
           McClellan, CA 95E~52
           F'.O. ~iox .13II07, SacramenCo, CA 95853
             TELEPIiONENq.t (916} 920- 295            FN(NO.(Opfionai): (916) 92O-06$2
           ATTORNEVFOR(N2me)~. SANK OE' tAMERICA~              N.11.
           SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
           STREETnDDRESS:         11.72C) NORWX~l.,k{ HI..VD.
           Mnit.iNGaooRESS:       1:•'.7ZCl NORWALK B1.Vi).
           c;i tv r~No 21N COpE;   Nt?EZWT~LK, CA 90650
           E?RftNCti NAMI~~.   SOUTtIEAST DIS'I'RIC;T-NOTtWALK COURT}IC}USE-LIMITED CIVIL
           CAS~NAMEP,~I?~Ii+           )I~ A[u7ERICA, N.1~., v. N7CHC)Li~S f3RIT`I' ~~HITF., Et
           sl .
                 CIVIL CASE COVER SHEET                                                                                    CAST NUMBER:
           [ ]Unlimited      [ X ]Limited                                   Complex Cage Desi nation                          ~ ~~"~f1~1'L~ '~ ~ ~ ~j'~
            (Amount                 (Amount                                C ]Counter     [   Joinder                      jUCJGG:
            demanded                 demanded is
            exceeds S25.000)        $25,00 or less)                    Filed with first appearance by defendant
                                                                            Cal. Rules of Court rule 3.402      ~~PT
                                                    ~teut~ !-O UCIUW fl7UJ7 UC GUf71`.17ClfiU ~JCC IlWUUGi~U!!J VJf ~JdC,JC L~.
           1 . Check one box below for the case type                   ~t describes this case:
           Auto Tort                                                   Contract                                       Provisionally Complex Civif Litigation
          [ 1 Auto (22)                                               ( ]Breach of confracUwarranty (06)             (Cal. Rulos of Court, ruins 3.400 - 3.403)
          ( ]Uninsured motorist {d6)                                  [ X ]Rule 3.740 colkections (09)               ( ]AntitrustlTrade regulation (O:i)
           Other PIIPDiWO (Porsonal InJurylPropeKy                     ~ )Other collections {09)                     [ J Construction defect (10)
           Darnage/Wrongful Doath} Tort                                ~ )Insurance coverage (18)                    ( ]Mass tart (a0)
          ( J Asbestos (04)                                           [ J Other contract (37)                        ( ]Securities litigation (28}
          ( j Product liability (24)                                   Roai Property                                    j i~nvironrrientailToxic tort (30}
         ( j Medical malpractice (4b)                                 [ J Eminent domainlinverse                     ( j Insurance coverayP claims arising from the
          ( 1 o~r,er r~ur>urwr~ tzs}                                       condemnation (1q)                          above
           Non-PI/PDlWD (Othor) Tort                                  ( J Wrongful eviction (33)                          listed provisionally complex case types (a1)
             )Business tort unfair business practice (07)             ( j Other real property (26)                   Enforcement of Judgment
          [ j Civil rights (OII}                                       U nlawtui Detainer                            ( J Enforcement o(judyment(20)
          ~ J Defar~~ation (13)                                       ( j Commercial (31)                             Miscellaneous Civil Complaint
         [ J ~~raud (16)                                                 j Residential (32)                             J RICO {27}
         [ ]Int~Ilectuai property (19)                                   1 Drugs (38)                                [ j Other complaint (not specified above)(42)
             J Professional negligence (25)                           Judicial Review                                 Miscctllanoous Ctvil Potitfon
          ~ ]Other non-F'IiPD/WD tort (35)                            [ ]Asset forfeiture (05)                       [ )Partnership and corporate governance (21)
          Employment                                                  [ J Petition re: arbitration award (11)        [ J Olher petition (riot specified above)(43)
          ~ j Wrongful termination (36)                               ~ ]Writ of mandate (02)
          1 l C)~her er~loymenl (15)                                  f 1 Other iudiciai review (391
         2. 'i his case ( 1 is (X ~ is not complex i                                                    of          the case
         factors requiring exceptional judicial management
              a. ( j Large number of separately represented parties                      d.[ ~ large number of witnesses
               b. [ j Extensive motion practice raising difticul( or novel               e.( j Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                             in other counties, states or countries, or in a federal court
              c. ( ]Substantial amount of documentary evidence                           L [ j Substantial post-disposition judicial supervision
         3. Remedies sought {check all that apply): a(X J monetary h. ~ J nonmonetary; declaratory or injunctive
                                                                                                                                relief c.( J punitive
         4. Number of causes of action (specUy): oNr,
         5. This case [ j is [ X ] is not a class action suit.
         6. if there are any known related cases, file and serve a notice of related case.(You may use form CM-015)
         Date: ,~ur,e ,3, ;~o2z

                                   J~r~my WachCman                                        ►                                ~~u.~'~-----~
                                      (TYPE OR PRINT NAME)                                    ~                       NATUREOF
                                                                                                                             PLAIN7I~F OR


                                                                                    NOTICE
          • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small
                                                                                                                      claims cases or cases filed under the
            Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure
                                                                                                                            to fife may result in sanctions.
          • File this cover sheet in addition to any cover sheet required by local court rule.
          • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve
                                                                                                                  a copy of this cover sheet on all
            other parties to the action or proceeding.
          • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical
                                                                                                                                    purposes only.
                                                                                                                                                        Paae t of 2

         Form ndopted for Mandatory Use                                                                                    Cal. Rules of Court, rides 2.10, 3.220, 3.400 - 5.403, 3.7A0;
         Judicial Council of Caiitamia                          CIVIL CASE COVER SHEET
                                                                                                                                  Cal. Standards of Judidal Adminiatra~ion, std 3.70
         CM~010 Rev. Seplembet t. 2021]
                                                                                                                                                                www.coudinto.ca.gov
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 66 of 91 Page ID #:380


BANKOFAMERICA~~~/                                                                               Customer Service Information:
                                                                                                www.bankofamerica.com
                                                                                                1.8Q0.421.2110
P.0.BOX T 5284                                                                                  TTY: 1.800346.3178
WllM1NGTON,DE 14450                                                                             Mali bilitng inquiries to:
                                                                                                bank of nmericv
                                                                                                P.O. Box 982234
                                                                                                f.~ Paso TX 79998-2234
                                                                                                Mail payment to:
                                                                                                Bank of America
                                                                                                P.O. Box 7 5019
                                                                                                Wilriungton D@ 19886-5019
    NICHOLAS BRITT WHITE
    1200 5 GRAND AVE RPT 550
    LOS ANGELES CA 90015-3953


                                                                                                            September 6 -October 5. 2020
                                                                                                           Actounctr
                                                                                                                -                 6781




"      •                                            Payment 1nf~armatior~
Previous Balance                        $3,923.21   New Balance Total                                                          $3.989.00
Payments and Other Credits                  $0.00   Current Payment Due                                                         $105.
Purchases and Adjustments                   $0.00   Past Due Amount                                                             $895.00
Fees Charged                               $0.00
Interest Charged                          $65.79
                                                    Total Minimum Payment Due                                          $i.0f~0.00
                                                    Payment Due Date                                                 i tro2/2020
New Balance Total                       $3.989.00   Late Payment Warning: if we do not receive your Total Minimum
                                                    Payment by the date listed above, you may have to pay a late fee of up to
Total Credit Llne                       $3.too.00   $39.00 and your APRs may be increased up to the Penalty APR of 29.9996.
Total Credit Available                      $0.00   Tatai Minimum Payment Warning: If you make only the Total Minimum
Cash Credit Line                         $410.00    Payment each period, you will pay more In interest and it will take you
Portion of Credit Available                         loneer to ~av off vour balance. For exarnole:
for Cash                                    $o.00
Statement Closing Date                                If you make no addttionai You wiU payoff the       And you will enc+ up
                                       10105;2020
Days in Biliing Cycle                                  charges using this card balance shown on this paying an estimated
                                               30
                                                       and each month you pay statement.in about                total of
                                                        Only the Total                      15 years                     $B,1 51.00
                                                       Minimum Payment
                                                    If you would like information about credit counseling services, tali
                                                    866.300.5238.




                                                                                       781

            BANK 4F AMERICA                            Account Number:
                                                                  -    6781
            P.O. BOX 15019
            WILMINGTON DE 19886-5019
                                                       New Balance Total                                                 $3,989.00
                                                       Total Minimum Payment Due                                        $t,000.(l0
                                                         Payment Due Date                                            11j02/2020

        NICHOLAS BRITT WHITE                           Enter payment amount        g
        1204 S GRAND AVE APT 550
        LOS ANGELES CA 90015.3953
                                                          For chafe of address/phorre rturtt4er, s9e roven~ side.
                                                          Make your payment ontins at www.bankofamenca.tom w
                                                          Mnli this coupon along with your check payable to: Bank of Americq
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 67 of 91 Page ID #:381


       NOBY.RT StY)TT KFNNAND       Li ce~ned In G, N~. +nA Lti                                                                  c,~ i,l F'ONNI,► or r ice
       JAAi W, i(INBF4
       Ji//1P((:UNpOIr
                                    4i raMee! In eA and A0
                                    i,[ceeNeh ~n !A               NCLSON & KENNARD                             5011 7)~a~lley t11 ~t1. Attu. 2.`; •'~. Fla}• G
       ~IARV17 DANG                 Li cero~A in B:
      1iw)N o1.rv'RP                4~cem~d [n en                         Attorneys at I.,aw                                    COI.URADO(IFFICF:
      (tIRtS70PIt6R F. MItAtM       ~.i ca.nnd in rot aisl CA                                                         ilS:96 W 11~.Ne,
                                                                                                                                    yatY1 Rv      cvt. e, ~5C
       CIA1Nu 7.nNCo                Ia ceroed an cA                            P.t~. l3ox 138Q7                                  I.,Aket-xstJd. t`Xl 6C 7T,£!
       REkEk'. }'~ip~~f,y.@ANNVnt   u5cemaA In M
      ?ftt71 F1.1.F. Y. IIANYA      1.4<eroed In q>                       Sacramento, CA 95853                                NEW Mi:XICUOFFiCE
       8f`JA\7Pi M6TTIA5             l.I c'eM~d trt Q                                                               S;iU Ma cq~e hC~ Ave t3J Sfe. F.t7L
       JAKtilI F.R NAG              I.~cemed in Q                             (yiG}920-2295                                   R ltugarr~~~r, NM, ft 7171
      (YI k45Tt1VNER N. fMNNA
       Ati q4;N 1'FIXNY
                                    Licwmdd In G
                                    i.A cnroed fn CA
                                                                       'i'all I~ree: (8GG)920-2245                                      ~inw~,~~, t~r-tcF.
                                                                                                                                         k'. U. Rox 4
       dfAeMY WAQIT~1w~             ~.i<wmnd sn to                      Fzicsimilc: (916)920-Ob82                       florwtui~. N.~wa _l-
                                                                                                                                           .V   5~81(2~~-8 tOQ
                                                                                                                                            t ~9p
                                                                        +vww.ncison-kcnnflrd.com                                         ~•          _rr
                                                                                                              A 60Q Ri.et:.ke Lane, P.<fq. 7. [0~-.QS
       Watihington USA License 6(J2 596 113                             info{i~neison-kennard.com                                     R+.~rcy, hY N4`.~r02

       Califiirnia L)FI'i l.icenxe Pchiciin~                      Office Hours: Mon I ri Ram .._ Gpm (PS"C)
                                                                  7TY Dial 71 I - Crnm~~c t to(916)92Q-2295


                                                                          J une 6, 2022

     NICHOLAS BRITT WHITE
     1200 S GRAND AVE APT 550
     LOS ANGELES,CA 90015-3953




                Nelson &Kennard File No.:                         22-08347-0
                Creditor:                                         Bank of America, N.A.
                Account No.                                       XXXXXXXXXXXX6781
                Current Balance                                   $3,989.00


     Dear NICHOLAS BRIT( WHITE:

     This office represents [3ank of America, N.A. with respect to the above-referenced matter. Uur client has
     authorized our firm to file suit to effect collection of the balance clamed to be due. Notwithstanding, our
     client would appreciate the opportunity to explore an amicable resolution of the matterwithout litigation. h
     y ou would like to resolve this matter on a voluntary basis, please contact our office at your earliest
     c onvenience.

     If legal action is commenced, judgment may be entered against you for the balance owed, together with
     court costs where allowed by law.

    If you have any questions orwish to discuss this matter, pleasecontact an account representative at
    (E66) 920-2295 ext. 604.

    This firm is a debt collector attempting to coileck a debt. any information obtained will be used for that
    purpose. All calls are recorded and may be monitored for quality assurance.


    Very truly yours,
    NELSON & K~NNAF~D



    Robert Scott Kennard
    Attorney at Law




       This account is issued and administered by Bank of America, N.A., successor in interest to FIA Card
                                                Services, N.A.
    PL5 ARM [Rev 12/08l16J
       Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 68 of 91 Page ID #:382
                                                                               EJ•100
AI1QI~:fJY X32 ✓ARfV Wll iiOtIT AfIOWN'iY (Fi1me. Mdws ~   .rlMe DBr ruMfMl
Rocarding requested by and rsltrn tac
Amber Ter:y~ SBAI 80S"769
NELSLL~3 a~ KENVARD     vile Na. 22-0834"i-0
5011 Dudley Blvd, 31dg 250, Say G
McClellan, C:A                95652
re~No.: (916) 920-2295 FnxNo.ta~~i(916} 92Q-0682
ICI ATTORNEY        12~I .L10GMENT          ❑       ASSIGPEE OF
         FOR                  CREDITOR                     RECORD
SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
srREernnoRess: SUPERIOR CQURT QF CALIFORNIA
nnwuNcnooR~ss:12720 NORWALK BLVD.
cirvnr~pziPcooe:~10RWALK, CA 90650
~wwcHNru~: SOUTHEP.ST DISTRICT-NURWALK
COURTHOUSE-LIMITED CIZIIL
                                                                                                                     FORRECORDEFtSG6EUNLY
  PLAINTIFF:                 Hank o` Amcr.ira, N.A.
                                                                                                                 CASE NUMBER:

                                                                                                                 22NWLC13261
  DEFENDANT:                 M[CNO[.AS BRITT 6~iHIT~;, et al.
              ABSTRACT OF JUDGEMENT —CIVIL                                      O      Amended                                  Fc~ courrr useav r
                 AND SMALL CLAIMS
 t.The       ix~ judgment creditor        O assignee of record
 applies foran abstract ofjudgme~t and represents the following:
   a. Judgmentdebtars
                          Name and last known address
        r~rc►~o~.~as a~iT1• wr,r~re..
         120(7 S Grand Ave ApL `i50
         Los Angeles, Ca 1. i.Eornia 90615-3953
     b. Drivers license no. [last4 digits] and state:                         ~ Unknown
    c. Social security no (last 4 digits: "'='-9057         ❑Unknown
    d. Summons or notice of entryof sister-state judgment was personally served ormailed to d.
    Summons or notice of entry of sister-state judgmentwas personally served or mailed to(name
    and address):
         V1CHC3LAS BR T'1"t' WHI'I'k:            , 11.,OJ S trend Avg Rpt 550, Los Ar:gel.es, Ca1i`arr:ia                  s30~I~i-;953
 2. [   ~ Information on additional judgmentdebtors is                               4. ❑      Information on additional judgmentcreditois is
          shown on page2.                                                                      shown on page2.
 3. Judgmentcreditor(name and address}:                                              5.      ❑ Origin~i abst~actreco~ded in thiscounty:
 Bank of America, N.A.                                                                          a. Data:
                                                                                                b. InstrumentNo.:
 clo NELSON 6 KF:NNARll P.Q. Box 1380'7, Sacramento, CA
 9`i8~~3
 Date: December 16, 2022
           Amber Terry
                                  (TYPE()R PRINT NAA~)                                                            (SIGNATURE OF APPI.tCANT CR AT R~RNEY~
 6. Totalamountofjudgmentasenteredorl~slrenewed:                                               10.   ❑ An     ❑ execution lien   D attachment lien
    $ 4,303.27                                                                                         is endorsed on the judgmentas follows:
 7. All judgmentcreditors and debtorsare listed on this abstract.                                      a. Amount:$
 8. a. Judgmententered on (date): Augur ~ 3, 2022                                                      b. In favorof(name and address):
    b. Renewal entered on (date):

 9. ❑ Thisjudgmentisaninstallmentjudgment.                                                    11. A stayof enforcementhas
       ~;.r,~~~t~K,ri.fr~~,                                                                          a. ~ notbeen ordered by the court.
                                                                                                     b. ❑ been ordered by the courteff~ctive until
                                                                                                           (date):
                  ,
                  .              n
                                                                                              12•    a. ~ I certify that this is a true and correct abstract of
                                            3herrl R. Cater Executive Odker!Glsrk oI Gburt
    4~,                                                                                                   the judgmentente~ed in this action.
      f~~f,'           `~,...
                          r~
                                                 This Abstract issued on (date):                     b. ❑ Acertifiedcopyofthejudgmentisatkached.
                                                                      2023                   ~ Clerk, by                  C. Nash                          , Qeputy
   ~~~~ c,         ~ a c~~ro.~                                        ABSTRACT OF JUDGMENT —CIVIL                                            c«~ a c~v~~~~@
                                                                                                                                                        ►~o~eaua 3~ aae.aso.
   EJ-UQ7[Rev. JUy 1.2014
                                                                      AND SMALL CLAIMS                                                                           67d, 700.196
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 69 of 91 Page ID #:383




                                        i      ~
         Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 70 of 91 Page ID #:384
                                                                                   22VEGV01173
Eieclronic.ally FILF_D by S ~eriar CnurtAt~~fllHE~i~Vc~U~Ry~~r~~~s~lr~ell~~~N►er     r~M¢   aaiwJ~~ici~,t~~~t~Na~~itri~rt~k or ro~tri. ry n. salr:edo,Doputy Clerk

                       1   Arden D. Burstein, SBN 17S3t?9
                           VANLOCHEM &ASSOCIATES LLB'
                      2    6565 Sunset Blvd., Suite 412
                           Hollywood, CA 9002$
                      3    Fhone: (323) 993-050q
                           Fax: (3~3j 993-0501
                      4    Email: aburstein@vandc.net
                           Attorneys for Plaintiff, ALLY BANK LEASE TRUST,
                      5    an association

                      S
                                                        SUP~RI012 Ct~URT OF THE STATE OF CALIFt7RNIA
                     7
                                                                              CQUNTY Q~' LOS ANC~rELES
                     8
                                                                                   (VAN NUYS DISTRICT}
                     9

                   10      A~,LY BANK LEASE TRUST, an                                             CASE NO,
                           association
                   11
                                                                  Plaintiff,
                   12                                                                            CC?MPLAINT FOR CLAIM AND DELIVERY
                           vs.                                                                   OF PERSONAL PROPERTY, FOR PRE-
                   13                                                                            TRIAL WRIT OF Pc~SSESSION, AND
                           ERIKA WHITE, an individual; T~CJES 1                                  C7RDER DIRECTING TRANSFER OF
                   14      through 1(~, inclusive,                                               PEFZSONAL 1'RGPERTY AND
                                                                                                 12ESTRAINING ORDER
                   ]5                                             I.~efendants.
                   l6

                   17

                   18

                   19                For a cause of action against defendants, and each of them, plainti
                                                                                                                                                       ff ALLY
                   2Q BANK LEASE TRUST, an association (hereinafter referred to as "Plaintiff"),

                   21      complains and aXleges as follows:

                  22                                  CLAIM AND DELIVERF OF PERSONAL PRQPERTY

                  23                                                          (Against All Def+eada~tsj
                  24                 1.          At all. times herein mentioned, Plaintiff was and now is an

                  25       association, and was and now is duly qualified to do business in
                                                                                                                                         the State of
                  26 California.

                  27                 2.         Defendant DOES 1 through 10, inclusive, are sued herein under
                                                                                                                                                              such
                  28       fictitious names for the reason that their true names and capacit
                                                                                                                                        ies are tzraknown

                                                                                         -1-
                                                                          COMPLATNT FQR CLAIM AND DELIVERY
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 71 of 91 Page ID #:385
                        ~i~                                                .~
                        ~r. wra..~«.v
                                         $YAYTCEASE                              y~,,~y~y~y~

                                                                       ~w~ar.na~~~~~
                                                                                                                                              I
                                                  ~U                      h~1\air ~M                   s~ WYI             til5
                                    41w~~vM~hnr4M~I~~w~4MWrMYM WMfIM~INw~l~Mw~~mR~m
                        MMReiAll~Mt
                              rtlW.M~wWrwNMMM                                               Yt~gWt
                                                     MwM1~M~~  ( 1*~Y",
                        ffiAv~Mr.~tMwrr~MN~werM..Iw~NwsR..Yk.•.~......-l~6X  S~iAIt
                                                                       ..e.~...,.w....__.-...........r.._,n•IW.~F                             I
                        nrwwa✓wr~+...~r.s+rw~,rr
                        4.MyM+~.w ~n+rq~.t.~PMw1.....ryww+ir`^'~ ta+e^aL.wri.wwynn.%w
                        MM ~~t~~~l~ A'^~+~+~1w1M►4MY~1         14WnIM~IM~+A~t YF11UInML

                                  YYV       lub~4~                               ~U111iw~                                 Mw4Ml~rw~
                                                                                                                             M

                         AY1~f

                                                       b               r!._ ._       ~     /w Mrs ~w~~                       m~
                                  MN~
                                 ~MY~       ~iw                           -Sa       npwMMP+~                                 ~~'
                              Asir MM•           •                    ,~             ~R~~iw
                                                                                          `~ 'J .~,•                          Oe
                                                 H          {                                                              Y
                                                                                                                           ►!
                                                 ~         r~wnlUl~w               I~H,.~._,
                                                              .tS61a1L              —^
                                             fpg RMW I~I~rY~IV~w
                                                            ~-.,..-wlY
                                qM.M                                  wab                             aw ~._..~Y~. f             fNil.W

                                                   •b+rh~r~rwpru W tYdl~~r
                         a •wiMY4~4M~ON~o9.                        lWrtMNMnNWMtrsffiWa q'~M~a eYpfVt
                            w NMMa~1~MMr,........      ~,_;},~:n,_  eMs reMa,wq<+... .     {......~wA
                            +~Ra1Mw}I~~a........... .  )«~~~.w
                                                                    rNww~waMww . ...       t.
                                a MAY4~M4Mw~.. . .                                                                   .~
                                ♦ t1YY.   . . .. ..              t
                                                                   --S1S'TY"
                                t MeawM......... ... ... .       f


                                             .v...........       ~
                            t              ~..._......           ~
                            i~                                   ~
                                           ~ ww..........        r                                      ate+....._._ ~..°Jt-~E-
                                                 Y.wr~w~r/w~aM                 ~~
                              • f~~~Y~Mf1+y~~1y~ +r~IwtiY                       ~NNMIw1►YrN
                                wwaWhMwiM~~K~M~wMrV                   N✓wMlr~Me~u1................ t Wtt.M
                              t       w11 Yw~A~~~IHyIRNtl~s+e~eivlMps11ae4wMWMfW
                                               A
                                      M~M1iw ...... ............ . ... ..........,................ . . ........ .t
                              •l~MtUl~~w.14MM~wM1~~uy~TMMwdMYW+'t.. ..... .......... ... r~
                              l yYl~11r~.14M1M~/W~M4MNMM~IMMY4M~WiW W rYW1PyW                                   ,t„~       ~
                              ♦4Mrww1w4arYba~~~MMbNW~r~f~~+M.a+~w:P d+6w
                                ~irrr~w.rwr+rwr...,................. _........        ...... ..         ....         1.v2).4f
                              lM~MA~1tiww~+s~~~~p~w~~w~~t•wMrw.e ..                                          ..    ...,+e~e~.
                              s NwwYwwi~Nw~M1M~MW~,nlwnwntwrAs.~gw~anM .. . . . .1~►9~j.

                                a rw.rww~.+ ... ........ . . ......        . _.. . .         . . ..      ..        . . .~._..lLt,At..
                                t rwMwaa+~r~.... ._....._. .. ..._. ._..._                  .._. . . . .      ...    ._.s         11.71
                                t Yt~                    ...... .. . ... .       ..        ...                        ...~......._.~w
                              . w.wi.nrn~+.......,_........_ ................ . . ..... ... ... .. .          . ..       .~...., 4s+.a
                                 ~y w.rr w~          Yw~w•wwrw~wtww~~w~.+M.

                         ♦~wwwr~ •w.wni+w.+~«~     ~.«r.rwrww+rwraseur.~+w~w~sr...~..~...
                                         .mss..
                           wrrawrw raww wow.  w. a.r.«e.~.wwww.«wrw~..r.rt3~!.3sILe.-.__.«.
                                                        r
                         ~M~WYeNrw
                           OIY~Y+MI~tti1.i~1MMFMMMWM~1Wv~MeaM`MbYKN~NYyM~MiM~a.ywwti
                         Y ~h~wYYwl W


                        IaF+~rfMwA~M`~Cw                                           q
                                                                                   y~~yy~MMw4Y~yM
                          • ~w~~~IMMY~Y~w~YMMM~1v.                                                              ~MMww
                                                                                       ~ ~'~wM~iuw~1Y~
                                                                                   ~Ynlre
                                     ;
                            ~IwwM~.....       ......~ SYli.M                                         r~v+ywi✓n
                          ♦ MME M+~ Mw     i Mir                                         ~Ie~y
                                                                                             ~~~~. r
                           ~   ~W~M,Y AI~~~IiIYM                                                 .~MW+h~wWM~M1Me~+tis
                                                                                   Wr«~a M...
                               11'wYO~~r                   .... aN.~.~.~..~        bn~F~                  ..li(A.~IMMMM
                               P~~+1                             t~.._~A
                                                         ... . •!__.               Pisy~~ Mt      MM~IRrMY~~WN~
                                                                       ..»..'      ~Is~+r~irf~ fN{w~i~hR~~MIwrYVas
                               flwYi                       >.. ~        ~                                    rwwwc
                            6 MrMiMM......... ..                s~~,~..NA          www~nMi~~   'ir.~r~wwwi
                                                                                               .~
                                                                                                `
                            f u~rMMMMYYw,.... .... .. .t.~..~IA                    6.'~`~1M~r~wr~M1~~AYwMMwM~J w!
                                                                        YIa        ~~y++wr~i~I~r+MMMw~ M~+Mrwe
                            ~ Owt~I~I4~.~ww1M...... at                             wMtirYVMNr1nw~W.l
                            w ~~r~............... ......r.. ... ~~~e.       r      P~rYrwruwr
                            t Ovwlw~s+✓~                   ......i_~(6             r~~w~R~.~s
                            ~            ~                                         NM4rM~

                            ~                                                      'w~eM+                       a
                                                        . ~{...~..XA.
                            t 4MIiYY~w',.~............... R                         Misi~r OiwM~....~~ f~wYM~{~~.-~
                            lh~+f~YMM~+....,.. , ...../

                            ~.i1WLJ1E_              .............. .~._JOL~. OlM~r4ww.wfrsw.wslawrJ.wa~h
                            S ri•                          ....... .t~..~.tllA fin.
                        a6YY~Mw~aM                                                                                  O~~~MIM111M~A
                                                                                   +~NY4C
                            e..~we~ws...                    .:
                                                             i                     •.~++~..~~.ẁw
                                                                                                .rur~~w..ww».~w
                            MM.          .....             ...... •a
                                                                                        ++.
                                                                                          ~~•M+++~k*ft
                                                                                    ~a~
                                                                                    ~. .Y            r~
                        ~
                        ~jFy~i~~~Fs~eMM~M~ZwM-~ay~i#~w~i
                        ~~~__~            NMw~                                     ~spl~r.M                                 NinalyYW
                                          ~~'"~°aw~4 F                                 ~wM.b                   wq,
                                                                                                                 ~,
                                                                                                                  rgM
                          Zb~iti~i+tie                                              W   *nMwYw~ww                   rW~vHyw
                                                                                    ~ie~`.er.r~wr
                                                                                                ~rrr:                             .w~..,.~«
                        ~+ s~iwr~wrw~~
                        ~
                        '~."x.:~Lr:
                                  Ti7rr
                                     p.~w~'~~a..i
                                               °CiL`si.'y
                                                        C.~~r~ y

                       ~~is                r
                                            1~
                                               ~Mi"w   w~hr ~~bn M1
                                            W .wi~r~r~~.~w~nr.~ ~+~l~Iq~~e~a~t~iwrswdMN
                                                   .}•
                         i.                                                        ..
                                                    t~Mw _                                                      uwe~~~MV
                         wrwypw~                       .VB.....L ~                     MU~~. ..~~               MA  A
                        wr+~au~wf~N                                                                                              W
                                                 .tl(A ~rh ..~—Y(~                                              4Wia~aY1


                                                                                            . : 4.Y~w.::...
                                                                                             1i
                                    ._




                            ti~~          +rrwaw. ~       w.    i        .w+     ~«...e.r.r+:
                        ~ w.~~t
                        ~                    " ~ .y.~~.Y'ii~".'~~eoaaxa.i.WA._._
                        C"x~^^!cw~
                                     ~w
                         ~~~nr+ew~w~"~a —"~~'u     "
                                                      e
                                                    `"+nr~+wMf'aueew~emn~^                                                       +r
                         wataM~ta~rw             ♦    ~..a~. „~.~""
                         vy__u~z~:s.    qy.~~ _„           w.raaa~kyta..


                                                                              rau~.c,_,.w. ,...mna.cw.*c.a~.
                                    yy~~wr~w+r.er                    ~w~y+r«nr+-     ~    ~j^'      wq     ,—..'
                        ~
                        ~    YpMy~~
                                  M
                             ~~/Iti IanWl~ra/r,w~
                                   ~~A4tM1~h
                        NMN~MMMYMMr wYM~ N wMMSMM
                                                                                            Mfw~ww~w M
                                                                                                                          b~Nw~~iMbp


                            tMtil~Vw~lMti'F
                        Y~~.M1~'
                        MlYwM'wBK
                        OOw1rw tl M~N~~1-~I~w~ryriM~~wwbwwy
                        ~Mwyi~e~R




                        i+r~}                                                                                                                       1~~_~       [~
                        ~s..+w+-w~N+~.w.w..r.wrwMtwo.                                                                                             ~~w    y.,~~~ 4 }v

                                                   ~~.w..oy„1          ew.-w.           sw.er              ww~w.
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 72 of 91 Page ID #:386




                 ZAR~A~IAN4K7~,~16{s74                                                                          ~[lL9 ALFA                                      ~4Lt~A5~~?


                                                          ~~
                   ~ ~Z,3ta..        -5      . ss's,+
                                                   ;                           t                         t                           !                     .x.T.>,, `'~       sstst: w
                                                                                           r                           + ~
                 ~..:._ _~...._..~.~-m- _         ~
                                                   '
                                                                                                                                                                              _ .
                 x~~,~~o~~gz4                                     .. CERTIFICATE OF TITLE
                                                                                     ~~.. _ ..
                                                                                               r~vcr+,c~.~:~..m~roav
                                                                                                                  .. „ ___....,..~
                                                                                                                                .~ k~~~'h,
                                                                                                                                         "ri
                                                                                                                                    r~,a{FYI.
                                                                                                                                        Ntyf

                  A l1'T4t1{~B~LE                                                                               ,,
                                                                                                                 y              ._..                             _.            .,....._.....        ~'..
                   vrtflc%lfi ~(S NVMCtEF4                                                                        hM~6&l      MhKic                              ViAT€i tdUhlCiF.H             lPr. ~,
                 zARFAPfant4K'76[l~toa4                                                                         20,9 ALFA                                       8l. ~a52t!                     ~ a, .
                                                                         UhY.AOEN                                                                               AEG23YSiAT9pY                   i ~'
                   C1CXTr':YPF f.n'!i~c 1.                        A%     5vE1QH7       Fi)yX   TAA-^:S6~Fi Ga i'c                    FEL-S i'ARI                ~jfPiRATIbN tlAi'E              t~

                 ~~                                               YH eS1`
                                                                                       ~                                             ~Qn~e                      a~ro~~~ra~o ~,~E~~~~:
                                                                  SOtD             GU.SS   'Y?{              MQ        e4Ni?t'ra7/T~1US7 M()IYA£R               (.~'.`aiJc: U`~TE              lye

                                                                 2tT'~`1 LD                              AH                                                     [t6~~,gl19                     (f

                   tkC)i[;i(tCYC_~ Efr41V@ NUM~kft                                                                   :3:J~aE1E(~ ~A IE                  OGO:!FFft REAG~Nw                      !

                                                                                                                     a~~4~i~a~ ~
                                                                                                                      p-         t     t,q T                              ~~ ~x                i'`!
                   RE;!i!S?£PED'JNtnhq(S.                                                                            Al~U~t,           111 L~f447~



                 W HITS £RIl~R t~SE
                 2b0 CA1'HEARAl~ ~Q1/E Ai~3' L6                                                                                                                                                 <<''.~ t
                 (.AMAR~LL.~ ~A 9301,2                                                                                                                                        _._,._m.         ~!ii




                 !c¢rtify(or decie~p) urcde~ penalty at penury under ~ha laws of fhe Statr, of GAlrtom~fl that THE StGR7ATUR~(S)@ELf9W REIEAS~S
                 INTEREST iN THE VENtGLE.
                     fa..~ _..__..-_tiafi€.~_~_ X~..                                  ~_..y.._~                                                                       ~..__..___..
                                                                                                  ._._"~i~'t~aii      or    >~sffi'A~


                                   .~—..~.~m_..-~...~......_...w....~.._...                                        _~__. .~—_._-~~
                   Federal and , tale !~w requires that you state fhe m~ sage upnn tr~nsler of ownersh,p ~'ai ore to compete or provrdin~ a
                   Iaise statr~mnnt may result m lines andtor nnpnsonrnent
                                                                                                      ~,_____„__~.__..__..._._~_—.,r_
                   They pdprrt+ater nov+ Cads ~i.~E~, t~..i._.._~ (no tenfhs). rr~ieS and to the bCsi Of my knowledge re116CIL fh9 gcluatl
                   mileage unteas one of the tollawiny Statemanis is checked. Mileage is VOID d altered or erasetl

                    WARN{tYG              ~'" t7~;eane;c~ ra~~kng ,~ no[ the uauai miteag~ t ~ bt~ieaga axcepos the oUometer inecflanresi 6rrF~ts                                         -1

                  1 eeA+Jy {vr declare) unifier penalty al perjury unda~ the Jsws o1 the Stale of Calilarn~s that fhe foregoing is true And carract. j
                  ~a                                lai.~~l~!S.xvy~~.u.N WN.13+C
                                                                              S~,              ~~            t.~ri                    ~ruu+• ~nCi.gnt.~l 4XWa~~uth: -.•-..~.•~••_•.•.~.••
                                                                                                                                                                                        ~


                     .tC N ~t G~ 5:~~.:.. '»,u'::, ^i~en. ~, e v~ 4. C~ ki.n
                  •>y•                                                                                  >..rN~t uatY 'S~ ^vtYn;w „LP.•~ {+G w.:rfAl c LyX+•~+                         --



                                                                      tMPUHTANF AEAIJ CRREFUtLY
                                             `~ehho4der (hoirJer of sec~niy miarestj must be reported to she Department of Motor Vehicles withrn
        ~~
         ,;~~i     AO dahsr~~~
                        Y      Qj
         <,t       ~ iEvµ(,~DCN~3t
        ~µCi
        ~re~     ~{ ~ +{         ~:~~ ~
                                                                                                                     ~ flnatwe rn.eases m~eresi ~n vemcle {Company ~~~
                 P4 BX X7,28                                                                                           aeinesmustbecauniersi~netl}
                 C4C Y.E Y S VI~.L E                                                                                   r~e~ease Hate ~.                                          _.._T...__.
        r{ni     P1➢ 21D3Ci
                                                                                                                                      ~,~{~~.~~.G1.FJ~JJ~
      ' ~~~~
      ~k:.
                                                                                                                                 C1117 -~    REG. t7.30R^s tREV.02f2tIt~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 73 of 91 Page ID #:387



J.D.POWER


Vehicle Information
 Vehicle:      2019 Alfa Rorr~~~ Giulia Sedan 40 Sport 2.QL!4 Turbo
 Regian:                                                  California
 Period:                                            August 8,2022
 VI~l:                                       ZARfRMAN4i{7606474
 Mileage:                                                    52,500

1.D. POWER Used Cars/Trucks 1lalues
                                               Base         Mileage Adj.     Option Adj.   Adjusfed Value
Monthly
i'rade-In
 Average                                   $26,975                     NiA         N/A          $26,975

Clean Retail                               $32,225                     NIA         NJA          $32,225




                                                                                              ~~tibit C
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 74 of 91 Page ID #:388




                                        i      ~
                                        r
         Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 75 of 91 Page ID #:389




    I~J~~*~~ ~t ,~Ft }1~ r~ ~,~,,«~ Y ,~i,~,~r~~~~ ,~ ~                                                                               ~iil ~I 4,ntitt~ ~'t~attstx~t,r.                             ~'              ~~;~a~1




    i`~i,~fr~° ~6a~,~~:"i~~'~+~~,€~t.,~;~x~~G tt~,~;'~t: a~1~°~.i~i                         i►.~rF ~,                           i~ d►~~ r~.a~~~:~~ ~~l~~fi~ CL~IaE.~:~~rUT6"
   ,~+irilt~S~ 1.~~«'F fw°e°r' t l.it t~i `~, i                                                                                 ~k~+d itillYtf`~#`t,~+~                    'R 3;~~i ~`                      _...




                                                                                       ~_„                                       C +A,~IMM1E(~i~r9'iAc1Ct`Ii.~tW,~                          `~,..~.,~~,.           ._...».
      .4'i~r2
                                                             1~il~1iCT7[a t,$),rr+~ i, ektr       2tC~a                               ~:~"ii':~'PrG~Tt~t"°~_;ri(:~ '~C>4 ° .; ~~.~, • 'era•°~,~.~
         11~4b
                                                     y                    ~ ~,r~,~                                                    +ttr4«~&~:~~t»1~ ~: h+.aa~t+'~:~s! wn~~~.~t;1?ealr~wdriy"ant},r~ .~~ a
                                                     ~
                                                         ~kN3 J~`..                    ...,.~......_.._..v                            Kai- dt~,.~y~! 3'a'a*rl~ EI "~€~yr ig wt►~,^,.r~rsiwr~cer! nr tR-+'~~;~
                                                                                                                                                                                                              '~,'r!.
                                                         A1Mr:
                                                         ~~                                                                           t,11~r~~ 4 y.~~i~};e~..r trey xt+..tr.s,iaS4t~
   ~ait)','a2~lb~'~'y:                                                         ~__                                              FRhi~h! G1'I                   b T~erm~ ~nrynnr~+wyp.~ srs,~..~+,~~,~.~~,
   '>i°9 t Ft, l~4t;'I►C! ';~:'.3tr.~                                                                                           r~.,rrM:d ~r►Nwrv~lar~~
                                                                                                                                   ~~}11l~           ~                      1i<?JFCIS)                     ~(4~ ~J~tP .
                                                                                                                                      W,                      R~,~;,a^ '. t r.' 1 ~t~ "-~; ~e+Ei HN~~~'~htri [~€a^~*t1k.*~"ij
    {~ ~~~ ~+`i~' ~i ~i ~.                '~' Iii

            ~4+1~ik~t~M1l'M!f~f~                    NF's                       ~f R`kl~",~           W!'`tiN~              r'•t~~_ , f         ~;t ,                             ~t~►M1"{l1x~i1 !1kMM~f ~1 ~ti'4:
                                                                                        ~ ~s~                ~~,K»r~            ti~                                             ,.=~r~arar~~~




   6 ,iW 1.
                                                                                                                            ~i~~1~f {~~'~~r~~~« 141                                                                ~.~t {~P~1 w'
                                                                                                                '~~N'~M~'N'r1.~1M`» yiM5lrs Fal--M+., wWllu'aY~e.e '+WM +IrM M*"~'y "'~~Wi^~
     ~w~           rvrG            Gtr          r        t                c~trT                   HM         ~~     ~..«~.:ti•..~.~~~
                                                                                                                       «~             ».~,~......~~~,,.~,~~.,~.e.~~4.~~
                                                                                                                                                                                                           lyt,1~'C~           ~,'~.A~iS




     ~ wt. w.. ~w+.•,~.        R     _. ~t~-~c., ,~u ~,-~e to ~ww.~a..r~, ., n.. r           +a      F.      .w,c,w +~~.r.e-..t.
 r i~~>AG t:~ v'Sb Y          ~                                                                                                                  ~«$~~ !'id"~fi'i~.'R.I tli .
 ~"• ^ut r! itc ~ 6!R^N6i .Nb~ SF !'km's+4" i w iis.4wM KtM~fl.. ~`rks Lfi+/Me'ti '-~ ,• w 1.Msf~ry
                                                                                                                                                                 q~~lA ~
                                                                                                                                                                       /+A~~,1~:        +~!';,:''~!!t~
                                                                                                                                                                                                    y"~' -~  ~f fg (1~k"'~;
                                                                                                                            ~                                          4'.a~S~~~tfT}~'~ (; f"~"S~+W rl'i{fs pC3~~.
              ~~r~+~`                                                                                                   t'T"Y~~/ ~!E            1~^ ~1';•~~      ~"~QC 1 ~ ~* ~+te ~~'~~~aiC~~~~~,1~) ~Ffi1~ iQ,l
   . _      ~ y~                                                              ~.w~.y~b~w ~.                   .:~..     r Kve              •~: ., ~. . ..d «~SFn~.. ,~+, r~r o. ~r, ;•.~~,p*~° ,.. ~, r.c. ...               ,.es-   ,
  ... ~.. r+r q~Y   . '.~t+sP'ek~ w r r                            ..                                                    ~ +R               ^., ,T,rl t : .d a-i>~ s a ~-! - -. «r 4p a
    ~ ax~ ~s    #rs R.~~~lifR                                                                 o                        'w.~ l IN
                                     ~•IQ
                                                                             ~~'~'•.Ji~

           ~.


 tE , . ~~f a     A°          +e *t= +~ «+~.s                •,t,r, ~             ,                                '~ h.,f,~,a ~                         i r~r ~, • ^;++4 t w a ~ r+~+s- ~ Y x-.r~1 ~ ~4 •+ ~~«.k s~ E-aura (' ~~w
 > ~«w i-'rd            ++wss&~                                                                      ~~J~~                                               a+~lewr^+a:+w°vv✓,t~^vri•~'•••s~g••w
                                                                                                                                                                                     ^v           .w n~w l~w+wx~.w ,.
   s ~#a M» '..                                 n~»++.r►s «s~w~,..                _y                 '"d"'"""'~"!S •';tww+r'~""6Ntita
                                                                                                                                                         war er+~s.°+rt~X'eu~~y.r.-+~•++~.~..,«~. ~aa+na~a., +w,...... ~.




l,~'S C~e~+nk 1~+rlr~i~r ~R~*"at Atha l4+Pttk `M~i+t,~ f~wnd'i. ~~. ~'.~ =I, i                                ~~~t ~f*+~ 9~f+~ : i; ~hi4~('Ia+~.~H~.~p ~t~iC'~ia. 'r#'7~'.~'r~, ~l~fi ~r~i+:,~il t ! ~ ~ 1[~~G`~?A
                                                                                                                              ,~
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 76 of 91 Page ID #:390




                                                                                            ~.3"                                   't   ~. t       ems. t
                                                                                           } .'I . ~S.@ 'sl.3.~~ ~.~:'+~ ~!
                                                                                                    F:: d '~~—~~~~
                                                                                  ;x~~:                                                                                                          ant':~.k~ I.
                                                                                                                                                                                          ~~
                                                                                                                                                                                          4+ ~     q                                    a
                                                                                                                                                                                                           ..
                                                                                   a ~T
                                                                                   ~.St ~c ~.i 'S
                                                                                                                                                                                                   1r~}          ~ try x~    ~ -~ ^ Y
                                                                                                                                                                                                 x LET «         ~ v .. >   i 'L~
                                                                                                                                                                                        ~t
                                                                                                     ~. ~~~*6t'   ~NP°~gi~                          ~ ~                      ~.~'         ~                           ~~~~Q ~.~.            is
                                                                                    4                   «.                               .+~x _.                                    #—,                         (
                                                                                                                                                                                                                ~y                               ~} ~`         t^~ ~§
                                                                                                                                                                                                       .~~~~
                                                                                                                                                                                                        ._ ;~;`'
                                                                                                                                                                                                                                                         ,~ 4~ ~ ~ , ~-
                                                                                                                                                                                                                      -:~                                   ~.~°
                                                                                                                                                                                                                                                            ~. _. .
                                                                                                                                               e t'. '.     ._   3   _   -          a
                                                                                                                                                                                                           ~a
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 77 of 91 Page ID #:391




        1        KATHRYN B. MILSTEAD, ~SQ., BAR NO. 119553
                 hIARY G. LEE, ESQ., BAR NO. 7.70648
        2        IVANJACK & LAMF3IR'I'H                                          [
                                                                                 '( ~
                 A Partnership Including                                         l~-!
        3          Professional Corparatiors                            LOS AN~t.GS~'~P~~t~~ C~~
                 12301. Wilshix~ Boulevard, Suite 600
        4        Los Angeles, California 9002,5-1.000                            ~U~ ~ ~ 1~~~
                 Telephone No.: (310) £i20-7211
                                                                             soHNA.CtARK~,Ct~~C
                 Attorneys for Plaintiff                                    ~Y S d
                                                                                 ~~~~   ~ D~~'~
                                                                                   ~~~pWAN,
        6        BANK OF AMERICA N.T. & S.A.

        7

        8                             SUPERIOR COURT nF THE STATE OF CALI~'dRNIA

                                              FOR THE COUNTY OF Lt~S ANGFI~FS

     10
                                                                                            ~~.'~5.3'~~
     11         BANK OF AMERICA N.T. & S.A., a                    )   CASE NO.
                national bank, successor key merger)
     12         to Security Pacific National Bank,)    COMPLAINT FdR:

     13
                                                       (1}        r
                                                             SPECIFIC PERFOF,MANCE QE'
                             Plaintiff               ) PROVISIONS OF' DEED OED' TRUST
                                                       AUTHORIZING BENEFxCIARZES TO
     14         ~r.                                  } TARE PtJS5ES5ION AFTER DEFAULT
                                                     } AND APPOINTMENT OF RECEIVER
    15          L~UN I~NDV~R and YANA LANDVER        ) TtJ COLE,ECT RENTS, ISSUES AND
                individually, and ~s Trustees of ) PROFITS,
     1.6        i~kie T,andver Family Trust; MICHAEL } {2) JUDICIAL FQRECLOSURE; AND
                LANDVER, an individual; VERA         ) (3} INJUNCTIVE RELIEF
    '
    17          LANUV~R, azi individual; and DOES 1)
                through 100, inclusive,              )
    1f3
                                 Defendants.                      ?
    19

    2Q

    21      I                              I'IRST CAUSE OF ACTION FOR SPECIFIC

    22                             PERFORMANCE QF DEED OF' TRUST AND ASSIGNMENT

    23                                QF R~I~TTS AND I'OR APPOINTMENT OF RECEIVER

    24                                          (Against X1.7.1 Defendants);:
                                                                                    c
                                                                             .
                                                                             :~ c~ i
                                                                             -- -c+ ~
    25                           1.       Plaintiff, Bank of America, I~;;"~,- ~~ S.A.
                                                                              .
                                                                              c
                                                                                :3: --i
    2&          (h~r~inafter "Plaintiff"), a~ a].l times here$ <sa~fss, anri naw is, a

    a           national bank organized and- exi~~inq under t:;~ie ~~rs of the United
                                                                                 ~ ~.
                                                                                 ,
                                                                                 ~~
    ~s          States of America.
                                                                                 ..r,
                                               P7.aintiff :i.s the successor ~~ merger to
                                                                             :
                                                                                ;~.
                                                                             r d ry
                                                             a.   —           CKi Q
                ~GOO.g7042:LANDRECV.PLD                                       ~~
                                                                              r.        s
                    Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 78 of 91 Page ID #:392
                       Ni,.raper...`~~~.~.,~~0...._....~~.....I./A ,
-~          ~   ~ +                                                                        M.L1..»...»

                                                                                                                 89 48l                  ~                    ~,`~~ ~
                                                                                                                                                           `~.,~
                                                                                                                                                                                            r
                .                   «'tE:Oi2Dirtti REt1UES7Ed                          Y
      JI~D~} A7 TIIE Rr:~'.~ .:: s ;:+~ ~.~i~ i ~iVE~i1~AL LA{~!D tlTLE i

                             WHEN R~COROED. PL.EAB~ MAtL TO
                                                                                                              RECQRDED IiV pFFiCiAL RECORDS
                                                                                                                C?fi' LOS ANGELES COUNTY, CA
                           SEClJRt7Y PACIFIC NATiUNAL SANK
                      ...P...R~....B.OX...~t~12........................................................            MAR ~9 1989       AT s ~.n+j_
                      ....G.Y.P..R~SS}~A......~.~?~.3Q:-.~r.Q1~...............................                          Recordet-'s Office
                       tt~x~~~con :.N~)d...~..(~~1N...f3AQ.K.ING...~l.N.IT...R4.-f~-3---                                                                       R'8 USB


                                                                                                  Deed of Trust                                             fi~E ~Y                "c
                                                                                                      With McIgnment of Rente                                                    5
                                                                                                                                                                                 "


                             THIS DEED 4F TRL75T, made this....----•--..........~~~~............day of.............................M~~~~......._..........._.., 19~g...,

                      between................~:.~QN..~,ANd~!ER..AND., YANA IANQV~R,,._ FtUS6AN0..AhiD..IJIFE.,..ANO„MIGNAEL LANDVER.ANU...,._.

     ~.~              ....v~RA...~1:1@~RV_~R.,...Kl1.~SAN~..AND.WIFE..................._.....---...._.........-----~-•---------.......-•----..........__......-~---........., as TRUSTOR,

     ~,',
     ti               whose address is......1151...~.,...f:jt~...$T~2~~Tx.....~;QS..,AId_GEI;ES.,,_.CALI~ORN,IA                         90017
                                                                      tNumbu and SeraeU                                  iCity>                               (State)


     ~                                                     ~uit~af~Ie Deed Corn~~any, a California corporation, as TRUSTEE, and
      ~                                   SECURITY PACiFtC NATiQNAL BANK, a National Banking Association, as BENLFFCIARY,



                             WITNESSETH: That Trustor irrevocably GRANTS, TRANSFERS and ASSIGNS to T~tUSTEE IN TRUST,

                      ~VITH PC►WER QF' SALE, the property in...............I.QS..ANG~G~~.................................County, California, described as:



                               A S PER EXHIBIT "A" ATTACHED HERETO AND MADE A                                            PART HEREOF.




                    including all appurtenances, aU eaxcments used in connection therewith, all w~tcr atxi water rights (whether riparian, appropriativG or other-
                    wiu, ancf whether or not appurtcna~it} used in connection therewith, alt shares of stock evidencing the same, Bumping stat'sons, tngi~es,
                    machinery, and piDes, TQGGTHEFZ WITl~i the rtnts, 'sssues and profits thereof, 5USJECT, HOWEVER, to the assignment, as
                    set out,.to Beneficiary of the rents, issues and pr4tfits; and also including as pact of said property alt fixtures and equipment now orhereinafter
                                                                                                                                                             hartafter
                    therrto attached or thereon situated and intended or deigned for use in connection therewith.
                          F(~R THE PUTiPOSE OF SECURING (t) Payment of the sum of ~.~~.Q.?.xQ~Q.:.~~..............with Interest thereon according to
                      terms of a promissory note o. notes of even date herewith,                                                                     the

                      made by Trustor, payable to order of IIcocficiary, and exRensians or rrnewals thereof; (2) Performance of eaeh agtcement of Trustor
                      contained; (3) Payment of any and all obligations now or hereafter awing from any Trustor hereunder to Beneficiary and              hcrti~t
                                                                                                                                                     secured by




                                                                                                           EKHI8IT        2 ~'
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 79 of 91 Page ID #:393
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 80 of 91 Page ID #:394



                               G~I~RARDI f          K    ~S E
                                  ~`'"     I.AW%~Y1:RS




   Via E-Mail: ceo a~thehollvwoodlandd~velapmentc~mpan~co,,_m

   September 19, 2Q18



   Nicholas Phipps
   Chairman and CEO
   Thy Hollywood Land I7evelapment
   Company,LLC
  (415)539-676Q

  Re:   Sovereign Tower'Stakeholders

  Dear Mr. Phipps:

  You have been told several times that I do nat represent yau. I put a massive amount of
  time into this but, I am aut ofthe case. Please remove my name out of the distribution
  list.

  With kind regards,



  `I"HOMAS V. GIRAR.DI
  ~rvG:kc




   1 126 W1LSI-IIRE BOULEVARD • LOS ANGELES, CALIFORNIA
                                                                       • 900 1 7-1904
            T~i.r:•,pxoNc: 213-977-021 1 • FACSIMII,F: 213-481-1554
                              W W W.GIRAfZDTKEESE.COM
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 81 of 91 Page ID #:395




                                GIItARDi ~         K E LS E
                                            L AWYFRti




   Via E-Mail: ceo(~thehotlywoadl~ncidevelopmEnficam,~f~ny.com;
          Soverei~ntower 1 ~thesoverei~rntowers.com;
          thernana~in~,~directarnthesaverei~ntowers.cnm

   June 30? 202fl


   Nicholas ~'hipps White
   Mary Phipps White
   The ~-Iollywvod LAnd Development Company
   The offices of the Sover9eign Tower I
   Stakeho[d~rs
   324 Sauth Beverly Drive, Suite 489
   Beverly Mills, CA 90212

   Re: Withdrawal

   Dear Mr. &Mrs. Phipps White:

   1 have m~dc; a d~cisian that I no longer went tc~ be invoCved in any way with the claim by
   Nicholas Phipps White, Mary Phipps Whig and the Hollywc~oci .and Development
   Cr~znpany. I will oat discuss the reasons fc~r my withdrawal. This also withdraws any
   claim fir legal services previously discussed.
   With~I,i
         c 'nd reglyds,
   r

   THOMAS W. GIItr1RDi                                                                    __ __~;_

   TVG:sf




     1 126 W[LSIIIR~ BUUi..~VACta • LU5 ANGELS, C~laIFORNtn • 9Q017-1904
              T'~~.EPNt~NF: 213-9']7-021 ! +FACSIMILE: 213.481 - 1 554
                                  W W W.G(RAR[~IKGESC>.COM
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 82 of 91 Page ID #:396




                                                ~~t) 1 (Z n I2 U f ~         lC L: L S
                                                               i. ,\1\'ti'F. II\




         MiIYCh 3* 2~)ZU



        ~~I/i ~Ilt(1tI: cc~~~r)lhc~ht~l/i~»~r~u~lltttrddt~t~~lonntea►let~mtarnt~}.c~
                                                                                     ~~~tt;
        snv~~~eic„irtu~t~c~r'I(!l~}lIlC1UVG'P4'%j~►n!n ~~~r~r.~. c~~~t~;,



        Niclrol~s 1'l~ip~~s Wlutc
        't'hc t~Ic~llv~vc~c►cl f..nnd Dcv~lc>pmc;nt Cv.
        3~~ South 13cverl~~ larivc, ~uitc ~8t)
        13cvcrly Hills. CA 10212

       My dctic p,i):

        t truly b~licvc 1 c:ui move sc~n~c mc~u►it~iins it'I h~ict ri copy c~i'the t'rc:~icic~~t's r~~>tu.
                                                                                                                    T('yc~u
       f~rc ~vorricci abcaui ~~~h~~ I xt~c~w it tc~, 14VlII ~,C~ ~CCI111i51t)i] ICt)!11 y0U LU l`ilCll ))Ci'S(III.
                                                                                                                    I cla
       11t)l ~l~lVC it CC~itlll)Ii5{ll~) ~ti'1lll lJ1C AUU171Cy Gtnrri►1~
                                                                          UU1 ~ (iCl ~li1YC it CC~UIIU115~11') ~Yll~l
       sev4ral in his st~i(T~~~ha tu•c very high tip. I flI3U (JU Ilt)1 uCI{C~'C ll7t: (fUti1CCti I1f1\'L
                                                                                                          I)CE'tl
       inti~r~t~cd of tGc 1'rvsidcnt's rcc~ucst. I will carih~uc: tc~ dca everything t cFtn
                                                                                                 to get tl~c
       litmily paid.

       MKiry rFliscd unc c~thcr issue cc~nccriyinb the kir~ 1'uncis. I h~iv~ i~a ccspc~n
                                                                                                               sibility ('ur
       ICtI(It;l'tillli) 111 1I1i1L Ci1SC, but 1 :puke tc~ tfyc l~:adcrs.          Nc~Uc~~ly ~v~is cif t{1L VIG1V lt) ~itICC
      I Ic>lly~vaod':~ tiia~icy t~nci ~;i~~~ it to other victims. It ~vc~t~ld be fatally Fibsurci want
                                                                                                 to      tc~
      tz~ke soinc~»~c cl~c;'s mc~ncy. !?vc~•yaic sai<( fluff. Nlcasc ~;ivc my request :~ littit
                                                                                                    tlx~ught.
      i truly ~uzi here: tc~ help.

       With ki~lct i•c~tu•cls,

               ~,~-a

      'fOM

      /s C



        i 1 2~ u'it.s~a~~i~; t;r~ut.i:vnuu       l.as A;~c~t:i.i:ti, Cni.tFU12NiA + ~~aq i ~- ~ <1t~-~
                       "1~IsLtiPlIANt;: »1~-~J77-U21 1 • I~Actil:~ti l. i~.: 213-~1K1-1 ~5~i
                                               W 1\'\Y.(~I I2r~ItD1K1•:Iitii:.Ct)iYl
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 83 of 91 Page ID #:397



    Who they were: Victims of the deadliest California
    wildfire
   ~Ut1~? 1 ~, ~~~




   SAN FRANCTSCt~(AP)—Pacific Gas &Electric pleaded guilty Tuesday to
   killing 84 of the 85 victims of a 2018 wildfire in Northern California. A report
   released by the Bufifie County district attorney listed the names of all but two
   who have not been identified and how they died.



   Joyce Acheson,~8,of Paradise, was found inside her home.She had limited
   mobility and lived in an area closed off to public access, preventing any
   caregiver from getting to her.
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 84 of 91 Page ID #:398



   Herbert Alderman,8o cif Paradise,hid a severely sprained ankle that titnited
   his mobility at the time of the fire. He made several phone calls to friends
   seeking rescue but was found inside his home.

  'T'eresa Amrx~ons,82,of Paradise, died attempting t~ flee the fire. She was
  found outside her trailer with her purse nearby.

   Rafaela Andrade,$4,of Paradise, needed a walker to get around and did not
   have the ability to evacuate an her own.She was found inside her home.

   Carol Arrington,88,of Paradise, was found inside her home.

   Julian Binstoek,$$,of Faradis~, was found with the remains of his dog in the
   shower cif his home.

   Dauid Bradburd,~o,of Paradise, was near a power line knocked down by the
   fire outside his home.

   Cheryl Brown,75,of Paradise, was found in a recliner next to her husband,
   Larry Brown.
   Larry Brown,~2, of Paradise, was found in a recliner next to his wife, Cheryl
   Brown.
   Richard Brown,74 of Concave, was found outside his home under his pickup
   truck, where he tried to hide from the fire.

   Andrew Burt,3b of Paradise, was found just outside the front passenger side
   door of a minivan with his dog. He was trying;to escape in the minivan when it
   was overcome by flames.Three other vehicles with the remains offour other
   victims wire nearby.

   Joanne Caddy,~~, of Magalia, was found inside her home.

   Barbara Carlson,71,of Paradise, was found inside her home. Her remains
   were commingled with those of her sister, Shirley Haley.
   Vincent Carota,65,of Paradise, a partial leg amputee wY~o did not have a
   vehicle, was found inside his home.

   Dennis Clark, Jr., 49,of Paradise, was found in the passenger seat of a car with
   his mother Joy Porter in the driver's seafi. Their car was in a line ofthree other
   vehicles with remains inside.
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 85 of 91 Page ID #:399




     l~.ve~~.r~ac~~t .,A.d.~~ser. ~~~nr~ Sum.~x~~~ry
     f)1iVt)N fNVfiS"1`bIl?iY t' A!)YItiUiLY


     c:Rn#::icu~a~zs ,~Lr~~~:xoY-1 ~~~~a
     L)I;VUN [~l1~L,S'['ML:N1' ~1.711(SC1I~,X, X.Z.0
     5847 SAN k~~LII'~: S'11tLiL't`, SUI't'Z~ 4S5Q I-1C)tJS'1'(~N,"I'X ?705''! lh7itcci StaCcti
     l~lxrn~c: 713-SC~:3-0733

           • Wcb 1'c~setic~ i111CI SUClill MCCll1
     Iilit:lti'1'Itt~'!'IUhJ J1'~'!'tAS


         SAC /,Jt11t~.~1)XC".l'I()N                   .lt~.~",(:~S'i'I.~A`~'~OIV S`I'A.`tC~5      1.;1<T~1~~~"t'IVI~; ~)A'Cl+,
     itc#;istui•ed                                 A~'k'1tUV L;J~                              2C?19-U3 - I <)
     NU7~IC:~i ro.~Nc~s


     lnvctituic:nt i~clvisc~• firia~,~ t~c:~ixterccl wic1~ tlac S~:C; ~nr~y he rcquirccl lc~ ~~rc>vide tc~ sl~t~ sr:curitict,~;
     ~iuti~ax•ilies a cc~j~y at'their tyor~r~ AI?V au~d ftaiy acernn~~~r~yin~ ~uz~endr►yents I'ileci witla ~~xc SING.
    '1`IiGSL' L1IIfi~;3 2i1•c cfilleci "nUticc dings". Belvw siro the statc;s w~tla whiclx the !'irn~ ycxu seicc.tcd
    mflk~;.ti its ~wticc; !'iliii~~;. /1~ltio listed is the elate the fix~~n first b~crunc nc3tzca filc:~ or t~~£;i5torcxl i~~
    c:tiGl] SlE1tC.


                             ,ItJ~t~~~>IC'4'IC?N                                    ~;~Yx~~~.c~~xvL Y~~~~
     C'A                                                         2t)19-tM-i5
    UC                                                           '1Q1~-U~-! 5
    i~L.                                                         2U'1J-tk~-3U
    G~                                                           2019-(3~1-3U
    1L                                                           201a-0416
    tN                                                           2t~ 19-Q~4~~15
    X..A                                                         2q t9~{)~i-X5
    Mp                                                           ?.019-04-15
    NxI                                                          ~U~ 9-Q~-i5
    MN                                                           201904-15
    MO                                                           2()19-0~~-3U
    NV                                                           2U1~-043U
   1~Y                                                           20I9~•~4-3U
   Ul~l                                                          201~-04-3U
   ~'.~                                                          2019-p4-3U
   'i'X                                                          2U1~-()3-19
  I~.ve~~xx~►~nt~ 1~~v~~ors ~mp~o~e~
   igdividual Ag~•ut I.ix1
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 86 of 91 Page ID #:400




                            EXHIBIT 11
  Case 2:22-cv-04557-GW-SK
       Case 2:23-cr-OOC '-JLS Document 31 Filed 03/23/23 Page 87 of 91 Page ID #:401
                               Document 1 Filed 01/31!23 age 1 of 18 Page I D #:1
                                                                                _..__._
                                                                     F ILED
                                                                    CLERK.t;.~. I)ISTBiCf CpUHY


                                                                          l /3 I/2023       a
 1                                                                               ~.   __.~.~
                                                                 Ciei31 Rnl. pIS TItIfT OP l: n1JFORNN
                                                                 CiY:            vAv            llEYU'tY

 2

 ~3

 r

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRTC'I' OE' CALZ~'OF2N~A

lfl                              March 2022 Grand Jury

]_1   ( UNITED STATES OF AMERICA,             CR No.    2:23-cr-00047-J~'W
7.2             Plaintiff,                    I N D I C T M E N T

13              v.                            [18 U.S.C, ~ x.343: Wire Eraud; 18
                                              U.S.C. § 981(a)(1j (C} and 28
14    THOMAS VINCENT GIRARDI and              U.S.C. ~ 2A61(c): Criminal
      CHRISTOPHER KAZUO KAMON,                Forfeiture]
15
                Defendants.
16

17         The Grand Jury charges:

18                              COUNTS ONE THROUGH FIVE

l9                             [18 U.S.C. §~ 1343, 2{a)]

20    A.   INTRODUCTORY ALLEGATIONS

21         I.    At times relevant to this Indictment:

2~               a.   Defendant THOMAS VINCENT GSRARDI was a resident of

23    Pasadena, California.

24               b.   Defendant GTRARDT was an attorney licensed to practice

ZJ    law in the State of California.

16               c.   Defendant GIRARDI was the 100 percent owner and

?7    managing partner of Girardi Keese, a law firm located in I~os Angeles,

2~    Cals.for.nia, that primarily ~epr~sented plaintiffs in personal injury
        Case
  1 t8/23, 5:40 PM2:22-cv-04557-GW-SK                       Document
                                                               CA
                                                                     31 Filed 03/23/23 Page 88 of 91 Page ID #:402
                                                                       Tax Board Issues Tax Lien Against                ~ Jayne for $2 Mii


                                                                                                                                                                          '.a

                                                                                                R~COE~A~R'S OF'FTCTe,
                     FRANCHI5~ TAX BOARp                                                        LOS ~JGELES COLJi]TY
                     S~.aar~~~f~tu G~ ~T5~72-7952
                                                                                                G!~►LI~'ORI~tIA
               r .. .:~:~ . .:~, :f ~~r_,,. .
                    :~{x~c:~~~l F'~~.~;:~~lurc5 ~ecttai~
                                                                                                G ~GG~~~V ~~~
                     t~C)l3pX 2~3a2
                    ; :Ya~~r~rn~+~~tu L'A 95~1~-2952                                            ~.0/17/~0~2 t~8 : 04 : d0
                                                                                                                                               ~` 0 . C3 t~


           r,",~ ~                                                      NUtice of State Tex ~ier~


           f ~E•€! ~Tt~fti):         l0`y t~.h1Cx~:.Et::r                                           L:t:t: iii:«<~.a ('.~i~ik:.`C~,-                  2~'1v rtis;: l: r
                                                                                                                                                                                     ~~
           T is '"i:~r~rhi~~ T ~z~r~r~t of li~r~ >t~~t~ of C:,lite~~ni~a fika,~+ta~ r,~c~tiit~c~~; ltseii Ih~~ (c~Na~run4 rr.7rt~~ct
                                                                                                                                     tr+xF,s►y~~,~) iy liahl~ ~~ir~cl~i
           E ~sni ~ ~FQ ~;* 19 a( Givisiurt ~ cat it3~ Rev~nt~~ art~i raxaliot~ Ca1+~ la Ii~e ~tt~tc~ al C;a#~larruh tc~r~ ~mc~~~~~1 ~~~~
                                                                                                                                                    ara{ ~rt~~y:iir~ fi to
           kin ~~aid i.~y said t.txp~y~~~-s~ :na lt~tit~vr~,`

           f~:rrn~ sit ~"axl~~:ty~=it~p            TF;:~M.^~~~ V ~tR~"eR~l
                                                   ~FtiK~1 f~ K~I~`ticftC~!


                                                                                                                                                                                r ~r
           f It~,Ac~:cr~aidh;urirtx:r            : 110~i62:.'G~9
            u::i.ii:~c~f:u~~ly~Vuttd~c°~~sl       XXX•X~(•~tsd 7fXX-XX-5~J5f
           t ;~~1 Ks=cnw~t lttlt~tt~~ss            t 1?,~ 1dV(t.aH1RE Ei( VC                                                                                                    """'""

          1~af 1'r~xttyi~ Yh.ir~                  7Qt~J




                                                                              s,:~;b~.i t#Y iraar i~n~~i ~~airi, tr~~i ttafa ~ i~.~rt~~~,r9 i:~x t3r„~~ri ~~t 11~~~ :i:st~~ cFt
                                                                             t!~ 1~ +st ~ 1 rat u~v=~;~r~~i 2 tit i~?c* K~vE~nur r~rt~! ":~x.~1mEz Ct;tt~° cat tic :>i;~+~,
                                                                             9 ~rs~~~^~iitir~ tt~f~~ lax. ttrr~ suit! ~n;c~t~tlts art; ~iaae ~nzi ~a:~y:~t~}~ ~r~w1 Ir a«<=
                                                                             C1 n~~[~ts 1~ such E~tu~s:~iy i1e~w ~~~vtr~~~) ur l~~k!r ae;~~uit~ ~i try tt~c 1<:xtsay,

                                                                             .~1 ui Iti~ St<~i~~ ~.~t t,;<oliir~F~~~~ t~rt:~ if~tly tzitlfvtEz~~~t i~~u unUc~~~~4,it~~~s f~~



                                                                                                 ~(~'r1t~CHlwE ~AX F3CJRR~~
                                                                                                 .)( the ;[ate ~f C~tiitarx!:ti

                                                                                                                          t            '~~~r
           t'~;IttE~tic~rrr~ lVtrtrlx:r. ~9'~~ fI4S~43wQ
                                                                                                          ~~ ...,~~               ~,,' ~ 1              ~~ • ~..

                                                                                                                                                                                 X




https://realitybiurb.com/2022112103/rhobhs-erika-Jayne-and-estranged-husband-th
                                                                                         omas-girardi-face-2-2-million-state-tax-lien!#:--:text=For Tax 8i11-,Ca... 4/14
     Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 89 of 91 Page ID #:403
             C    e 2:2~ ~OO~Q           ~li~.S Document 27
   Craig t1.~arbaug ~( ar, o. ~ 309)
   Deputy Feciera~l Public Iaefe~ider
  :i21 East 2nd Street
   T.,os Angeles, California 90012-4202
   E-Mail: Craig_T-iarbaugh@fd.nrg
  'Telephone:(213} 894-4740



                                             UNITED STATES DISTRICT COURT
                                            CENTRAI.DISTRICT OF CALIFORNIA
      UNI"I'ED STATES C)F AivIFRtC:A,                                      t:;ASE NUMRER:

                                                          ~►.~irr~~~irr                             2:23-cr-00047-1 I.S-1
                                  ~.
  THOMAS VINCEI~'T GIRARDI
                                                                                          DECLARATION R~ PASSFQRT AND
                                                                                            OTHER `GRAVEL DOCtiMF.NT5
                                                     T)EFENDANT.

  I, R~~bert Crirardi                                                                                ci~clare: th~~t
                                 (~efenr~arrtlrl~fateri~xl Witr►ess)

     ❑      (have never been issued any passport c>r ocher travel document by any country. I r~vitt nc~t apply far
                                                                                                                   a passport ar
            other travel document during the pendency of this case.
     ❑      [have teen issued a passport or other travel d~curr►ent(s). I will surrender my passport and
                                                                                                                                  all other travel
            documents) issued to me to the U.S. Pretrial Services Agency by the deadline imposed.
                                                                                                  I will not apply for a
            passport ar other travel document during the pendency of this case.

     [~]✓   I am unable to locate my passpart(s) or other travel document(s). If I locate
                                                                                                 any passport or other travel
            document issued to me> I will immediately surrender it to the U.S. Pretrial Services
                                                                                                 Ageney. I wia) not apply for a
            passport or other travel document during the pendency of this case.

     ❑      My passport acid all other travel documents issued to me are in the possession of
                                                                                              federal authorities. It any such
            document is returned to me during the pendency of[his case, I wil! immediately surrencl~
                                                                                                       c it to the U.S. Pretrial
            Services Agency. Twill not apply far a passport or other travel document during the
                                                                                                pendency of this case.

 I declare under penalty of perjury that the foregoing is true and correct.

executed this           ,~,.,,~ day of         ~~ C ~'>                   ,24 Z'~
at
                                    (City and State)                                       .   ,- ,.
                                                                                 ..Y..-        ,;                           'ten 'tt~l~;                     .
                                                                                                       .,, ~. z._.....~-,               '~ ..v't.     `~ ~ y:
                                                                            Signature ofDefendantlltjfateriul t~Vitness                      ~! ~}~ ~~i
                                                                                                                                                    ~ ~ ~ ~- t~~:?~~t
If the declarant is not an English speaker, include the following:
I,                                     , am fluent in written and spoken ~n~lish and
              _ ._ __ .     __
languages. I accurately translated this form from English into
to declarant                                                                un this date.

taste:
                                                                            Interpreter
C12 3~ (OSi15,                         DF.CLARATtON RF.PASSPORT AND OTtIER'CRAVF.L UQCU4tGNTS
        Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 90 of 91 Page ID #:404



                             P !-~ 1 P I' S
                            March 22,2022

                            The Honorable iVierrick Garland, Attorney General of the United States
                            9SQ Pennsylvania Avenue, NW
                            Washington, DC 2053Q,clo: Attorney GeneraPs Ghief-of-Staff, Mr. Matthew B. Klapper

                            R~ UEST kOR WRITTEN CONFIRMAT10lV ()F PRINTCNC,~ QF ~'REASURY CHECK ~R SOVfiREtGN
           ~~~,~~1`~~       T(JWERS SETTL,~MENT ~27.829,'774.G12 FOR PRCJ SE CLA[~ANT NICH~I~AS FHIFPS WNITE(Tt7RT
                            ADMINISTRATNE CLAIMS #Ifi4222575. #1b422257G, #164222577)

                           Dear Atrorney General Garland,
                           Thank you for your service to the American people. As you are aware, I have contacted the U.S. Department of
                           Justice for the reprinting of my U.S. Treasury check as early as April 2b, 2Q21.The Bureau of Fiscal Services will
                           confirm that my U.S. Treasury Ghcck,in the amount of ~27.829,774„f►,~2 U$,~ on or at~out February 26, 2U21 was
                           deposited into the Merrill Lynch global ar;c;ount number #C~49-13284 that was mis-titled Thy Pane+ Be4rclr Cr~urrty
                           Slt~ri,~"s p ~°~ fnr tJte B~ne      (~i~~trtas Phen~as White by a fraudulent, fabricated person posing on my wife
                           culled "Erika White" who presented fraudulent Letters of Administration from L,os Angeles County Su}x;rior
                           Court, where a cpnvoluted scheme and false narrative since 201$ in an attempt tc~ legitimize herself as my alleged
                           wife, evidenced in the fraudulent divorce proceedings in Eril~a White v. Nicholas White, Cage No. 1 SS'I'FL1~1fi5
                           (plear;e sce "Exhibit A."~. On February 26, 2A21, not only did the U.S. DepaRment cif Justice release my U.S.
                           Treasury check to disgraced Tam Gic~tudi posing as my father as the U.S. gav~rnment's representative, but also to
                           his wipe, an actress, Erika 1V. Girardi, who had presented frauciutent Letters of Administration as "Erika White"
                           endorsed my U.S. `treasury check as my Administrator, on behalf of the Estate of Nicholas White, deceased. 'Che
                           facts ~r~:, since May 2020 bath DOJ and Bank of AmericU hid been being provided copies for my wife and I of cur
                           will, Catiforni~ driver licenses, pow~rK of attorney designating my actual wife, Mirga Phipps White MBA, and chc
                           Stipulation Fir Compromise Settlement and Release Agreement, as agreed upon by the U.S. government, clearly
                           stipulated that my wife or I, are the only two individaats authorized to pick-up my U.S. Treasury check.

                           However, on February 26> 2U21, despite all U.S. government agencies reporting me as living and the U.S.
                           Attorney's Offices of the Central District of California aware I was in Washington, DC that day awaiting for
                           receipt of my check, DOJ and Bank of Arr~erica still recognized the ilte~;itirnate Letters of Administration from ~
                           frttudulent "Erika White" claiming that t have no will andIam deceased. Although disbarred attorney Tom Girardi
                           may claim he was at a dc~c:tar's appointment on February 26, 2021 with forensic psychiatrist Dr, Nathan I,avid of
                           Long Beach, CA, Girardi's travel advisor Amber (tingles of En Route Travel of Pac:ifie Palisades. CA, among
                           others, will confirm the Girardi was in W~shin~tc~n, DC on February 26, 2021. Furthermore, The fact that the U.S.
                           Department ref Justice wcwld have granted disgraced attorney Tom Girardi, a DUJ clearance to serve as US.
                           government eantractor at $G7Q xn hour, with knowledge of a fraudulent Italian pas~pe~rt claiming he is my father,
     ~-~`~~~~''~~i         is a clear conflict of interest and ethics. Even an interim clearance with Tom Girardi's Social Security Number:
  ', ~tt~v~s~is            548-54-5 I34 would have confirmed that he immigrated to the U.S. in 1954 from Italy, with now expired papers.
 ', ~~~z~c%rl~s:a          Many believe Girardi poses a national security risk, with hie disregard for U.S, laws and the more than S00
'~ ~t~eaa,~ ~~:SS~         reported Victims of Tom Girardi. Whereby, his passport fraud was recently reported to the C1.S. Department of
            M fr           Homeland Security, the Department of State and the Italian Consulate in San Francisco.

 ', ry~.~;i;3.n;,.~.~       Additionally, we have determined that the mare than 35 VISA debit cards holders hive been accessing the
' w~~t;'~~i~~n~:i'r:a~~}    proceeds deposited in the Merrill Lynch account #b49-132$4 from a fraudulent life insurance policy from
                            Berkshire Ht~thaway Life Insurance Company Uf Nebraska i~.5ued to an "Erika White" Fraudentty posing us my
~k~~~~~~                    wife that was written on me by Devon Investment Authority's Susan R. Bnwersax, with offices in the Bank cif
                            Americ<< Qui{ding in Ssn Francisco. CA, from July 28, 2020 which abruptly shuttered on March 12, 2021 just as
                            you started your term as Attcyrney General. Devpn is a company that I never retained Fc~r any services ~n my
                           Merrill Lynch ace~unt or whatsoever {please see "Exhibit B"). The insurance fraud by the A~lministratc~r
                                                                                                                                      "~rika
                           White" and the more than 3S Visa debit card holders who participated in this scheme was repc~rfed yesterday
                                                                                                                                          to the
                           Berkshire Hathaway Life Insurance Company of Nebraska, whose Chairman and CEO Warren Buffett is
                                                                                                                                      copied
                           today, as is Bank of America, who are currently in default.
                                                                               Page 1 of 2
Case 2:22-cv-04557-GW-SK Document 31 Filed 03/23/23 Page 91 of 91 Page ID #:405




   PHiPPS

 Please note, before your confirmation by the U.S. Senate Judiciary Committee on March 10, 2021, I made multiple
  altempks to pick-up my Treasury Check but the DQ.► also prohibited my father, Mr. Lawrence Phipps White, who serves
  as the Sovereign Towers Managing Director, and my actual wife, Mrs. Mirga Phipps Wliite MBA and Power-of-
  Attorney, to pick-up my U.S. Treasury check an November l3, 2020 (please see "Exhibit B"). Additianaliy, on January
  13, 2021, while in Washington, DC,1 attempted to pick up my U.S. Treasury check with Tammy Reno at the COUSA
  with attorney Alan. Burch, farmeriy with the U.S. Attorney's OfPices in Washington, DC, whereby it was promised that
 both a written coa~rmation and call from DOJ was to take place, which neither die! occur. However, the only phone call
  we receives! was from Donald S. Burris (California Bttr No. 68523) a substitute Judge in Los Angeles of Qurris,
 Schoenberg and Walden, LLP, whereby, Richard E. Walden (Catifarnia Bas No. 108b46), who is a trusVestate attorney
 and substitute Judge in Los Angeles left to join Hymes, Schreiber &Walden. During this phone call, Burris threatened
 to fatally harm us, if we reported their involvement in drafting the fraudulent trust documents to the Californitt Bar.
 to closing, X kindly request that the U.S. Department of Iustice provide a written confirmation to
 ceo@thehollywoodlanddevelnpmentcompany.com by Thursday, March 24, 2p22 by (2 Noon ET or that DqJ as
 required by U.S. law, has initiated the Bureau of Fiscal Service's Fraud Package containing SF 1133 {please see
 "Exhibit D"} to be sent to me at the address below or foe a gcxxf date and time during ~h~ week of M1rct~ 28.2022 for
 the U.S. Treasury check in the settled amount of $27,829,774,512 USD payable to Pco Se Claimant, Nicholas Phipps
 White, in my U.S. social security number to be ready for me and former Ambassador and former Governor of Virginia
 Jim Gitmore, to pick up at U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530 c/o:
 Chief-of-Staff, Mr, Matthew Klapper, phone: (202) 514-2401.
 Again, to date t have aot received one dollar of benefit from the U.S. Treasury Check $27,829,774,6 t2 USD which has
 been property reported stolen to the issuing agency. I sincerely look forward to hearing from Dn7 ka resolve this matter.

                                             ~tes~aecttuil,y s~ebmitt~cf,



                                              ~~•. iVichoi~s Phipps           rc~-5~ ~~ai arze~
                                             Chaizman and +CF+O, '~'he ~iollywc~c3 .and ~evelQ~rnea~ ~t~r~~as~y L.E.:'
                                              324 Sotat~ Hev~~y ~riv~, Suite ~8~
                                             B~ve~ty'~I~i1ts, ~A 9f3'Ll2
                                             (4i5} 539-6760
 ce: President of the United States, Joseph R. Bider; former U.S. President Donald J. Trump; former U.S. President Barack
 H. Obama; F~[is Majesty Ding Saltnan of Saudi Arabia; U.S. Treasury Secretary, Janet L. Yellen; Comptroller of the
 Currency Michael J. Hsu; FDIC Chairman Martin J. Gruenbecg, California Atkorney General Rob Banta; Ftocida Attorney
 General Ashley Moaiy; L.os Angeles County Sheriff Alex Villanueva; Warren ~. Buffett, Berkshire Hathaway, Brian
 Moynihan, BAnk of America; Andy Sie~, ~Ierrilt Lynch; Marriott International Chairman of the Aoarci, Mr. J.W. Marriott;
 Sovereign Towers Managing Director, Lawrence Phipps White; Senate Judiciary Members;

 Durbin, Richard J. (IL), Chairmen                         Grassley, Chuck (IA), RanJcing Member
 Leahy, Patrick J. (VT)                                    Graham, Lindsey (SC)
 Feinstein, Dianne (CA)                                    Cornyn, John (TX)
 Whitehouse, Sheldon (RI)                                  L.ce, Mike (UT)
 Klobuchar, Amy (MN)                                       Cruz, Ted (TX)
 Coons, Christopher A. (DE}                                S~sse, Ben (NE)
 Blumenthal, Richard (CT)                                  Hawley, Josh (MO)
 Hirano, Mazie K. (HI)                                     Cotton, Tam (AR)
 Booker, Cory A. (NJ)                                      Kennedy, John (LA)
 Fuditla, Alex (GA)                                        Tillis, Thom (NC)
 Qssoff, ,ton (GA)                                         Blackburn, Marsha {TN}


                                                            Page 2 of 2
